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Invoice Time Detail                                                                                                   €! [J
 Matter Number        418939                                                   Invoice                10531050
 Matter Description PAC v. ATOM/Olstowski - 2011



 Date      Initials Name I Invoice Number Hours               Amount Description
 4/23/2012 NICHS    SHANE NICHOLS          3.10               2,046.00 Prepare case status report for 7
 6/18/2012          Invoice=10531050       3.10               2,046.00 teleconference with           regarding upcoming
                                                                       mediation; correspond with opposing counsel
                                                                       regarding issues to be mediated and timing of
                                                                       mediation; correspond                  regarding
                                                                       new action filed by Olstowski

 4/24/2012   NICHS    SHANE NICHOLS                2.20       1,452.00 Review order denying Emergency Motion for
 6/18/2012            Invoice=10531050             1.80       1,188.00 Extension of llme to Participate in Mediation;
                                                                       correspond with opposing counsel regarding same
                                                                       and regarding new dates for mediation to be
                                                                       proposed to Judge Isgur; review bankruptcy
                                                                       court docket.

 4/25/2012   NICHS    SHANE NICHOLS                1.60       1,056.00 Confer with opposing counsel regarding
 6/18/2012            Invoice=10531050             1.20         792.00 mediation dates; confer with Judge's case
                                                                       manager regarding same; prepare correspondence
                                                                       to opposing counsel formalize agreement.

 5/3/2012
 6/18/2012
             NICHS    SHANE NICHOLS
                      Invoice=10531050        ~       0
                                                                330.00
                                                                  0.00
                                                                         Prepare letter to Olstowski's counsel regarding
                                                                         plans to abandon certain of PAC's patents and
                                                                         patent applications

 5/4/2012  NICHS      SHANE NICHOLS                1.50        990.00    Review correspondence file and assignment
 6/18/2012            Invoice=10531050                         792.00    records; prepare letter to Olstowski's counsel
                                                                         regarding plans to abandon certain of PAC's
                                                                         patents and patent applications



                                               ~
 5/7/2012    NICHS    SHANE NICHOLS                             330.00   Finalize letter to Olstowski's counsel
                                                          ,
 6/18/2012            Invoice=10531050                          330.00   regarding plans to abandon certain of PAC's
                                                                         patents and patent applications; review prior
                                                                         art manuals received from PAC; confer with•
                                                                         ~egarding same

 5/8/2012    NICHS    SHANE NICHOLS                1.20        792.00    Confer with counsel for Olstowski regarding
 6/18/2012            Invoice=10531050             0.90        594.00    mediation timing and format; review application
                                                                         for appointment as special counsel

 5/9/2012    NICHS    SHANE NICHOLS                1.30         858.00   Confer with Judge Schmidt's chambers and with
 6/18/2012            Invoice=10531050             1.30         858.00   opposing counsel to coordinate mediation date
                                                                         and location; confirm same with client; confer
                                                                         with opposing counsel regarding consenting to
                                                                         postpone May 17, 2012 status conference and
                                                                         review joint report to be filed prior to status
                                                                         conference

 5/10/2012   NICHS    SHANE NICHOLS                1.90       1,254.00 Review and revise proposed Joint Report to
 6/18/2012            Invoice=10531050             1.90       1,254.00 Judge Isgur; confer with         nd
                                                                       regarding same and regarding agreed format for
                                                                       mediation statements and mediation itself

 5/11/2012   NI CHS   SHANE NICHOLS                2.10       1,386.00 Correspond wit'                          regarding
 6/18/2012            Invoice=10531050             2.10       1,386.00 joint report to Judge Isgur; prepare ana file

                                                              >        joint motion to continue May 14, 2012 status
                                                                       conference to June 14, 2012; prepare budget
                                                                       estimates for mediation and trial of patent
                                                                       ownership issue fo~

 5/14/2012   NICHS    SHANE NICHOLS                2.50       1,650.00 Confer with opposing counsel regarding filing
 6/18/2012            Invoice=10531050             2.50       1,650.00 motion to continue; review and provide comments
                                                                       on same; review transcript of creditors



                                                                                                                Exhibit A-2
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Invoice Time Detail


                                                                 meeting; confer with bankruptcy counsel
                                                                 regarding same; prepar          T 5 -
                                                                 -regarding various alternative trial
                                                                 strategies

 5/15/2012 WATSJ     JASON WATSON            0.50     330.00     Call with Pg     J"to discuss available
 6/18/2012           Invoice=10531050        0.50     330.00     bankruptcy related litigation strategies

 5/15/2012   NICHS   SHANE NICHOLS           1.50     990.00     Prepare mediation statement; review pleadings
 6/18/2012           Invoice=10531050        1.50     990.00     and correspondence related to 2006, 2011, and
                                                                 bankruptcy-related actions

 5/16/2012   WATSJ   JASON WATSON            0.10       66.00    E-mail and follow up question w i t h · · · ·
 6/18/2012           Invoice=10531050        0.10       66.00    regarding application to employ special counsel

 5/16/2012   NICHS   SHANE NICHOLS           1.20     792.00 Meet and confer with opposing counsel regarding
 6/18/2012           Invoice=10531050        1.10     726.00 format and agenda for mediation in June and
                                                             agreed format for mediation statement; review
                                                             terms of proposed letter agreement for Judge
                                                             Schmidt; confer with bankruptcy counsel
                                                             regarding objection to application to appoint
                                                             special counsel

 5/18/2012   NICHS   SHANE NICHOLS           0.20     132.00 Confer with opposing counsel regarding format
 6/18/2012           Invoice=10531050        0.20     132.00 and agenda for mediation in June and changes to
                                                             agreed format for mediation statement

 5/22/2012   NICHS   SHANE NICHOLS           5.00    3,300.00    Prepare mediation statement; confer with
 6/18/2012           Invoice=10531050        5.00    3,300.00    opposing counsel regarding mediation

 5/23/2012
 6/18/2012
             NICHS   SHANE NICHOLS
                     Invoice=10531050
                                             5.00
                                             5.oo
                                                     3,300.00
                                                     3,300.00    opposing counsel and with
                                                                 mediation
                                                                                             a
                                                                 Prepare mediation statement; confer with
                                                                                                   Iregarding


 5/24/2012   NICHS   SHANE NICHOLS           5.00    3,300.00    Prepare mediation statement
 6/18/2012           Invoice=10531050        4.00    2,640.00

 5/25/2012   NICHS   SHANE NICHOLS           1.00     660.00     Prepare mediation statement
 6/18/2012           Invoice=10531050        1.00     660.00

 5/29/2012   NICHS   SHANE NICHOLS           0.20     132.00 Teleconference with       J • regarding
 6/18/2012           Invoice=10531050        0.20     132.00 corporate representative to participate in
                                                             mediation and regarding modifications to
                                                             mediation statement in connection with same

 5/30/2012   NICHS   SHANE NICHOLS           0.50       330.00   Confer with Olstowski's bankruptcy counsel
 6/18/2012           Invoice=10531050        0.50   · · 330.00   regarding agreed format and content for·
                                                                 mediation statement

 5/31/2012   NICHS   SHANE NICHOLS           2.00    1,320.00 Teleconference with bankruptcy counsel; prepare
 6/18/2012           Invoice=10531050        2.00    1,320.00 for mediation; confer with         regarding
                                                              same

                     BILLED TOTALS: WORK:   40.60   26,796.00    23 records
                     BILLED TOTALS: BILL:   37.60   24,816.00

                     GRAND TOTALS: WORK:    40.60   26,796.00    23 records
                     GRAND TOTALS: BILL:    37.60   24,816.00




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Invoice Time Detail                                                                                                  i!i 'lil
 Matter Number        418939                                               Invoice                  10535734
 Matter Description PAC v. ATOM/Olstowski - 2011



 Date      Initials Name / Invoice Number Hours           Amount     Description
 6/1/2012  NICHS    SHANE NICHOLS          4.00           2,640.00   Prepare for and conduct mediation for PAC;
 7/12/2012          Invoice=10535734       4.00           2,640.00
                                                                     ~~~~~~i~~t~atf 'I and      .

 6/4/2012    NICHS    SHANE NICHOLS                1.40    924.00
 7/12/2012            Invoice=10535734             1.40    924.00    litigation strategy to address patent ownership
                                                                     and trade secret actions

 6/5/2012    NICHS    SHANE NICHOLS                3.30   2,178.00                                    detailing
 7/12/2012            Invoice=10535734             3.30   2,178.00   litigation strategy to address patent ownership
                                                                     and trade secret actions;
                                                                     r;rding samy corresrnd with       EJ y to      ii) :.

                                                                     schedule and plan a two-day meeting to evaluate
                                                                     settlement opportunities

 6/6/2012    NICHS    SHANE NICHOLS                5.20   3,432.00   Prepare joint report to bankruptcy court;
 7/12/2012            Invoice=10535734             5.20   3,432.00   confer with opposing counsel regarding same;
                                                                     finalize memorandum to client regarding
                                                                     alternate venues available for trial of patent
                                                                     ownership issue and estimated likelihood of
                                                                     success; correspond with
                                                                                                     to schedule and
                                                                     plan a two-day meeting to evaluate settlement
                                                                     opportunities; review PAC's proof of claim to
                                                                     be filed in bankruptcy court; correspond with
                                                                     opposing counsel regarding upcoming deadline
                                                                     for joint reports to Judge Isgur

 6/7/2012    NICHS    SHANE NICHOLS                3.10   2,046.00   Review proof of claim filed by Matthews firm;
 7/12/2012            Invoice=10535734             3.10   2,046.00   prepare Rule 26 report for Judge Isgur; meet
                                                                     and confer with opposing counsel regarding
                                                                     same; review discovery deadlines in state court
                                                                     action to support argument that discovery
                                                                     should not be opened in the adversary action

 6/8/2012    NI CHS   SHANE NICHOLS                1.10    726.00 Correspond with
 7/12/2012            Invoice=10535734             1.10    726.00 ~' and                to schedule and plan a
                                                                  two-day meeting to evaluate settlement
                                                                  opportunities; prepare meeting agenda

 6/11/2012   NICHS    SHANE NICHOLS                2.90   1,914.00   Prepare for and participate in call with.
 7/12/2012            Invoice=10535734             2.90   1,914.00                                   regarding

                                                                     and trade secret action; review bankruptcy
                                                                     court pleadings in preparation for status
                                                                     conference; coordinate strategy conference with
                                                                                ; review Olstowski patents in
                                                                     preparation for strategy meetings wit'4

                                                                     prepare agenda for same

 6/12/2012   NICHS    SHANE NICHOLS                3.10   2,046.00   Confer with
 7/12/2012            Invoice=10535734             3.10   2,046.00              n preparation for status conference
                                                                     before Judje Isgur; coordinate strategy meeting
                                                                     with            , review Olstowski patents and
                                                                     patent applications in prerration for strategy
                                                                     meetings witl                     a  J          JJ
                                                                     sW     JI
 6/13/2012   NICHS    SHANE NICHOLS                8.50   5,610.00   Conduct litigation strategy meetings with T.




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 7/12/2012           Invoice=10535734   8.50   5,610.00                                                I

                                                          prepare for scheduling conference and hearing
                                                          before Judge Isgur

 6/14/2012   NICHS   SHANE NICHOLS      8.50   5,610.00 Appear at hearing in bankruptcy court; confer
 7/12/2012           Invoice=10535734   8.50   5,610.00 with                       e regarding same;
                                                        prepare for and conduct litigation strategy
                                                        meetings with
                                                          •       I             t
 6/15/2012   NICHS   SHANE NICHOLS      1.40     924.00   Prepare memorandum analyzing likelihood of
 7/12/2012           Invoice=10535734   1.40     924.00   success in connection with Olstowski litigation
                                                          and settlement considerations

 6/18/2012   WERNS   SUZANNE WERNER     3.10   1,503.50 Read and review Complaint; prepare Answer;
 7/12/2012           Invoice=10535734   3.10   1,503.50 conference                regarding Answer;
                                                        research bankruptcy rules of procedure

 6/18/2012   NICHS   SHANE NICHOLS      3.90   2,574.00 Prepare ' - • • • •. ., .• • • • •
 7/12/2012           Invoice=10535734   3.90   2,574.00 I    ' based on data collected in meetings with
                                                        PAC personnel

 6/18/2012   KELLA   ALINA KELLY        0.20      39.00 Research background information on Petroleum
 7/12/2012           Invoice=10535734   0.00       0.00 Analyzer Company. Requested by Suzanne Werner.

 6/19/2012   NICHS   SHANE NICHOLS      4.20   2,772.00 Prepare litigation strategy J £Ji I.
 7/12/2012           Invoice=10535734   4.20   2,772.00.._. based on data collected in meetings with
                                                        PAC personnel

 6/20/2012   WERNS   SUZANNE WERNER     0.60    291.00    Revise Answer
 7/12/2012           Invoice=10535734   0.60    291.00

 6/20/2012   DEWBT   TIM DEWBERRY       1.10    423.50    Research and analyze case law regarding
 7/12/2012           Invoice=10535734   1.10    423.50    injunctions relating to trade secrets disclosed
                                                          to public

 6/20/2012   NICHS   SHANE NICHOLS      0.50    330.00    Correspond with
 7/12/2012           Invoice=10535734   0.50    330.00                         for litigation report

 6/21/2012   NICHS   SHANE NICHOLS      0.70    462.00    Confer with            regarding data for
 7/12/2012           Invoice=10535734   0.70    462.00    litigation damages analysis; review and revise
                                                          Answer

 6/22/2012   DEWBT   TIM DEWBERRY       3.10   1,193.50 Research and analyze case law on Westlaw
 7/12/2012           Invoice=10535734   3.10   1,193.50 regarding trade secrets

 6/25/2012   NICHS   SHANE NICHOLS      2.10   1,386.00 Confer wit             regarding filing
 7/12/2012           Invoice=10535734   2.10   1,386.00 stipulation with bankruptcy court; prepare
                                                        basic stipulation and confer with opposing
                                                        counsel regarding same; review papers filed in
                                                        connection with Motion for Summary Judgment of
                                                        Statute of Limitations

 6/25/2012   DEWBT   TIM DEWBERRY       0.50    192.50 Research and analyze case law regarding
 7/12/2012           Invoice=10535734   0.50    192.50 injunctions relating to trade secrets disclosed
                                                       to public

 6/26/2012   NICHS   SHANE NICHOLS      3.30   2,178.00   Confer witl   I        and opposing counsel
 7/12/2012           Invoice=10535734   3.30   2,178.00   regarding filing stipulation with bankruptcy
                                                          court; prepare preliminary discovery plan for
                                                          trade secrets misappropriation case against
                                                          Olstowski

 6/28/2012   NICHS   SHANE NICHOLS      0.90    594.00    Review and revise stipulation and review
 7/12/2012           Invoice=10535734   0.90    594.00    documents for filing submission of summary
                                                          judgment materials; correspond witq P             J
                                                          regarding same




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              BILLED TOTALS: WORK:   66. 70 41,989.00   24 records
              BILLED TOTALS: BILL:   66.50 41,950.00

              GRAND TOTALS: WORK:    66. 70 41,989.00 24 records
              GRAND TOTALS: BILL:    66.50 41,950.00




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Invoice Time Detail                                                                                               ~·@}
 Matter Number        41B939                                               Invoice                10543372
 Matter Description PAC v. ATOM/Olstowski - 2011



 Date        Initials Name / Invoice Number Hours         Amount Description
 7/5/2012    NICHS    SHANE NICHOLS                2.40   1,SB4.00 Review deposition and trial transcripts for
 B/16/2012            Invoice=10543372             2.40   1,SB4.00 testimony relevant to upcoming summary judgment
                                                                   hearing; prepare hearing argument

 7/5/2012    DEW BT   TIM DEWBERRY                 4.00   1,540.00 Research case law regarding affects of Mother
 B/16/2012            Invoice=10543372             4.00   1,540.00 Hubbard clause on claim preclusion

 7/6/2012    NICHS    SHANE NICHOLS                3.90   2,574.00   Review pleadings and docket sheets in
 B/16/2012            Invoice=10543372             3.90   2,574.00   connection with upcoming summary judgment
                                                                     hearing; prepare hearing argument

 7/9/2012    NI CHS   SHANE NICHOLS                6.30   4,lSB.00 Prepare argument for July 23, 2012 summary
 B/16/2012            Invoice=10543372             6.30   4,lSB.00 judgment hearing; review pleadings and case law
                                                                   regarding res judicata

 7/10/2012   NI CHS   SHANE NICHOLS                5.70   3,762.00   Prepare outline and slide presentation for July
 B/16/2012            Invoice=10543372             5.70   3,762.00   23 summary judgment hearing; review deposition
                                                                     transcripts and pleadings in connection with
                                                                     same

 7/11/2012   NICHS    SHANE NICHOLS                4.90   3,234.00 Teleconference with
 B/16/2012            Invoice=10543372             4.90   3,234.00 regarding filing objection to motion to extend
                                                                   exception period; correspond with•           En
                                                                   regarding Olstowski's time records to be used
                                                                   for summary judgment hearing; review time
                                                                   records; prepare slide presentation for July
                                                                   23, 2012 summary judgment hearing; review
                                                                   deposition transcripts regarding assignment of
                                                                   projects to Olstowski

 7/12/2012   NICHS    SHANE NICHOLS                5.BO   3,B2B.OO   Prepare for July 23, 2012 summary judgment
 B/16/2012            Invoice=10543372             5.BO   3,B2B.OO   hearing; review video of Olstowski depositions
                                                                     to identify clips for presentation at hearing;
                                                                     revise slide presentation

 7/13/2012 NICHS      SHANE NICHOLS                4.50   2,970.00   Prepare slide presentation and oral argument
 B/16/2012            Invoice=10543372             4.50   2,970.00   for July 23, 2012 summary judgment hearing;
                                                                     prepare hearing notebooks for same; review
                                                                     deposition video clips for potential use at
                                                                     summary judgment hearing

 7/17/2012   DEW BT   TIM DEWBERRY                 2.10    BOB.SO Research res judicata effect of Mother Hubbard
 B/16/2012            Invoice=l0543372             2.10    BOB.SO clause

 7/lB/2012   DEW BT   TIM DEWBERRY                 2.10    BOB.SO Research res judicata effect of Mother Hubbard
 8/16/2012            Invoice=10543372             1.90    731.50 clause

 7/19/2012   WERNS    SUZANNE WERNER               0.90    436.50    Review research regarding res judicata and
 8/16/2012            Invoice=10543372             0.00      0.00    Mother Hubbard clause

 7/19/2012   DEW BT   TIM DEWBERRY                 3.90   1,501.50 Research/analyze res judicata effect of Mother
 B/16/2012            Invoice=10543372             3.50   1,347.50 Hubbard clause

 7/22/2012   NI CHS   SHANE NICHOLS                4.50   2,970.00   Finalize slide presentation for summary
 8/16/2012            Invoice=10543372             4.50   2,970.00   judgment hearing; review pleadings and
                                                                     deposition transcripts; finalize argument

 7/23/2012   NI CHS   SHANE NICHOLS                B.00   5,2BO.OO
 8/16/2012            Invoice=10543372             B.00   5,280.00




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 7/23/2012   DEW BT   TIM DEWBERRY            0.10       38.50   Coordinate litigation strategy
 8/16/2012            Invoice=10543372        0.00        0.00

 7/24/2012   NICHS    SHANE NICHOLS           2.00    1,320.00   Research collateral estoppel case law in
 8/16/2012            Invoice=10543372        1.80    1,188.00   connection with judge's request for
                                                                 supplemental briefing

 7/25/2012   NICHS    SHANE NICHOLS           1.50     990.00    Prepare outline of supplemental brief
 8/16/2012            Invoice=10543372        1.50     990.00

 7/26/2012   NICHS    SHANE NICHOLS           3.50    2,310.00   Review case law on scope of res judicata and
 8/16/2012            Invoice=10543372        3.40    2,244.00   issue preclusion in connection with judge's
                                                                 request for supplemental briefing; prepare
                                                                 outline of supplemental brief

 7/27/2012   NICHS    SHANE NICHOLS           1.50     990.00    Review docket sheet for case removed to federal




                                                                              .I .
 8/16/2012            Invoice=10543372        1.20     792.00    district court; prepare outline of scheduling
                                                                 order to propose to Judge Hughes

 7/31/2012   WERNS    SUZANNE WERNER          2.10    1,018.50 Discuss additional briefini for bankruptcy
 8/16/2012            Invoice=10543372        2.10    1,018.50 judge with                                I
                                                                                                        review
                                                               pleadings in case before J. Hughes; draft and
                                                               file notices of appearance for      SI and
                                                                  LE      I


 7/31/2012
 8/16/2012
             NICHS    SHANE NICHOLS
                      Invoice=10543372
                                              2.70
                                              2.70
                                                      1,782.00
                                                      1,782.00     ii         a•       zu •«Jimm:; cs    a::•
                                                                 Finalize outline for supplemental briefing;
                                                                                   w
                                                                 regarding exhibits to be used at upcoming
                                                                 bankruptcy hearing

 7/31/2012   DEW BT   TIM DEWBERRY            1.10     423.50    Prepare supplemental brief
 8/16/2012            Invoice=10543372        1.10     423.50

                      BILLED TOTALS: WORK:   73.50   44,327.50   22 records
                      BILLED TOTALS: BILL:   71.30   43,225.50

                      GRAND TOTALS: WORK:    73.50   44,327.50   22 records
                      GRAND TOTALS: BILL:    71.30   43,225.50




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Invoice  4:12-cv-01811
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Invoice Time Detail                                                                                                  <§~]
 Matter Number        418939                                                Invoice                10551103
 Matter Description PAC v. ATOM/Olstowski - 2011



 Date        Initials Name I Invoice Number Mou rs        Amount Description
 8/1/2012    NI CHS   SHANE NICHOLS                2.10   1,386.00 Confer with bankruptcy counsel regarding
 9/25/2012            Invoice=10551103             2.10   1,386.00 exhibits and witnesses to be used in upcoming
                                                                   hearing and likely testimony from F. Olstowski;
                                                                   review Olstowski's pleadings pertaining to
                                                                   same; prepare supplemental brief for Judge
                                                                   Isgur

 8/3/2012    NICHS    SHANE NICHOLS                3.50   2,310.00 Attend telephonic hearing to present objection
 9/25/2012            Invoice=10551103             3.50   2,310.00 to Olstowski's motion for extension of
                                                                   exclusivity period; prepare supplemental brief
                                                                   regarding scope of res judicata and issue
                                                                   preclusion; read transcript of recent hearing
                                                                   in connection with same

 8/3/2012    DEWBT    TIM DEWBERRY                 2.70   1,039.50 Research case law of res judicata and
 9/25/2012            Invoice=10551103             2.70   1,039.50 collateral estoppel

 8/5/2012    DEW BT   TIM DEWBERRY                 3.00   1,155.00 Research case law of res judicata and
 9/25/2012            Invoice=10551103             3.00   1,155.00 collateral estoppel

 8/6/2012    DEW BT   TIM DEWBERRY                 7.00   2,695.00   Research case law of res judicata and
 9/25/2012            Invoice=10551103             7.00   2,695.00   collateral estoppel

 8/6/2012    NICHS    SHANE NICHOLS                2.60   1,716.00 Prepare detailed outline for new sections of
 9/25/2012            Invoice=10551103             2.60   1,716.00 supplemental brief; review memorandum regarding
                                                                   case law research on collateral estoppel in
                                                                   arbitration context

 8/7/2012    DEW BT   TIM DEWBERRY                 5.20   2,002.00   Research collateral estoppel and res judicata,
 9/25/2012            Invoice=10551103             5.20   2,002.00   prepare brief

 8/7/2012    NICHS    SHANE NICHOLS                3.60   2,376.00   Review and revise supplemental brief
 9/25/2012            Invoice=10551103             3.60   2,376.00

 8/8/2012    DEW BT   TIM DEWBERRY                 7.10   2,733.50   Research collateral estoppel and res judicata
 9/25/2012            Invoice=10551103             5.10   1,963.50   brief regarding same

 8/9/2012    DEW BT   TIM DEWBERRY                 6.00   2,310.00   Research collateral estoppel and res judicata
 9/25/2012            Invoice=10551103             4.80   1,848.00   brief regarding same

 8/9/2012    NICHS    SHANE NICHOLS                2.80   1,848.00   Review and revise supplemental brief;
 9/25/2012            Invoice=10551103             2.80   1,848.00   correspond with opposing counsel regarding use
                                                                     of PAC's confidential information in publicly
                                                                     filed proposed plan

 8/10/2012   DEW BT   TIM DEWBERRY                 6.90   2,656.50   Research collateral estoppel and res judicata;
 9/25/2012            Invoice=10551103             4.90   1,886.50   prepare brief regarding same

 8/10/2012   NI CHS   SHANE NICHOLS                4.40   2,904.00   Correspond with opposing counsel regarding
 9/25/2012            Invoice=10551103             4.40   2,904.00   disclosure of PAC's confidential information;
                                                                     review proposed plan, non-disclosure
                                                                     agreements, and protective orders in connection
                                                                     with same; review and revise draft supplemental
                                                                     brief

 8/12/2012   NI CHS   SHANE NICHOLS                2.50   1,650.00   Review and revise draft supplemental brief
 9/25/2012            Invoice=10551103             2.50   1,650.00

 8/13/2012   DEW BT   TIM DEWBERRY                 6.70   2,579.50   Research collateral estoppel and res judicata;
 9/25/2012            Invoice= 10551103            6.70   2,579.50   prepare brief regarding same




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 8/13/2012   WERNS    SUZANNE WERNER          5.60    2,716.00   Revise supplemental brief
 9/25/2012            Invoice=10551103        4.60    2,231.00

 8/13/2012   NICHS    SHANE NICHOLS           5.60    3,696.00   Finalize and file supplemental brief; review
 9/25/2012            Invoice=10551103        5.60    3,696.00   Olstowski's supplemental brief; read case Jaw
                                                                 cited in Olstowski's brief

 8/13/2012   HARAM    MARK HARASYMIW          0.80      156.00 Cite checked Res Judicata Brief at request of
 9/25/2012            Invoice=10551103        0.00        0.00 S. Werner

 8/14/2012   WERNS    SUZANNE WERNER          0.60      291.00   Prepare letter to court regarding supplemental
 9/25/2012            Invoice=10551103        0.60      291.00   brief

 8/14/2012   NICHS    SHANE NICHOLS           2.40    1,584.00 Correspond with opposing counsel regarding
 9/25/2012            Invoice=10551103        2.40
                                                               statement;     •a
                                                      1,584.00 confidential information used . .disclosure
                                                                                                 regarding
                                                               hearing involving agreements relevant to
                                                               confidentiality issue; attend hearing by
                                                               telephone

 8/15/2012   NICHS    SHANE NICHOLS           2.40    1,584.00   Review Olstowski's proposed plan; confer with
 9/25/2012            Invoice=10551103        2.30    1,518.00                             review case law
                                                                 regarding Section 365(a) and its applicability
                                                                 to non-transferable, non-exclusive patent
                                                                 licenses; review schedules in connection with
                                                                 valuation of patents and decision by board to
                                                                 file for bankruptcy

 8/16/2012   NICHS    SHANE NICHOLS           5.30    3,498.00   Analyze license agreement between Olstowski and
 9/25/2012            Invoice=10551103        5.30    3,498.00   Atom; review competing plan; c."'m: M:a;;p
                                                                 M. IL~ .I     £2       regarding same; review case
                                                                 Jaw regarding Section 365(a) and its
                                                                 applicability to non-transferable,
                                                                 non-exclusive patent licenses; review brief in
                                                                 support of confirmation of PAC's plan; confer
                                                                 a
                                                                     •           regarding same; review schedules
                                                                 in connection with same

 8/24/2012   NICHS    SHANE NICHOLS           0.70     462.00 Review Atom's amended bankruptcy plan;
 9/25/2012            Invoice=10551103        0.70     462.00 correspond witl r •     a
                                                                                     regarding same

 8/27/2012   NICHS    SHANE NICHOLS           2.50    1,650.00   Prepare outline of issues                to use in
 9/25/2012            Invoice=10551103        2.50    1,650.00   hearing pertaining to Atom's emergency motion
                                                                 to disallow PAC's liability claims against
                                                                 Atom; confer witha             regarding same and
                                                                 regarding consequences of hearing; attend
                                                                 hearing by telephone

 8/29/2012   WERNS    SUZANNE WERNER          0.10      48.50    Telephone call with clerk regarding notices of
 9/25/2012            Invoice=10551103        0.10      48.50    appearance; review order for scheduling
                                                                 conference

 8/30/2012   NI CHS   SHANE NICHOLS           1.50     990.00    Teleconference with    I'UILillittJ zag; I
 9/25/2012            Invoice=10551103        1.50     990.00    memorandum requested by&         D in connection
                                                                 with new investor in Atom Instruments; prepare
                                                                 memorandum summarizing basic bankruptcy
                                                                 strategy and recommendations

 8/31/2012   NI CHS   SHANE NICHOLS                   1,650.00   Prepare memorandum summarizing status and
 9/25/2012            Invoice=10551103                1,650.00   recommendations for bankruptcy proceedings in
                                                                 view of ATAC's new investment in Atom
                                                                 Instruments and Debtor's revised reorganization
                                                                 plan

                      BILLED TOTALS: WORK:   96.10   49,686.50   27 records
                      BILLED TOTALS: BILL:   89.00   46,977.50

                      GRAND TOTALS: WORK:    96.10   49,686.50   27 records




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              GRAND TOTALS: BILL:   89.00 46,977.50




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Invoice Time Detail                                                                                                ei'~
 Matter Number       418939                                                 Invoice                10558005
 Matter Description PAC v. ATOM/Olstowski - 2011



 Date       Initials Name I Invoice Number         Hours   Amount Description
 9/4/2012   NICHS    SHANE NICHOLS                  1.50    990.00 Finalize memorandum I §          a1
                                                                                                  & regarding
 10/30/2012          Invoice=10558005               1.40    924.00 strategy for bankruptcy proceedings; confer
                                                                   with.& r•oregarding same

 9/5/2012   NICHS     SHANE NICHOLS                 3.20   2,112.00   Prepare for pre-trial hearing before Judge
 10/30/2012           Invoice=10558005              3.20   2,112.00   Hughes; confer with opposing counsel regarding
                                                                      proposed litigation schedule to be submitted to
                                                                      Judge Hughes and regarding need for
                                                                      identification of trade secrets to determine
                                                                      appropriate limits on discovery

 9/6/2012   NICHS     SHANE NICHOLS                 3.90   2,574.00 Appear at pre-trial hearing before Judge
 10/30/2012           Invoice=10558005              3.90   2,574.00 Hughes; prepare for same

 9/10/2012  NICHS     SHANE NICHOLS                 2.60   1,716.00 Review order from Judge Hughes requiring
 10/30/2012           Invoice=10558005              2.40   1,584.00 submission of statement from PAC's President
                                                                    regarding sales data; prepare sales volume
                                                                    statement and identify information needed from
                                                                    PAC's finance department

 9/11/2012  WERNS     SUZANNE WERNER                0.20      97.00   Review court's management order and upcoming
 10/30/2012           Invoice=10558005              0.20      97.00   deadlines

 9/11/2012  NICHS     SHANE NICHOLS                 2.50   1,650.00 Prepare statement of PAC president for
 10/30/2012           Invoice=10558005              2.50   1,650.00 submission as ordered by Judge Hughes; confer
                                                                      \lllllllllil!illiil!P,&. !!LllMOZB&n!SSL
                                                                      regarding same; review Judge Hughes' courtroom
                                                                      procedures in connection with submission of
                                                                      statement

 9/12/2012  NICHS     SHANE NICHOLS                 4.30   2,838.00
 10/30/2012           Invoice=10558005              4.30   2,838.00
                                                                                                                       r

                                                                                         regarding same; review
                                                                      Olstowski's statement purporting to identify
                                                                      the technology owned by Plaintiffs; prepare
                                                                      trial outline for October 2 trial

 9/13/2012  WERNS     SUZANNE WERNER                5.10   2,473.50   Discuss trial preparation tasks and strategy
 10/30/2012           Invoice=10558005              5.10   2,473.50
                                                                      •1            Is; draft and revise outline for
                                                                      trial preparation; review documents for trial
                                                                      preparation and use as exhibits

 9/13/2012  NICHS     SHANE NICHOLS                 3.10   2,046.00 Confer with opposing counsel regarding
 10/30/2012           Invoice=10558005              3.10   2,046.00 treatment of PAC's confidential information in


                                                                      OI»     p prepare task list for trial prep,
                                                                      including witnesses to prep and documents to
                                                                      use as exhibits

 9/14/2012  WERNS     SUZANNE WERNER                4.10   1,988.50 Revise trial preparation outline; review
 10/30/2012           Invoice=10558005              4.10   1,988.50 pleadings for witnesses, evidence and
                                                                    arguments; read summary judgment order

 9/14/2012  NICHS    SHANE NICHOLS                  2.20   1,452.00 Prepare trial strategy outline; confer
 10/30/2012          Invoice=10558005               2.20   1,452.00 -regarding same

 9/17/2012  WERNS    SUZANNE WERNER                 5.60   2,716.00   Review pleadings and documents for trial
 10/30/2012          Invoice=10558005               5.60   2,716.00   preparation; research and outline requirements




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                                                            for attorneys fees; discuss trial preparation
                                                            IWili)       a:  draft witness and exhibit
                                                            lists

 9/17/2012    NICHS    SHANE NICHOLS      2.40   1,584.00 Review order denying summary judgment; revise
 10/30/2012            Invoice=10558005   2.40   1,584.00 trial outline and witness list accordingly

 9/17/2012    NI CHS   SHANE NICHOLS      1.20     792.00 Prepare draft joint report to be submitted to
 10/30/2012            Invoice=10558005   1.20     792.00 Judge Hughes; confer with opposing counsel
                                                          regarding same

 9/18/2012  WERNS      SUZANNE WERNER     5.90   2,861.50   Review documents from 2006 litigation for trial
 10/30/2012            Invoice=10558005   5.90   2,861.50   preparation; discuss trial preparation and
                                                                                       draft documents for
                                                            use at trial as exhibits

 9/18/2012    NICHS    SHANE NICHOLS      2.40   1,584.00 Prepare draft joint report to be submitted to
 10/30/2012            Invoice=10558005   2.40   1,584.00 Judge Hughes; negotiate dates and litigation
                                                          phases with opposing counsel

 9/19/2012  WERNS      SUZANNE WERNER     2.90   1,406.50   Review electronic filing procedures for
 10/30/2012            Invoice=10558005   2.90   1,406.50   bankruptcy court; prepare notice of appearance;
                                                            review objection to PAC's reorganization plan;
                                                            review substance of Olstowski's invoices for
                                                            trial

 9/19/2012    NI CHS   SHANE NICHOLS      5.60   3,696.00   Prepare response to PAC's trade secrets
 10/30/2012            Invoice=10558005   5.60   3,696.00   statement in trade secret action

 9/19/2012    NICHS    SHANE NICHOLS      2.20   1,452.00 ·correspond
 10/30/2012            Invoice=10558005   2.20   1,452.00                      garding preparation for trial
                                                           and giving trial testimony

 9/20/2012    NICHS    SHANE NICHOLS      3.50   2,310.00   Review trial subpoenas served by Olstowski's
 10/30/2012            Invoice=10558005   3.50   2,310.00   counsel; prepare objections to subpoenas;
                                                            review document categories and topics for
                                                            testimony;                                   g
                                                            logistics of upcoming trial

 9/21/2012    NICHS    SHANE NICHOLS      2.40   1,584.00 Prepare objections to trial subpoenas served by
 10/30/2012            Invoice=10558005   2.40   1,584.00 Olstowski's counsel; review document categories
                                                          and topics for testimony; correspond wit~
                                                          ~regarding service of subpoenas


 9/22/2012    NICHS    SHANE NICHOLS      3.00   1,980.00 Prepare trial notebook for upcoming trial;
 10/30/2012            Invoice=10558005   2.50   1,650.00 review documents from 2006 arbitration for
                                                          potential use as trial exhibits

 9/23/2012  WERNS      SUZANNE WERNER     6.00   2,910.00   Read and review deposition transcripts from
 10/30/2012            Invoice=10558005   6.00   2,910.00   2006 litigation; revise responses and
                                                            objections to PAC and R. Strozier subpoenas;
                                                            identify key documents from R. Strozier in 2006
                                                            litigation; revise draft documents for trial

 9/23/2012    NICHS    SHANE NICHOLS      3.00   1,980.00 Prepare trial notebook for upcoming trial;
 10/30/2012            Invoice=10558005   2.50   1,650.00 review documents from 2006 arbitration for
                                                          potential use as trial exhibits

 9/24/2012  WERNS      SUZANNE WERNER     5.00   2,425.00   Revise response and objections to subpoenas;
 10/30/2012            Invoice=10558005   5.00   2,425.00   prepare subpoenas to S. Rick, J. Schmits, and
                                                            Atom Instrument Corporation; discuss trial
                                                            preparation and

 9/24/2012    DAVEJ    JOHN DAVEY         0.70    136.50 Locate information regarding ATOM Instrument
 10/30/2012            Invoice=10558005   0.00      0.00 Corp. for S. Werner.

 9/24/2012    DAVEJ    JOHN DAVEY         0.50     97.50    Locate personal bio information for S. Werner.
 10/30/2012            Invoice=10558005   0.00      0.00




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 9/24/2012    NICHS   SHANE NICHOLS            6.30    4,158.00   Review documents produced in 2006 litigation,
 10/30/2012           Invoice=10558005         6.30    4,158.00   including Olstowski's invoices and time sheets;
                                                                  confer with likely witnesses regarding
                                                                  availability for trial; confer with opposing
                                                                  counsel re arding continuance of trial;

                                                                  prepare outlines of trial testimony for S. Rick
                                                                  and L. Houston

 9/25/2012    SESSJ   JAYSE SESSI             ~           92.50 Research file history US 5,905,433, order
 10/30/2012           Invoice=10558005         0.00        0.00 Thomson File History, obtain as is file history
                                                                for N. Stallings - ATL

 9/25/2012    NICHS   SHANE NICHOLS            5.10    3,366.00   Prepare trial exhibit list; confer with trial
 10/30/2012           Invoice=10558005         5.10    3,366.00   witnesses regarding availability for trial;
                                                                  confer with opposing counsel regarding
                                                                  continuance of trial; confer with B. Strozier
                                                                  regarding trial subpoena; prepare outlines of
                                                                  trial testimony for S. Rick and L. Houston

 9/26/2012  SESSJ     JAYSE SESSI                         55.50   Receive updated file history for US5,905,433
 10/30/2012           Invoice=10558005                     0.00   from Thomson File History, process for N.
                                                                  Stallings - ATL

 9/26/2012    NICHS   SHANE NICHOLS            2.40    1,584.00 Witness preparation                 ; prepare
 10/30/2012           Invoice=10558005         2.40    1,584.00 exhibits and direct examination outlines for
                                                                trial; review deposition transcripts and
                                                                documents from prior litigation

 9/27/2012  WERNS     SUZANNE WERNER          12.00    5,820.00   Prepare for trial by collecting exhibits,
 10/30/2012           Invoice=10558005        12.00    5,820.00   reviewing and summarizing documents, and
                                                                  drafting subpoenas; discuss trial preparation
                                                                  and strategy with              ; correspond with
                                                                            regarding subpoenas and exhibits

 9/27/2012    NICHS   SHANE NICHOLS            7.20    4,752.00                                       , prepare
 10/30/2012           Invoice=10558005         7.20    4,752.00   exhibits and direct examination outlines for
                                                                  trial; review deposition transcripts and
                                                                  documents from prior litigation

 9/28/2012    NICHS   SHANE NICHOLS            9.00    5,940.00   Witness .reparation o                      ,
 10/30/2012           Invoice=10558005         9.00    5,940.00                  prepare exhibits and direct
                                                                  examination outlines for trial; review
                                                                  deposition transcripts and documents from prior
                                                                  litigation; correspond with opposing counsel

 9/29/2012    NICHS   SHANE NICHOLS            8.00    5,280.00 Trial preparation
 10/30/2012           Invoice=10558005         8.00    5,280.00

 9/30/2012  WERNS     SUZANNE WERNER           7.00    3,395.00   Draft and revise motion to quash subpoenas to
 10/30/2012           Invoice=10558005         7.00    3,395.00   PAC and Strozier; research case law regarding
                                                                  trial subpoenas to party and non-party
                                                                  witnesses

 9/30/2012    NICHS   SHANE NICHOLS            8.00    5,280.00   Trial preparation; witness preparation with S.
 10/30/2012           Invoice=10558005         8.00    5,280.00   Rick

                      BILLED TOTALS: WORK:   150.80 89,175.00     38 records
                      BILLED TOTALS: BILL:   147.SO 87,935.00

                      GRAND TOTALS: WORK:    150.80   89,175.00   38 records
                      GRAND TOTALS: BILL:    147.50   87,935.00




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 10/4/2012    NICHS    SHANE NICHOLS      2.50   1,650.00
 11/19/2012            Invoice=10561821   2.50   1,650.00 agreement;    1




 10/5/2012    NI CHS   SHANE NICHOLS      2.00   1,320.00 Prepare and exchange drafts of settlement
 11/19/2012            Invoice=10561821   2.00   1,320.00 agreement; c
                                                                                                          e
                                                            a

 10/8/2012    NICHS    SHANE NICHOLS      3.50   2,310.00   Negotiate final terms of settlement agreement
 11/19/2012            Invoice=10561821   3.50   2,310.00   with counsel for Olstowski; prepare and
                                                            exchange drafts of settlement agreement

 10/9/2012    NICHS    SHANE NICHOLS      4.20   2,772.00   Prepare and distribute final draft of
 11/19/2012            Invoice=10561821   4.20   2,772.00   settlement agreement; confer with opposing
                                                            counsel regarding same;
                                                            r
                                                            r                              sel; correspond with
                                                            opposing counsel regarding appropriate
                                                            treatment of confidential documents after
                                                            conclusion of 2011 litigation; coordinate and
                                                            transmit settlement agreement executed by PAC
                                                            officer

 10/10/2012 WERNS      SUZANNE WERNER     1.00    485.00    Review Judge Hughes' orders and procedures
 11/19/2012            Invoice=10561821   1.00    485.00    regarding next deadlines in case

 10/11/2012   NICHS    SHANE NICHOLS      1.60   1,056.00                          regarding his proposal to
 11/19/2012            Invoice=10561821   1.60   1,056.00   modify the terms of the settlement

 10/12/2012   NICHS    SHANE NICHOLS      1.30    858.00    Confer with opposing counsel regarding
 11/19/2012            Invoice=10561821   1.30    858.00    modifications to terms of settlement agreement,
                                                            including making objection to re-opening
                                                            negotiations after final agreement reached

 10/15/2012   NICHS    SHANE NICHOLS      2.40   1,584.00 Review Olstowski's proposed modifications to
 11/19/2012            Invoice=10561821   2.40   1,584.00 settlement agreement;                      n and
                                                                      garding changes they are proposing
                                                          to settlement agreement; report status of


 10/16/2012   NICHS    SHANE NICHOLS      3.50   2,310.00   N                            regarding changes
 11/19/2012            Invoice=10561821   3.50   2,310.00   they are proposing to settlement agreement;
                                                            review Olstowski's proposed modifications to
                                                            settlement agreement and compare to prior
                                                            drafts; prepare correspondence to opposing
                                                            counsel stating PAC's positions on changes
                                                            proposed

 10/17/2012   NICHS    SHANE NICHOLS      2.70   1,782.00   Prepare for hearing regarding Olstowski's
 11/19/2012            Invoice=10561821   2.70   1,782.00   refusal to execute settlement agreement; confer
                                                                           n preparation for same

 10/18/2012   NICHS    SHANE NICHOLS      3.10   2,046.00   Prepare for and appear at hearing regarding
 11/19/2012            Invoice=10561821   3.10   2,046.00   Olstowski's refusal to execute settlement
                                                            agreement;                           preparation
                                                            for same

 10/19/2012   NICHS    SHANE NICHOLS      1.90   1,254.00                         regarding follow-up items
 11/19/2012            Invoice=10561821   1.90   1,254.00   in preparation for confirmation hearing on
                                                            modified plan; review court's order from
                                                            November 18, 2012 hearing in connection with
                                                            same

 10/23/2012   NICHS    SHANE NICHOLS      1.10    726.00    Review and revise bankruptcy motion prepared by
 11/19/2012            Invoice=10561821   1.10    726.00    Olstowski's counsel;




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                                                                  regarding same; review terms of executed
                                                                  settlement agreement for non-confidential terms
                                                                  to be listed in bankruptcy filings

 10/24/2012   NICHS    SHANE NICHOLS           0.80      528.00                                                    0
 11/19/2012            Invoice=10561821        0.80      528.00                                         ; prepare
                                                                  suggested alternative language for same

 10/25/2012   NI CHS   SHANE NICHOLS           1.50      990.00   Correspond with counsel for Atom/Olstowski
 11/19/2012            Invoice=10561821        1.50      990.00   regarding treatment of confidential trial
                                                                  exhibits; revise proposed motion to confirm in
                                                                  response to requests from M. Wege

 10/29/2012   NICHS    SHANE NICHOLS           1.60    1,056.00                                confirmation
 11/19/2012            Invoice=10561821        1.60    1,056.00 hearing and final revisions to Olstowski's
                                                                proposed motion to confirm

 10/31/2012   NICHS    SHANE NICHOLS           0.80     528.00    Review Atom's motion for confirmation-
 11/19/2012            Invoice=10561821        0.80     528.00                 regarding same

                       BILLED TOTALS: WORK:   88.50   52,985.00   22 records
                       BILLED TOTALS: BILL:   88.30   52,853.00

                       GRAND TOTALS: WORK:    88.50   52,985.00   22 records
                       GRAND TOTALS: BILL:    88.30   52,853.00




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Invoice Time Detail                                                                                                  e!i[J
 Matter Number        418939                                               Invoice                10566892
 Matter Description PAC v. ATOM/Olstowski - 2011


 Date         Initials Name / Invoice Number Hours Amount Description
 11/1/2012    NICHS    SHANE NICHOLS               2.10   1,386.00 Review bankruptcy filings, including all
 12/10/2012            Invoice=10566892            2.10   1,386.00 agreements between Atom and its new investor
                                                                                                        ; confer
                                                                                 regarding use of same in upcoming
                                                                   confirmation hearing

 11/2/2012    NICHS    SHANE NICHOLS               1.00     660.00                                        regarding
 12/10/2012            Invoice=10566892            1.00     660.00   draft Motion to oppose confirmation and
                                                                     regarding quickest routes to resolution of
                                                                     bankruptcy; review draft Motion

 11/5/2012    NICHS    SHANE NICHOLS               1.40    924.00    Teleconference                o prepare for
 12/10/2012            Invoice=10566892            1.40    924.00    confirmation hearing; review pleadings and
                                                                     Proposed Plan in connection with same

 11/6/2012    NICHS    SHANE NICHOLS               3.10   2,046.00   ~d appear vS                       § f before
 12/10/2012            Invoice=10566892            3.10   2,046.00                or confirmation hearing; confer
                                                                                   an                arding next
                                                                     steps to terminate PAC's involvement in
                                                                     bankruptcy proceedings

 11/19/2012   NICHS    SHANE NICHOLS               0.70    462.00    Correspond C      II       1 regarding
 12/10/2012            Invoice=10566892            0.50    330.00    re-starting sales of cetane improver kit;
                                                                     review bankruptcy docket and upcoming deadlines
                                                                     in connection with same

 11/21/2012   NICHS    SHANE NICHOLS               1.10    726.00 Corr.ond
 12/10/2012            Invoice=10566892            0.90    594.00 W i g stipulation to avoid PAC's need to
                                                                  file a motion for any administrative claims
                                                                  arising from the remaining district court
                                                                  litigation; review and recommend edits to terms
                                                                  of stipulation proposed by counsel for Atom

                       BILLED TOTALS: WORK:        9.40   6,204.00   6 records
                       BILLED TOTALS: BILL:        9.00   5,940.00

                      GRAND TOTALS: WORK:          9.40   6,204.00   6 records
                      GRAND TOTALS: BILL:          9.00   5,940.00




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Invoice Time Detail
 Matter Number       418939                                        Invoice              10598665
 Matter Description PAC v. ATOM/Olstowski - 2011


 Date        Initials Name / Invoke Number Hours   Amount Description
 4/8/2013    NICHS    SHANE NICHOLS         1.20    840.00 Review quitclaim assignment proposed by counsel
 5/22/2013            Invoice=10598665      0.90    630.00 for Olstowski/ATOM; correspond with counsel for
                                                           Olstowski regarding same; prepare
                                                            recommendation • • • • • • • • • •

 4/18/2013   NICHS   SHANE NICHOLS
 5/22/2013           Invoice=10598665




 4/19/2013   NICHS   SHANE NICHOLS
 5/22/2013           Invoice=10598665

                     BILLED TOTALS: WORK:
                     BILLED TOTALS: BILL:

                     GRAND TOTALS: WORK:
                     GRAND TOTALS: BILL:




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Invoice Time Detail                                                                                                  &i{il
 Matter Number        418939                                                 Invoice                 10601202
 Matter Description PAC v. ATOM/Olstowski - 2011



 Date        Initials Name f Invoice Number Hours         Amount Description
 5/2/2013    NICHS    SHANE NICHOLS                       1,190.00 Review case law identified by Olstowski's
 6/5/2013             Invoice=10601202                    1,190.00 counsel regarding past infringement; review
                                                                   settlement agreement; correspond with opposing
                                                                   counsel regarding Olstowski's request for
                                                                   broader quitclaim assignment

 5/3/2013    NICHS    SHANE NICHOLS                0.20     140.00 Review additional case law regarding PAC's
 6/5/2013             Invoice=10601202                      140.00 quitclaim assignment

 5/6/2013    NICHS    SHANE NICHOLS                         910.00    Prepare for and conduct teleconference with
 6/5/2013             Invoice=10601202                      910.00    opposing counsel regarding Olstowski's demand
                                                                      that PAC expand the scope of the quitclaim;
                                                                      prepare redline of quitclaim assignment,
                                                                      striking Olstowski's proposed new language;
                                                                      review settlement agreement; prepare for
                                                                      pretrial conference set by Judge Hughes

 5/7/2013    WERNS    SUZANNE WERNER               0.30     160.50    Review court order setting pre-trial
 6/5/2013             Invoice=10601202             0.30     160.50    conference; review docket and filings by both
                                                                      parties; call clerk regarding v            •
                                                                                   conference by phone

 5/7/2013    NICHS    SHANE NICHOLS                1.50   1,050.00 Review pleadings In 2012 litigation against
 6/5/2013             Invoice=10601202             1.50   1,050.00 Olstowski; prepare for pretrial conference set
                                                                   by Judge Hughes; review Olstowski's redline of
                                                                   quitclaim assignment; report recent discussion
                                                                   with

 5/8/2013    NICHS    SHANE NICHOLS                0.70    490.00     Correspond with counsel for Olstowski regarding
 6/5/2013             Invoice=10601202             0.70    490.00     pretrial conference set for May 14, 2013

 5/9/2013    NI CHS   SHANE NICHOLS                1.20    840.00     Review correspondence from Olstowski's counsel;
 6/5/2013             Invoice=10601202                     630.00     review redline of quitclaim;
                                                                     -regarding same

 5/10/2013   WERNS    SUZANNE WERNER               0.30    160.50 Review correspondence regarding quitclaim of
 6/5/2013             Invoice=10601202                     160.50 patents-in-suit to F. Olstowski and ATOM;
                                                                  prepare correspondence to PAC regarding marking
                                                                  of patents-in-suit

 5/10/2013   NICHS    SHANE NICHOLS                1.10    770.00     Confer with counsel for Olstowski regarding
 6/5/2013             Invoice=10601202             1.10    770.00     upcoming pretrial conference; review pleadings
                                                                                referred to regarding scheduling;
                                                                                              scheduling proposals

 5/13/2013   NICHS    SHANE NICHOLS                       1,820.00 Prepare for upcoming pre-trial conference
 6/5/2013             Invoice=10601202                    1,820.00 before Judge Hughes; review all pleadings and
                                                                   prior litigation history with Atom/Olstowski;
                                                                   correspond with counsel for Atom/Olstowski;
                                                                   correspond with opposing counsel regarding
                                                                   quitclaim assignment

 5/14/2013   NICHS    SHANE NICHOLS                4.50   3,150.00    Appear for pre-trial conference before Judge
 6/5/2013             Invoice=10601202             4.50   3,150.00    Hughes; review all pleadings and prior
                                                                      litigation history with Atom/Olstowski In
                                                                      preparation for same

 5/15/2013   NI CHS   SHANE NICHOLS                1.40    980.00..                        I     I        Hll H
 6/5/2013             Invoice=10601202             1.40    980.00             Judge Hughes to rescind the state
                                                                  court's clarification order; correspond with
                                                                                       egarding same




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 5/16/2013   WERNS   SUZANNE WERNER          0.60      321.00   Review court orders and submissions due;
 6/5/2013            Invoice=l0601202        0.60      321.00   conference with S. Nichols regarding court
                                                                orders and submissions

 5/16/2013   NICHS   SHANE NICHOLS           1.80    1,260.00 Prepare brief on remedies and subject matter
 6/5/2013            Invoice=10601202        1.80    1,260.00 jurisdiction per Judge Hughes' instructions;
                                                              correspond with opposing counsel regarding same

 5/17/2013   WERNS   SUZANNE WERNER          4.90    2,621.50   Research remedies available to federal district
 6/5/2013            Invoice=10601202        3.90    2,086.50   court to hear state court claims; conference
                                                                with S. Nichols regarding same; prepare and
                                                                revise brief regarding remedies; review
                                                                correspondence from opposing counsel regarding
                                                                hearing and remedies

 5/17/2013   NICHS   SHANE NICHOLS           2.40    1,680.00 Prepare and revise brief on remedies and
 6/5/2013            Invoice=l0601202        2.40    1,680.00 subject matter jurisdiction per Judge Hughes'
                                                              instructions; correspond with opposing counsel
                                                              regarding same; review Olstowski's brief

 5/20/2013   WERNS   SUZANNE WERNER          0.20      107.00   Review plaintiff's brief on remedies
 6/5/2013            Invoice= 10601202       0.20      107.00

 5/21/2013   WERNS   SUZANNE WERNER                    428.00   Review appeal pleadings and stay pending
 6/5/2013            Invoice=10601202                  428.00   bankruptcy; determine status of stay following
                                                                conclusion of bankruptcy proceedings

 5/21/2013   NICHS   SHANE NICHOLS           1.80    1,260.00 Correspond                          regarding
 6/5/2013            Invoice=10601202        1.80    1,260.00 scheduling issues in 2012 litigation and
                                                              regarding quitclaim assignment; conference with
                                                                         regarding response to Motion for
                                                              Summary Judgment

 5/22/2013   WERNS   SUZANNE WERNER                    588.50   Research                 under the America
 6/5/2013            Invoice=10601202                  588.50   Invents Act; summarize research results for
                                                                instructing PAC on marking

 5/22/2013   NICHS   SHANE NICHOLS                    630.00    Correspond IWILll ~I     II     a   regarding
 6/5/2013            Invoice=10601202                 630.00    scheduling issues in 2012 litigation and
                                                                regarding quitclaim assignment

 5/23/2013   WERNS   SUZANNE WERNER          0.60     321.00    Correspond with
 6/5/2013            Invoice=10601202        0.60     321.00            ; review options for virtual marking

 5/23/2013   NICHS   SHANE NICHOLS                   2,940.00   Prepare response letter to opposing counsel
 6/5/2013            Invoice=10601202                2,730.00   conveying formal refusal to consent to ·language
                                                                in quitclaim assignment proposed to give
                                                                Atom/Olstowski rights to pursue claims for past
                                                                infringement and any related claims

                     BILLED TOTALS: WORK:   36.10   23,818.00   23 records
                     BILLED TOTALS: BILL:   34.50   22,863.00

                     GRAND TOTALS: WORK:    36.10   23,818.00   23 records
                     GRAND TOTALS: BILL:    34.50   22,863.00




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Invoice Time Detail                                                                                               ~'(il
 Matter Number        418939                                                Invoice               10608467
 Matter Description PAC v. ATOM/Olstowski - 2011



 Date        Initials Name / Invoice Number Hours         Amount Description
 6/3/2013    NEU BR RON NEUBAUER             0.80          156.00 Obtain copies of cases and statutes for
 7/12/2013            Invoice=10608467       0.00            0.00 attorney

 6/3/2013    WERNS    SUZANNE WERNER               5.10   2,728.50 Read and analyze defendant's motion for summary
 7/12/2013            Invoice=10608467             5.10   2,728.50 judgment, exhibits, and cited cases

 6/3/2013    NICHS    SHANE NICHOLS                0.90     630.00   Review Atom's motion for summary judgment
 7/12/2013            Invoice=10608467             0.90     630.00

 6/4/2013    WERNS    SUZANNE WERNER               6.10   3,263.50 Prepare response to Plaintiffs' motion for
 7/12/2013            Invoice=10608467             6.10   3,263.50 summary judgment; review prior summary judgment
                                                                   briefs and collateral estoppel arguments

 6/4/2013    NICHS    SHANE NICHOLS                2.10   1,470.00 Review Petroleum Analyzer Company's motion for
 7/12/2013            Invoice= 10608467            2.10   1,470.00 summary judgment and exhibits; prepare notes
                                                                   for response brief

 6/5/2013    WERNS    SUZANNE WERNER               7.10   3,798.50   Prepare response to motion for summary judgment
 7/12/2013            Invoice=10608467             7.10   3,798.50

 6/5/2013    NICHS    SHANE NICHOLS                2.70   1,890.00 Review Petroleum Analyzer Company's motion for
 7/12/2013            Invoice=10608467             2.70   1,890.00 summary judgment and exhibits; prepare outline
                                                                   for response brief

 6/6/2013    WERNS    SUZANNE WERNER               3.60   1,926.00 Further preparation of response to motion for
 7/12/2013            Invoice=10608467             3.60   1,926.00 summary judgment

 6/7/2013    WERNS    SUZANNE WERNER               7.30   3,905.50 Further preparation of response to summary
 7/12/2013            Invoice=10608467             5.30   2,835.50 judgment motion

 6/7/2013    NICHS    SHANE NICHOLS                4.50   3,150.00   Review pleadings in prior litigations against
 7/12/2013            Invoice=10608467             4.50   3,150.00   Atom and Olstowski; prepare outline of response
                                                                     to finality of trial court's judgment in light
                                                                     of Olstowski's refusal to rescind October 17,
                                                                     2011 clarification order

 6/9/2013    WERNS    SUZANNE WERNER               2.20   1,177.00   Revise response to motion for summary judgment
 7/12/2013            Invoice=10608467             2.20   1,177.00

 6/10/2013   WERNS    SUZANNE WERNER               4.90   2,621.50   Read transcript from pre-trial conference with
 7/12/2013            Invoice=10608467             4.90   2,621.50   court; incorporate into response to motion for
                                                                     summary judgment; identify exhibits for
                                                                     response to motion for summary judgment;
                                                                     prepare declaration in support of response to
                                                                     motion for summary judgment

 6/10/2013   NICHS    SHANE NICHOLS                2.50   1,750.00 Prepare opposition brief to motion for summary
 7/12/2013            Invoice=10608467             2.50   1,750.00 judgment

 6/11/2013   NICHS    SHANE NICHOLS                4.80   3,360.00   Prepare brief in opposition to Olstowski's
 7/12/2013            Invoice=10608467             4.80   3,360.00   motion for summary judgment; review pleadings
                                                                     in all prior Olstowski litigation; review
                                                                     Olstowski's prior pleadings and transcripts to
                                                                     highlight inconsistencies

 6/12/2013   WERNS    SUZANNE WERNER               0.10     53.50 T                               regarding marking
 7/12/2013            Invoice=10608467             0.10     53.50

 6/12/2013   NI CHS   SHANE NICHOLS                2.30   1,610.00   Finalize brief in opposition to Olstowski's
 7/12/2013            Invoice= 10608467            2.30   1,610.00   motion for summary judgment; transmit same to




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 6/13/2013   WERNS   SUZANNE WERNER                    267.50 Telephon                       regarding
 7/12/2013           Invoice=10608467                  267.50 implementation of virtual marking; discuss
                                                              response to motion for summary judgment~


 6/13/2013   NICHS   SHANE NICHOLS           5.20    3,640.00 Prepare brief in response to Olstowski's motion
 7/12/2013           Invoice=10608467        5.20    3,640.00 for summary judgment; review hearing
                                                              transcripts from hearings and enforcement
                                                              proceedings from 2011 to highlight
                                                              inconsistencies in Olstowski's positions;
                                                              research trade secret case law in connection
                                                              with effects of public disclosures

 6/14/2013   WERNS   SUZANNE WERNER          7.10    3,798.50 Revise and file response to motion for summary
 7/12/2013           Invoice=10608467        7.10    3,798.50 judgment and declaration in support; review
                                                              exhibits to motion for summary judgment;
                                                              prepare final exhibits to response to motion
                                                              for summary judgment; discuss response to
                                                              motion for summary judgment

 6/14/2013   NICHS   SHANE NICHOLS           4.70    3,290.00   Prepare correspondence to opposing counsel
 7/12/2013           Invoice=10608467        4.70    3,290.00   regarding confidentiality of Petroleum Analyzer
                                                                Company's revenues and profitability figures
                                                                cited in motion for summary judgment brief;
                                                                prepare brief in response to Olstowski's motion
                                                                for summary judgment; review pleadings from
                                                                2011 enforcement proceedings to support
                                                                estoppel argument

 6/19/2013   NICHS   SHANE NICHOLS           0.50     350.00 Confer               in Houston regarding final
 7/12/2013           Invoice=10608467        0.50     350.00 termination of bankruptcy cases involving Atom

                     BILLED TOTALS: WORK:   75.00 44,836.00     21 records
                     BILLED TOTALS: BILL:   72.20 43,610.00

                     GRAND TOTALS: WORK:    75.00   44,836.00   21 records
                     GRAND TOTALS: BILL:    72.20   43,610.00




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Invoice Time Detail

 Matter Number       418939                                                  Invoice                 10619867
 Matter Description PAC v. ATOM/Olstowski - 2011


 Date        Initials Name / Invoice Number    Hours      Amount     Description
 7/12/2013   NICHS    SHANE NICHOLS                        700.00    Prepare correspondenc                closing
 9/11/2013            Invoice=10619867                     700.00    issues related to Atom bankruptcy and quit
                                                                     claim negotiation

 8/5/2013    NICHS   SHANE NICHOLS                 1.20    840.00    Review Atom'sJifly brief and exhibits; report
 9/11/2013           Invoice=10619867              1.20    840.00    §db         I. I II ,
                                                                                 ii   review PA C's response to
                                                                     motion for summary judgment

 8/9/2013    WERNS   SUZANNE WERNER                2.00   1,070.00 Review Atom's reply brief and local rules
 9/11/2013           Invoice=10619867              1.80     963.00 governing motion practice; prepare motion to
                                                                   strike Plaintiffs' reply brief

 8/12/2013   WERNS   SUZANNE WERNER                0.60    321.00    Telephone call w   £        A   to meet and
 9/11/2013           Invoice=10619867              0.60    321.00    confer over motion to strike; file motion to
                                                                     strike; prepare proposed order

 8/12/2013   NICHS   SHANE NICHOLS                 0.30    210.00    Finalize and file motion to strike improperly
 9/11/2013           Invoice=10619867              0.30    210.00    filed reply brief

                     BILLED TOTALS: WORK:          5.10   3,141.00   5 records
                     BILLED TOTALS: BILL:          4.90   3,034.00

                     GRAND TOTALS: WORK:           5.10   3,141.00   5 records
                     GRAND TOTALS: BILL:           4.90   3,034.00




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Invoice Time Detail

 Matter Number       418939                                                 Invoice              10625948
 Matter Description PAC v. ATOM/Olstowski - 2011


 Date        Initials Name / Invoice Number Hours         Amount Description
 9/17/2013   NICHS    SHANE NICHOLS          1.50         1,050.00 Review order to reset deadlines; report same to
 10/9/2013            Invoice=10625948       0.30           210.00 client; research similar orders from Judge
                                                                   Hughes

                     BILLED TOTALS: WORK:          1.50   1,050.00 1 records
                     BILLED TOTALS: BILL:          0.30     210.00

                     GRAND TOTALS: WORK:           1.50   1,050.00   1 records
                     GRAND TOTALS: BILL:           0.30     210.00




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Invoice Time Detail                                                                                              e'f [I
 Matter Number       418939                                                 Invoice               10692841
 Matter Description PAC v. ATOM/Olstowski - 2011


 Date        Initials Name f Invoice Number Hours         Amount Description




                                                                 --
 8/8/2014    NICHS    SHANE NICHOLS          0.70          511.00 Review order granting partial summary jud.ment;
 9/19/2014            Invoice=10692841       0.70          511.00 I             I                     2    3     b

 8/11/2014   NICHS   SHANE NICHOLS                 3.50   2,555.00 Review order granting partial summary judgment
 9/19/2014           Invoice=10692841              2.60   1,898.00 to Olstowski; review summary judgment briefing
                                                                   and prepare outline of discovery likely to be
                                                                   required for Olstowski to prove liability under
                                                                   court's order

 8/13/2014   NICHS   SHANE NICHOLS                 0.10      73.00
 9/19/2014           Invoice=l0692841              0.10      73.00

                                                                     pr

 8/14/2014   NICHS   SHANE NICHOLS                 1.20    876.00    Research status of ATOM and its newest investor
 9/19/2014           Invoice=l0692841              0.70    511.00    to determine likelihood of resolving dispute
                                                                     without further litigation

 8/25/2014   NICHS   SHANE NICHOLS                        1,825.00 Co                         egarding maintenance
 9/19/2014           Invoice=10692841                     1,679.00 fees due on U.S. Patent No. 7,244,395; confirm
                                                                   terms of settlement agreement; research
                                                                   pleadings in settled matter pertaining to the
                                                                   '395 Patent to determine potential use in
                                                                   avoiding litigation in current action in which
                                                                   partial summary judgment has been granted

 8/28/2014   NICHS   SHANE NICHOLS                 3.10   2,263.00 Review recent order and prior summary judgment
 9/19/2014           Invoice=10692841              2.10   1,533.00 pleadings in preparation for meet and confer
                                                                   with opposing counsel in advance of upcoming
                                                                   pretrial conference

 8/29/2014   NICHS   SHANE NICHOLS                 0.70    511.00    Correspond with Olstowski's counsel regarding
 9/19/2014           Invoice=10692841              0.70    511.00    upcoming pretrial conference

                     BILLED TOTALS: WORK:      11.80 8,614.00        7 records
                     BILLED TOTALS: BILL:       9.20 6,716.00

                     GRAND TOTALS: WORK:       11.80 8,614.00        7 records
                     GRAND TOTALS: BILL:        9.20 6,716.00




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Invoice Time Detail                                                                                                      eJj {il
 Matter Number       418939                                                     Invoice                10696860
 Matter Description PAC v. ATOM/Olstowski - 2011



 Date      Initials Name / Invoice Number Hours           Amount Description
 9/3/2014  NICHS    SHANE NICHOLS          2.10           1,533.00 Prepare for and conduct teleconference with
 10/9/2014          Invoice=10696860       2.10           1,533.00 counsel for Olstowski as required by the court
                                                                   in preparation for September 15 pretrial
                                                                   conference; review plaintiff's notice of the
                                                                   technology it purports to be legally protected;
                                                                   review plaintiff's statement of remedies
                                                                   available to the court

 9/5/2014  NICHS     SHANE NICHOLS                 0.50     365.00        Correspond with D. Russell regarding
 10/9/2014           Invoice=10696860              0.50     365.00        Olstowski's draft informal requests for
                                                                          production to PAC in order to facilitate the
                                                                          discovery process in light of the Judge's
                                                                          recent order for conference; review requests
                                                                          for production

 9/12/2014 NICHS     SHANE NICHOLS                 0.90     657.00    Confer with Olstowski's counsel regarding
 10/9/2014           Invoice=10696860              0.90     657.00    attendance at conference and obtaining
                                                                      settlement demand; correspond with A. Barger
                                                                      regarding possible settlement demand and scope
                                                                      of damages

 9/15/2014 NICHS     SHANE NICHOLS                 8.20   5,986.00    Appear for pre-trial conference before Judge
 10/9/2014           Invoice=10696860              8.20   5,986.00    Hughes in Houston, Texas; prepare arguments
                                                                      related to clarifying order granting partial
                                                                      summary judgment; prepare summary of pre-trial


 9/16/2014 NICHS     SHANE NICHOLS                 3.70   2, 701.00                          egarding compiling
 10/9/2014           Invoice=10696860              2.70   1,971.00 information and documentation requested by
                                                                    Judge Hughes during pre-trial conference;
                                                                    finalize and forward pre-trial conference
                                                                    summary to client; t
                                                                    -egarding history of case and hiring
                                                                    local counsel

 9/17/2014 NICHS     SHANE NICHOLS                 3.70   2, 701.00
 10/9/2014           Invoice=10696860              2.50   1,825.00
                                                                      co           111-e
                                                                      differences between Olstowski's technology and
                                                                      the MultiTek technology in connection with
                                                                      Olstowski's trade secret misappropriation
                                                                      c1aim;a?
                                                                      J            garding financial statement
                                                                      requested by Judge Hughes; prepare initial
                                                                      draft of financial statement

 9/18/2014 NI CHS   SHANE NICHOLS                  2.30   1,679.00    c
 10/9/2014          Invoice=10696860               2.30   1,679.00                 I; correspond with L. Houston
                                                                      regarding scheduling of telephone conference
                                                                                          telephone conference with •
                                                                                               regarding collecting
                                                                      financial and technical information to respond
                                                                      to Judge Hughes' order requiring reporting same

 9/19/2014 NI CHS
 10/9/2014
                    SHANE NICHOLS
                    Invoice=10696860
                                                   1.90
                                                   1.90
                                                          1,387.00
                                                          1,387.00    i             :::
                                                                      review revenue and profits data generated in
                                                                      2011; prepare draft report

 9/22/2014 NI CHS   SHANE NICHOLS                  1.70   1,241.00                                                        ,
 10/9/2014          Invoice=10696860               1.70   1,241.00 c                             regarding revenue and




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                                                                 margin data and scheduling meeting to discuss
                                                                 data; prepare draft of financial statement for
                                                                 submission to opposing counsel

 9/23/2014 NICHS     SHANE NICHOLS           1.60    1,168.00    Review accounting data for MultiTek with and
 10/9/2014           Invoice=10696860        1.60    1,168.00    without excimer lamp in preparation for
                                                                 t


                                                                               Olstowski litigation; rework
                                                                 financial data spreadsheet to calculate per
                                                                 unit gross and net profits

 9/24/2014 NICHS     SHANE NICHOLS           1.20      876.00
 10/9/2014           Invoice=10696860        1.20      876.00
                                                                 review spreadsheet in preparation for same;
                                                                 prepare draft of report to Plaintiffs required
                                                                 by Judge Hughes

 9/25/2014 NICHS     SHANE NICHOLS           6.50    4,745.00    0U                Ill    §   i           I)    2 L.
 10/9/2014           Invoice=10696860        5.50    4,015.00    ru           3 111§ final draft of financial
                                                                 statement to be provided to opposing counsel;
                                                                 revise same and prepare correspondence to
                                                                 opposing counsel transmitting same

 9/26/2014 NICHS     SHANE NICHOLS           2.30    1,679.00 Review Olstowski's statement identifying the
 10/9/2014           Invoice=10696860        2.30    1,679.00 technology he claims is proprietary; review
                                                              arbitration award to determine sequence of
                                                              disclosures; prepare time line for possible
                                                              submission with pleading comparing technologies

 9/29/2014 NICHS     SHANE NICHOLS           5.20    3,796.00    Review documents from 2011 production
 10/9/2014           Invoice=10696860        5.20    3,796.00    pertaining to technical features of excimer
                                                                 lamp purchased from Heraeus for MultiTek
                                                                 product; review deposition transcript of S.
                                                                 Rick regarding providing specifications to
                                                                 Heraeus; draft technology comparison statement
                                                                 for submission to court; research ASTM
                                                                 standards pertaining to technology



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 9/30/2014   NICHS   SHANE NICHOLS           4.50
 10/9/2014           Invoice=10696860        4.50    3,285.oo •      •                         g                 Sto
                                                     3,285.00 -            7  p g
                                                                ex        221 ii!S:SJi&S, review materials received
                                                                from L. Houston pertaining to technical details
                                                                of excimer lamp used in MultiTek instruments;
                                                                prepare technology comparison statement; review
                                                                specifications and other documents provided to
                                                                excimer lamp vendor

                     BILLED TOTALS: WORK:   46.30   33, 799.00   15 records
                     BILLED TOTALS: BILL:   43.10   31,463.00

                     GRAND TOTALS: WORK:    46.30   33, 799.00   15 records
                     GRAND TOTALS: BILL:    43.10   31,463.00




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Invoice Time Detail                                                                                                   8fil
 Matter Number        418939                                                Invoice                     10706354
 Matter Description PAC v. ATOM/Olstowski - 2011



 Date         Initials Name / Invoke Number Hours         Amount      Description
 10/1/2014
 11/21/2014
              NICHS    SHANE NICHOLS
                       Invoice=10706354
                                                   6.70
                                                   6.70
                                                          4,891.00
                                                          4,891.00    :~~:1 11 1 :~:1 l·11lll~l 1 :/ llll l;;:;pk·s
                                                                      a        I           t            11      Bin
                                                                                                I   I   I, correspond
                                                                      legal administrative assistant with
                                                                                                            I          .
                                                                                                                      with

                                                                      instructions to obtain court transcript;
                                                                      prepare technical statement comparing Heraeus
                                                                      lamp with Olstowski's technology; research
                                                                      Heraeus history producing excimer lamps;
                                                                      research ASTM standards

 10/2/2014    NICHS    SHANE NICHOLS               4.50   3,285.00 Review transcript of pre-trial conference with
 11/21/2014            Invoice=10706354            2.50   1,825.00 Judge Hughes; prepare report to Judge Hughes on
                                                                   differences between excimer lamp used in PAC's
                                                                   MultiTek and the excimer technology developed
                                                                   by Olstowski,                          regarding
                                                                   same;
                                                                   Olstowski's response to PAC's financial report
                                                                   and PAC's response to same

 10/3/2014    NICHS    SHANE NICHOLS               6.50   4,745.00
 11/21/2014            Invoice=10706354            6.50   4,745.00




                                                                      forwarding filing of final pleading for
                                                                      technology comparison

 10/6/2014    NICHS   SHANE NICHOLS                2.00   1,460.00    Review Olstowski's objections to PAC's
 11/21/2014           Invoice=10706354             2.00   1,460.00    Financial Report and outline response to same;
                                                                      identify additional information PAC may want to
                                                                      consider providing to Olstowski rather than
                                                                      disputing Olstowski's right to access

 10/7/2014    NICHS   SHANE NICHOLS                3.60   2,628.00                                     to discuss
 11/21/2014           Invoice=10706354             3.60   2,628.00    response to Olstowski's objections regarding
                                                                      PAC's financial statement; review Olstowski
                                                                      objections to financial statement; prepare
                                                                      outline of PAC's written response

 10/8/2014    FLEMK   KARISSA BLYTH                2.90   1,058.50 Legal research regarding measure of damages for
 11/21/2014           Invoice=10706354             2.90   1,058.50 Texas trade secret cases

 10/8/2014    NICHS   SHANE NICHOLS                2.80   2,044.00 . . . . . . . . . . . .~garding
 11/21/2014           Invoice=10706354             2.80   2,044.00 supplemental damages data for responding to
                                                                   Olstowski's objections to PAC's Financial
                                                                   Report; prepare response

 10/9/2014  FLEMK     KARISSA BLYTH                0.10      36.50            • • • • • discuss legal research
 11/21/2014           Invoice=10706354             0.10      36.50

 10/9/2014    NICHS   SHANE NICHOLS                3.20   2,336.00    I          -      -   -       -
 11/21/2014           Invoice=10706354             3.20   2,336.00    regarding redacted version of PAC's Financial
                                                                      Stateynt; review of research information from
                                                                     • • • • regarding net profits versus gross




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                                                            profits under Texas trade secrets law; prepare
                                                            response to Olstowski's objections to PAC's
                                                            Financial Report

 10/10/2014 NICHS     SHANE NICHOLS      2.50   1,825.00 Correspond with opposing counsel regarding
 11/21/2014           Invoice=10706354   2.50   1,825.00 public filing of PAC's confidentia financial
                                                         information; c
                                                                                                              e

                                                           tiilllth regarding ATOM/Olst~wski filing a motion
                                                            to seal PAC's confidential financial
                                                            information;
                                                            regarding disclosure of PAC's financial
                                                            information to third parties as well as Mr.
                                                            Olstowski; review new financial data received
                                                            from D. Oliveaux for inclusion in response to
                                                            Olstowski's objections

 10/13/2014 NICHS     SHANE NICHOLS      1.50   1,095.00 Revise draft Response to Olstowski's
 11/21/2014           Invoice=10706354   1.50   1,095.00 Objections;
                                                         regarding cost components of the MultiTek and
                                                         how profit margins are affected

 10/14/2014 NICHS     SHANE NICHOLS      1.50   1,095.00 Review new financial data from D. Oliveaux;
 11/21/2014           Invoice=10706354   1.50   1,095.00 correspond with D. Oliveaux regarding same;
                                                         revise draft of Response to Olstowski's
                                                         Objections

 10/15/2014 NICHS     SHANE NICHOLS      3.20
 11/21/2014           Invoice=10706354   3.20




 10/16/2014   NICHS   SHANE NICHOLS      3.90   2,847.00   Prepare response to Olstowski's Objections to
 11/21/2014           Invoice=10706354   3.90   2,847.00   PAC's Financial Report and submit same to
                                                           client for review

 10/17/2014 NICHS     SHANE NICHOLS      1.30    949.00                                  regarding response
 11/21/2014           Invoice=10706354   1.30    949.00    to Olstowski's Objections to PAC's Financial
                                                           Report and scheduling of teleconference
                                                           regarding same;                           ss
                                                                                 and revised data

 10/21/2014 NICHS     SHANE NICHOLS      0.70    511.00                             regarding revisions
 11/21/2014           Invoice=10706354   0.70    511.00 to PAC's Response to Olstowski's
                                                        Response/Objections to PAC's Financial Report;
                                                        revise draft Response

 10/22/2014   NICHS   SHANE NICHOLS      0.30    219.00                                  garding revisions
 11/21/2014           Invoice=10706354   0.00      0.00    to PAC's Response to Olstowski's
                                                           Response/Objections to PAC's Financial Report

 10/23/2014 NICHS     SHANE NICHOLS      0.30    219.00    ctl••••••••a.a'egarding Response
 11/21/2014           Invoice=10706354   0.30    219.00    to Olstowski's Objections

 10/24/2014   NICHS   SHANE NICHOLS      0.40    292.00                                   garding revisions
 11/21/2014           Invoice=10706354   0.40    292.00    to draft Response to Olstowski's Objections

 10/27/2014 NICHS     SHANE NICHOLS      2.20   1,606.00                                     garding
 11/21/2014           Invoice=10706354   1.20     876.00   Response to Olstowski Objections; revise same


 10/28/2014   NICHS   SHANE NICHOLS      3.40   2,482.00   Prepare final drafts of PAC's Response to




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 11/21/2014         Invoice=10706354        3.40    2,482.00    Olstowski's Objections to PAC's Financial
                                                                Report; prepare sworn declaration -
                                                                :·           .   . .                I             1
                                                                .-:1                                I      ng
                                                                final drafts of PAC's Response to Olstowski's
                                                                Objections and declaration; correspond with
                                                                Olstowski's counsel regarding stipulation to
                                                                not oppose PAC's motion for leave to file
                                                                confidential exhibits under seal; prepare draft
                                                                motion to file PAC's confidential financia
                                                                information under seal;


 10/29/2014 NICHS   SHANE NICHOLS           5.60    4,088.00                                  regarding whether or
 11/21/2014         Invoice=10706354        5.60    4,088.00    not Plaintiffs will oppose PAC's motion for
                                                               leave to file under seal PAC's financial
                                                               information; correspond with D. Oliveaux
                                                               regarding final PAC's Response to Olstowski's
                                                               Objections to PAC's Financial Report;
                                                               teleconference with D. Oliveaux regarding same;
                                                               revise Declaration of D. Oliveaux
                                                               • • • • • • • finalize and file PAC's
                                                               Response to Olstowski's Objections to PAC's
                                                               Financial Report; prepare and file motion for
                                                               leave to file exhibits under seal

 10/30/2014 NICHS
 11/21/2014
                    SHANE NICHOLS
                    Invoice=l0706354
                                            0.50
                                            0.50
                                                     365.00 : ·
                                                     365.00 ••
                                                                       fi    T~i 2            EJS: 2ii!J %SOS
                                                                   1 1 1 ranting motion for leave to file
                                                            Exhibits 1 and 2 under seal

                    BILLED TOTALS: WORK:   59.60 42,413.00      23 records
                    BILLED TOTALS: BILL:   56.30 40,004.00

                    GRAND TOTALS: WORK:    59.60   42,413.00    23 records
                    GRAND TOTALS: BILL:    56.30   40,004.00




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Invoice Time Detail                                                                                               l§ [I
 Matter Number           418939                                            Invoice                10717578
 Matter Description PAC v. ATOM/Olstowski - 2011


 Date         Initials    Name I Invoice Number Hours     Amount     Description
 12/8/2014    NICHS       SHANE NICHOLS          0.50      365.00                            regarding November 21,
 1/26/2015                Invoice=10717578       0.00        0.00    2014 Decision on Petition to Revive

 12/15/2014   NICHS       SHANE NICHOLS            0.40     292.00                              regarding court
 1/26/2015                Invoice=10717578         0.20     146.00   deadline of December 30, 2014

 12/16/2014   NICHS       SHANE NICHOLS            1.50   1,095.00 Review hearing transcript and redact for use as
 1/26/2015                Invoice=10717578         1.50   1,095.00 exhibit to motion to protect confidential
                                                                   information

 12/28/2014   NICHS       SHANE NICHOLS            0.80    584.00
 1/26/2015                Invoice=10717578         0.80    584.00                          eadline to file motion to
                                                                     redact and/or request that the court not make
                                                                     public the transcript of the recent pretrial
                                                                     conference, which includes confidential profit
                                                                     and revenue information

 12/29/2014 NI CHS        SHANE NICHOLS            2.10   1,533.00 Co
 1/26/2015                Invoice=10717578         2.10   1,533.00 f             prepare table of redactions for
                                                                   motion; review and revise draft motion; obtain
                                                                   consent from opposing counsel;                e

                                                                     Motion to Redact Confidential and Proprietary
                                                                     Information in Pretrial Conference Transcript

                          BILLED TOTALS: WORK:     5.30   3,869.00   5 records
                          BILLED TOTALS: BILL:     4.60   3,358.00

                          GRAND TOTALS: WORK:      5.30   3,869.00   5 records
                          GRAND TOTALS: BILL:      4.60   3,358.00




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Invoice Time Detail                                                                                                  ei·~
 Matter Number        418939                                                 Invoice                10738558
 Matter Description PAC v. ATOM/Olstowski - 2011



 Date        Initials Name / Invoke Number     Hours      Amount Description
 4/1/2015    NICHS    SHANE NICHOLS             1.80      1,377.00 Review Motion for Leave and Motion for Summary



                                                                     •
 5/14/2015            Invoice=10738558          1.20        918.00 Judgment; pr .
                                                                             b
                                                                            same and proposing response

 4/2/2015    NICHS    SHANE NICHOLS                0.30     229.50   Correspond with Roper Industries regarding
 5/14/2015            Invoice=10738558             0.30     229.50   opposing Olstowski's Motion for Leave to file
                                                                     under seal

 4/6/2015    NICHS    SHANE NICHOLS                1.50   1,147.50   Review Olstowski's Motion for Summary Judgment
 5/14/2015            Invoice=10738558             1.50   1,147.50
                                                                     and   rrerr outli~~~~:e~e~~==;granting
                                                                     Olstowski's Motion for Leave

 4/8/2015    NICHS    SHANE NICHOLS                         153.00
 5/14/2015            Invoice=10738558                      153.00


 4/15/2015   NICHS    SHANE NICHOLS                0.50     382.50   Correspond
 5/14/2015            Invoice=10738558             0.20     153.00   S           W;Judge Hughes and his summary
                                                                     judgment practices

 4/16/2015   NICHS    SHANE NICHOLS                2.50   1,912.50   Review Olstowski's Motion for Summary Judgment;
 5/14/2015            Invoice=10738558             1.50   1,147.50   prepare outline of response in opposition to
                                                                     same

 4/17/2015   NICHS    SHANE NICHOLS                2.50   1,912.50 Confer with local counsel regarding deadline
 5/14/2015            Invoice=10738558             1.50   1,147.50 and potential request for an extension of time
                                                                   in which to file a response to Olstowski's
                                                                   Motion for Summary Judgment; prepare motion to
                                                                   set deadline for opposition brief;          d

                                                                     same; file Motion to Set Deadline for
                                                                     Opposition Brief

 4/21/2015   NI CHS   SHANE NICHOLS                3.50   2,677.50                                   egarding Motion
 5/14/2015            Invoice=10738558             1.50   1,147.50 to Set Deadline for Opposition Brief; confer
                                                                                  regarding brief in opposition;
                                                                   prepare outline of response

 4/23/2015   SEEGR    RICH SEEGER                  3.00   1,440.00   Review Plaintiffs' Motion for Summary Judgment
 5/14/2015            Invoice=10738558             3.00   1,440.00   on Damages, the case history, and other
                                                                     pleadings

 4/23/2015   NICHS    SHANE NICHOLS                1.00    765.00                             regarding research needed
 5/14/2015            Invoice=10738558             1.00    765.00    for brief in opposition to Plaintiffs' Motion
                                                                     for Final Summary Judgment

 4/24/2015   SEEGR    RICH SEEGER                  4.80   2,304.00   Research case law regarding trade secret theft,
 5/14/2015            Invoice=10738558             4.80   2,304.00   idea misappropriation, sanctions, and
                                                                     attorneys' fees

 4/25/2015   SEEGR    RICH SEEGER                  5.40   2,592.00   Perform case law research regarding trade
 5/14/2015            Invoice=10738558             5.40   2,592.00   secret theft, idea misappropriation, sanctions,
                                                                     and attorneys' fees

 4/25/2015   NICHS    SHANE NICHOLS                2.00   1,530.00 Prepare response to Olstowski's Motion for
 5/14/2015            Invoice=10738558             1.20     918.00 Summary Judgment

 4/26/2015   SEEGR    RICH SEEGER                  5.80   2,784.00   Prepare opposition brief responding to
 5/14/2015            Invoice=l0738558             5.80   2,784.00   Olstowski's Motion for Summary Judgment on
                                                                     Damages




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 4/27/201S   SEEGR   RICH SEEGER             8.20    3,936.00                             regarding preparation of
 S/14/201S           Invoice=10738SS8        6.20    2,976.00    opposition to Plaintiffs' Motion for Summary
                                                                 Judgment; prepare opposition to Plaintiffs'
                                                                 Motion for Summary Judgment on Damages

 4/27/201S
 S/14/201S
             NICHS   SHANE NICHOLS
                     Invoice=10738SS8
                                             3.40
                                             2.40
                                                     2,601.00

                                                                 I··-            J r regarding research and
                                                                                 I
                                                     1,836.00 summary judgment response brief; correspond
                                                                               egarding current outline of
                                                              PAC's brief in opposition to Olstowski's Motion
                                                              for Summary Judgment

 4/28/201S   SEEGR   RICH SEEGER             S.60    2,688.00    Prepare opposition to Plaintiffs' Motion for
 S/14/201S           Invoice=10738SS8        S.60    2,688.00    Summary Judgment on Damages

 4/28/201S   NICHS   SHANE NICHOLS           2.60    1,989.00                         regarding revisions to
 S/14/201S           Invoice=10738SS8        2.60    1,989.00 draft brief of PAC's response to Plaintiffs'
                                                              Final Motion for Summary Judgment; lievise PAC's
                                                              brief in opposition to Plaintiffs' Motion for
                                                              Final Summary Judgment

 4/29/201S   SEEGR   RICH SEEGER             1.10      S28.00    Revise opposition to Plaintiffs' Motion for
 S/14/201S           Invoice=10738SS8        1.10      S28.00    Summary Judgment on Damages.

 4/29/201S   NICHS   SHANE NICHOLS           3.80    2,907.00    c                           r regarding PAC's brief
 S/14/201S           Invoice=10738SS8        2.80    2,142.00    in response to Plaintiffs' Final Motion for
                                                                 Summary Judgment;
                                                                         regarding additional research on
                                                                 sanctions issues; fo


 4/30/2015   SEEGR   RICH SEEGER             2.20    1,0S6.00    Revise opposition to Plaintiffs' Motion for
 S/14/201S           Invoice=10738SS8        2.20    1,0S6.00    Summary Judgment on Damages; prepare proposed
                                                                 order; assemble and prepare exhibits

 4/30/201S   NICHS   SHANE NICHOLS           4.50    3,442.SO                                regarding edits to
 S/14/201S           Invoice=10738SS8        3.SO    2,677.SO    PAC's brief in response to Plaintiffs' Final
                                                                 Motion for Summary Judgment; correspond with
                                                                 local counsel regarding edits and filing
                                                                 procedures for PAC's brief in response to
                                                                 Plaintiffs' Fin:Motion for Sum-udgment;
                                                                 revise brief;
                                                                 research on sanctions issue, revisions to
                                                                 brief, and filing same

                     BILLED TOTALS: WORK:   66.20   40,3S4.SO    22 records
                     BILLED TOTALS: BILL:   SS.SO   32,739.00

                     GRAND TOTALS: WORK:    66.20   40,3S4.50    22 records
                     GRAND TOTALS: BILL:    SS.SO   32, 739.00




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Invoice Time Detail

 Matter Number       418939                                                  Invoice                10746558
 Matter Description PAC v. ATOM/Olstowski - 2011


 Date        Initials Name / Invoice Number Hours         Amount     Description
 5/7/2015    NICHS    SHANE NICHOLS                        153.00
 6/23/2015            Invoice=10746558                     153.00




 5/11/2015   NICHS   SHANE NICHOLS                 1.50   1,147.50 Review 2012 settlement agreement, Olstowski
 6/23/2015           Invoice=10746558              1.50   1,147.50 pleadings, and Olstowski patent applications in
                                                                   connection with investigation of closed-loop UV
                                                                   control issue

 5/15/2015   NICHS   SHANE NICHOLS                 1.00    765.00                      1IHU~l~~~lll~l~ll~~111~11 •.
 6/23/2015           Invoice=10746558              0.70    535.50


 5/18/2015   NICHS   SHANE NICHOLS                 0.30    229.50    Prepare c                         egarding
 6/23/2015           Invoice=10746558              0.30    229.50    power supply board with closed-loop control for
                                                                     use in the MultiTek instrument

 5/27/2015   NICHS   SHANE NICHOLS                 0.30    229.50                         egarding new power
 6/23/2015           Invoice=10746558              0.30    229.50 supply board with closed-loop control for use
                                                                  in the MultiTek instrument

 5/28/2015   NICHS   SHANE NICHOLS                 0.90    688.50
 6/23/2015           Invoice=10746558              0.90    688.50              new power supply board with
                                                                     closed-loop control for use in the MultiTek
                                                                     instrument; review Olstowski patent in
                                                                     preparation for same

                     BILLED TOTALS: WORK:          4.20   3,213.00   6 records
                     BILLED TOTALS: BILL:          3.90   2,983.50

                     GRAND TOTALS: WORK:           4.20   3,213.00   6 records
                     GRAND TOTALS: BILL:           3.90   2,983.50




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Invoice Time Detail
 Matter Number       418939                                                Invoice                107S03S8
 Matter Description PAC v. ATOM/Olstowski - 2011


 Date        Initials Name / Invoice Number Hours         Amount    Description
 6/4/201S    NICHS    SHANE NICHOLS          a.so          382.SO                    nalysis of MultiTek Power
 7/14/201S            Invoice=107S03S8       a.so          382.SO                                 disclosure of
                                                                    Olstowski PCT patent application

 6/8/201S    NICHS   SHANE NICHOLS                 0.60    4S9.00                                          to
 7/14/201S           Invoice=107S03S8              0.60    4S9.00   discuss comparison of the technology 111111 !Ill
                                                                                                  hnology described
                                                                    in the Olstowski patent application
                                                                    W02006/017644

                                                   a.so    382.SO ~I                                      3
 6/9/201S
 7/14/201S
             NICHS   SHANE NICHOLS
                     Invoice=107S03S8              a.so                •          •
                                                           382.SO teleconference wi
                                                                  comparing the
                                                                                                                  g


                                                                  design to that described in the Olstowski
                                                                  patent application W02006/017644

                     BILLED TOTALS: WORK:          1.60   1,224.00 3 records
                     BILLED TOTALS: BILL:          1.60   1,224.00

                     GRAND TOTALS: WORK:           1.60   1,224.00 3 records
                     GRAND TOTALS: BILL:           1.60   1,224.00




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Invoice Time Detail

 Matter Number       418939                                                Invoice       10801749
 Matter Description PAC v. ATOM/Olstowski - 2011


 Date        Initials Name / Invoice Number Hours Amount Description
 2/29/2016   NICHS    SHANE NICHOLS          0.50  397.50 Review Request for Trial Setting filed by
 3/30/2016            Invoice=10801749       0.50  397.50 opposing counsel; forward same to client;
                                                          review docket

                     BILLED TOTALS: WORK:          0.50   397.50   1 records
                     BILLED TOTALS: BILL:          0.50   397.50

                     GRAND TOTALS: WORK:           0.50   397.50   1 records
                     GRAND TOTALS: BILL:           0.50   397.50




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   CaseTime
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Invoice Time Detail

 Matter Number       418939                                                  Invoice                  10803640
 Matter Description PAC v. ATOM/Olstowski - 2011


 Date      Initials Name / Invoice Number      Hours      Amount     Description
 3/11/2016 NICHS    SHANE NICHOLS               1.70      1,351.50   Prepare  resiii5e   to re.uest for trial setting;
 4/6/2016           Invoice=10803640            1.70      1,351.50   a
 3/12/2016   NICHS   SHANE NICHOLS                 1.00    795.00    £               t           egarding filing
 4/6/2016            Invoice=10803640              0.80    636.00    Response to Mo ion for Trial Setting

 3/13/2016   NICHS   SHANE NICHOLS                 0.50    397.50                                regarding edits to
 4/6/2016            Invoice=10803640              0.50    397.50    draft Response in Opposition to Olstowski's
                                                                     Motion for Trial Setting

 3/14/2016   NICHS   SHANE NICHOLS                 1.00    795.00    Prepare PAC's Response to Olstowski's Request
 4/6/2016            Invoice=10803640              0.90    715.50    for Trial Setting

 3/15/2016   NICHS   SHANE NICHOLS                 1.50   1,192.50   Finalize and file PAC's Response to Plaintiffs'
 4/6/2016            Invoice=10803640              1.50   1,192.50   Request for Trial Setting; forward same to
                                                                     client

                     BILLED TOTALS: WORK:          5.70   4,531.50   5 records
                     BILLED TOTALS: BILL:          5.40   4,293.00

                     GRAND TOTALS: WORK:           5.70   4,531.50   5 records
                     GRAND TOTALS: BILL:           5.40   4,293.00




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Invoice Time Detail                                                                                                  e'.§ [fl
 Matter Number        418939                                                 Invoice                10841442
 Matter Description PAC v. ATOM/Olstowski - 2011


 Date       Initials Name / Invoice Number Hours             Amount Description
 9/6/2016   NICHS    SHANE NICHOLS          0.50              397.50 Correspond with ATOM's counsel regarding
 10/10/2016          Invoice=10841442       0.50              397.50 pending action by Judge Hughes

 9/8/2016     NICHS    SHANE NICHOLS                3.40     2,703.00   Review correspondence, orders, and pleadings in
 10/10/2016            Invoice=10841442             2.40     1,908.00   preparation for responding to court's September
                                                                        6 Invitation to state PAC's position on case
                                                                        status and merits

 9/12/2016    NICHS    SHANE NICHOLS                1.80     1,431.00 Correspond with ATOM's counsel regarding
 10/10/2016            Invoice=10841442             1.80     1,431.00 Invitation from Judge Hughes; correspond with
                                                                                              e; review case record in
                                                                      preparation for responding to court's
                                                                      invitation

 9/13/2016    NICHS    SHANE NICHOLS                1.30     1,033.50   Prepare response to court's Invitation
 10/10/2016            Invoice=l0841442             1.30     1,033.50   regarding differences between the parties'
                                                                        positions on whether PAC is using ATOM's
                                                                        technology

 9/14/2016    NICHS    SHANE NICHOLS                2.10     1,669.50 Review orders and pleadings in preparation for
 10/10/2016            Invoice=10841442             2.10     1,669.50 responding to court's Invitation

 9/15/2016    NICHS    SHANE NICHOLS                5.10     4,054.50   Prepare response to court's Invitation
 10/10/2016            Invoice=10841442             5.10     4,054.50   regarding differences between the parties'
                                                                        positions on whether PAC is using ATOM's
                                                                        technology; correspond wit


 9/16/2016    NICHS    SHANE NICHOLS                2.50     1,987.50
 10/10/2016            Invoice=10841442             1.50     1,192.50




                       BILLED TOTALS: WORK:        16.70    13,276.50   7 records
                       BILLED TOTALS: BILL:        14. 70   11,686.50

                       GRAND TOTALS: WORK:         16.70    13,276.50   7 records
                       GRAND TOTALS: BILL:         14. 70   11,686.50




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Invoice Time Detail                                                                                                   (§ ~]
 Matter Number       418939                                                  Invoice                 10878550
 Matter Description PAC v. ATOM/Olstowski - 2011


 Date        Initials Name / Invoice Number Hours         Amount Description
 3/13/2017   NICHS    SHANE NICHOLS          0.50          415.00 Review Order setting Pretrial Conference;
 4/7/2017             Invoice=10878550       0.50          415.00 forward same to client

 3/15/2017   NICHS   SHANE NICHOLS                 0.80    664.00    Correspond with opposing counsel and local
 4/7/2017            Invoice=10878550              0.50    415.00    counsel regarding available dates for reset of
                                                                     Pretrial Conference

 3/16/2017   NICHS   SHANE NICHOLS                 0.50    415.00                                 regarding
 4/7/2017            Invoice=10878550              0.50    415.00    scheduling of teleconference to discuss
                                                                     Pretrial Conference

 3/22/2017   NICHS   SHANE NICHOLS                 1.70   1,411.00   Prepare for and c
 4/7/2017            Invoice=10878550              1.50   1,245.00              garding upcoming hearing

 3/28/2017   NICHS   SHANE NICHOLS                 2.00   1,660.00   Review transcripts of prior pretrial
 4/7/2017            Invoice=10878550              1.50   1,245.00   conferences with Judge Hughes

 3/29/2017   NICHS   SHANE NICHOLS                 1.00    830.00                               regarding Pretrial
 4/7/2017            Invoice=10878550              0.50    415.00    Conference; prepare for same

                     BILLED TOTALS: WORK:          6.50   5,395.00   6 records
                     BILLED TOTALS: BILL:          5.00   4,150.00

                     GRAND TOTALS: WORK:           6.50   5,395.00   6 records
                     GRAND TOTALS: BILL:           5.00   4,150.00




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              GRAND TOTALS: BILL:   24.50   20,335.00




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Invoice Time Detail                                                                                                e! [I
 Matter Number       418939                                                 Invoice                10891167
 Matter Description PAC v. ATOM/Olstowski - 2011


 Date        Initials Name / Invoice Number    Hours       Amount Description




                                                                      -
 5/5/2017    NICHS    SHANE NICHOLS             0.50        415.00 Review ATOM's response to Judge Hughes's Order
 6/2/2017             Invoice=10891167          0.50        415.00 to state what PAC is doing to misuse ATOM's
                                                                   intellectual property


 5/8/2017    NICHS   SHANE NICHOLS                 1.00     830.00    Correspond with client and local counsel
 6/2/2017            Invoice=10891167              1.00     830.00    regarding Plaintiffs' response to Judge's
                                                                      Order; prepare outline of PAC's response

 5/15/2017   NICHS   SHANE NICHOLS                 3.50    2,905.00   Prepare Response to ATOM's May 5, 2017
 6/2/2017            Invoice=10891167              3.50    2,905.00   Statement

 5/16/2017   NICHS   SHANE NICHOLS                 2.00    1,660.00   Review prior pleadings and orders; prepare
 6/2/2017            Invoice=10891167              2.00    1,660.00   response to ATOM's statement of what PAC is
                                                                      actually doing to "infringe"

 5/17/2017   NICHS   SHANE NICHOLS                 1.50    1,245.00
 6/2/2017            Invoice=10891167              1.50    1,245.00 response to ATOM's statement; revise statement

 5/18/2017   NICHS   SHANE NICHOLS                 4.80    3,984.00 Revise PAC's Response to Plaintiffs' Response
 6/2/2017            Invoice=10891167              4.80    3,984.00 to May 5, 2017 Order; co


 5/19/2017   NICHS   SHANE NICHOLS                 3.70    3,071.00   Review, revise, finalize, and file PAC's
 6/2/2017            Invoice=10891167              3.70    3,071.00   Response to Plaintiffs' Response to May 5, 2017
                                                                      Order; co


 5/30/2017   NICHS   SHANE NICHOLS                 2.30    1,909.00   Prepare c - r e g a r d i n g
 6/2/2017            Invoice=10891167              2.30    1,909.00   recent orders from Judge Hughes requiring
                                                                      mediation;
                                                                                      ; negotiate with opposing counsel
                                                                      regarding dates for mediation

 5/31/2017   NICHS   SHANE NICHOLS                 1.90    1,577.00 Review Judge Hughes's recent orders, and
 6/2/2017            Invoice=10891167              1.90    1,577.00 prepare for mediation; c
                                                                                           or available dates to
                                                                    schedule mediation

                     BILLED TOTALS: WORK:      21.20      17,596.00 9 records
                     BILLED TOTALS: BILL:      21.20      17,596.00

                     GRAND TOTALS: WORK:       21.20      17,596.00 9 records
                     GRAND TOTALS: BILL:       21.20      17,596.00




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Invoice Time Detail

 Matter Number        418939                                                Invoice                 10902005
 Matter Description PAC v. ATOM/Olstowski - 2011


 Date        Initials Name / Invoice Number Hours          Amount     Description
 6/1/2017    NICHS    SHANE NICHOLS                3.50    2,905.00                                regarding dates of
 7/26/2017            Invoice=10902005             3.50    2,905.00   availability for mediation and proposing
                                                                      meeting with PAC personnel prior to mediation;
                                                                      prepare outline of mediation strategy for
                                                                      mediation statement

 6/2/2017    NICHS    SHANE NICHOLS                2.30    1,909.00                             regarding upcoming
 7/26/2017            Invoice=10902005             2.30    1,909.00   mediation and deadlines pertaining to same;
                                                                                                                     0
                                                                                  ---
                                                                                            ; confer with opposing
                                                                      counsel regarding dates of mediator's
                                                                      availability; review Olstowski patent
                                                                      applications identified in recent order

 6/5/2017
 7/26/2017
             NICHS    SHANE NICHOLS
                      Invoice=10902005
                                                   2.20
                                                   2.20
                                                           1,826.00 Correspond with
                                                                                        •        regarding mediation;
                                                           1,826.00 review transcripts of 2007 hearings before
                                                                    Judge Wooldridge in preparation for mediation;
                                                                    review Olstowski patent applications identified
                                                                    in recent order; review 2010 appellate opinion
                                                                    affirming trial court's judgment

 6/9/2017    NICHS    SHANE NICHOLS                2.20    1,826.00   Prepare for upcoming mediation; research
 7/26/2017            Invoice=l0902005             1.90    1,577.00   mediator

 6/13/2017   NI CHS   SHANE NICHOLS                0.20     166.00
 7/26/2017            Invoice=10902005             0.20     166.00

 6/17/2017   NICHS    SHANE NICHOLS                2.80    2,324.00 Prepare for upcoming mediation; review trial
 7/26/2017            Invoice=10902005             2.20    1,826.00 court proceedings

 6/23/2017   NICHS    SHANE NICHOLS                3.00    2,490.00   Prepare for upcoming mediation; review patents
 7/26/2017            Invoice=10902005             2.10    1,743.00   identified in recent Order; review arbitration
                                                                      award

 6/30/2017   NI CHS   SHANE NICHOLS                2.00    1,660.00   Prepare for upcoming mediation
 7/26/2017            Invoice=10902005             1.80    1,494.00

                      BILLED TOTALS: WORK:     18.20      15,106.00   8 records
                      BILLED TOTALS: BILL:     16.20      13,446.00

                      GRAND TOTALS: WORK:      18.20      15,106.00   8 records
                      GRAND TOTALS: BILL:      16.20      13,446.00




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 Matter Number         418939                                              Invoice                10905408
 Matter Description PAC v. ATOM/Olstowski - 2011



 Date         Initials Name I Invoice Number Hours        Amount Description
 7/5/2017     NICHS     SHANE NICHOLS              1.50   1,245.00 Prepare for July 18 mediation with ATOM
 8/10/2017              Invoice=10905408           1.50   1,245.00 Instruments

 7/10/2017    NICHS     SHANE NICHOLS              3.30   2,739.00   Prepare mediation strategy outline; review
 8/10/2017              Invoice=10905408           3.30   2,739.00   documents and pleadings in preparation for
                                                                     mediation

 7/11/2017    NICHS     SHANE NICHOLS              3.00   2,490.00                               regarding mediation
 8/10/2017              Invoice=10905408           2.80   2,324.00   logistics; prepare mediation statement; prepare
                                                                     mediation outline; review documents and
                                                                     pleadings in preparation for mediation

 7/12/2017    NICHS     SHANE NICHOLS              5.00   4,150.00   Prepare mediation statement and forward same to
 8/10/2017              Invoice=10905408           3.50   2,905.00         J•   prepare mediation strategy outline;
                                                                     prepare case timellnes; review documents and
                                                                     pleadings in preparation for mediation

 7/13/2017    NICHS     SHANE NICHOLS              4.20   3,486.00                                  to discuss
 8/10/2017              Invoice=10905408           3.90   3,237.00   strategy for mediation; revise Mediation
                                                                     Information Sheet; prepare for meeting wi~


 7/14/2017    NICHS     SHANE NICHOLS              4.30   3,569.00   Prepare mediation strategy outline; revise case
 8/10/2017              Invoice=10905408           4.30   3,569.00   timeline to incorporate comments

                                                                            2007 injunction against PAC's use of
                                                                     Olstowski's technology; revise Mediation
                                                                     Information Sheet; prepare for meeting ~
                                                                                                  r; review state
                                                                     court records on contempt proceedings before
                                                                     Judge Wooldridge

 7/17/2017    NICHS     SHANE NICHOLS              4.30   3,569.00   Prepare for mediation in Houston, TX; finalize
 8/10/2017              Invoice=10905408           3.50   2,905.00   mediation statement and transmit to Judge
                                                                     Wooldridge;
                                                                                    egarding same;


 7/18/2017    NICHS     SHANE NICHOLS              7.00   5,810.00   Prepare for and conduct mediation in Houston,
 8/10/20,17             Invoice=10905408           7.00   5,810.00   TX; meetings w - - -
                                                                       . II is       ;
 7/19/2017    NICHS    , SHANE NICHOLS             1.90   1,577.00   Prepare correspondence to mediator declining to
 8/10/2017               Invoice=10905408          1.90   1,577.00   participate in mediator's proposal;
                                                                                                    regarding same;
                                                                     perform preliminary legal research regarding
                                                                     possible motion to dismiss on grounds of
                                                                     collateral estoppel and appealability of same

 7/20/2017    HEATC    CAITLIN SMITH               4.60   2,162.00   Research Texas law on proving collateral
 8/10/2017             Invoice=10905408            4.60   2,162.00   estoppel; prepare research memorandum regarding
                                                                     same

 7/20/2017    NI CHS   SHANE NICHOLS               2.80   2,324.00                         regarding legal research
 8/10/2017             Invoice=10905408            2.80   2,324.00   needed regarding possible motion to dismiss on
                                                                     grounds of collateral estoppel and
                                                                     appealability of same; prepare outline of
                                                                     general arguments for motion and related issues
                                                                     raised

 7/21/2017    HEATC    CAITLIN SMITH               4.50   2,115.00   Research bankruptcy jurisdiction and standard




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 8/10/2017            Invoice=10905408        4.50    2,115.00   required in pleading collateral estoppel as an
                                                                 affirmative defense

 7/21/2017   NICHS    SHANE NICHOLS           1.80    1,494.00                         regarding research on
 8/10/2017            Invoice=10905408        1.80    1,494.00   collateral estoppel and appealability of same;
                                                                 prepare outline of possible arguments for
                                                                 motion

 7/24/2017   CLINT    TOM CLINKSCALES         0.50      222.50                          concerning bankruptcy
 8/10/2017            Invoice=10905408        0.50      222.50   court jurisdiction over state law claims after
                                                                 bankruptcy is discharged

 7/24/2017   HEATC    CAITLIN SMITH           0.50      235.00                             questions regarding
 8/10/2017            Invoice=10905408        0.50      235.00 jurisdiction of bankruptcy court

 7/25/2017   NICHS    SHANE NICHOLS           1.80    1,494.00   Review case law research and memorandum
 8/10/2017            Invoice=10905408        1.80    1,494.00   regarding collateral estoppel issues; prepare
                                                                 correspondence t

                                                                 u                          Is;
                                                                       regarding research on related issues
                                                                                                                  gs




 7/26/2017   HEATC    CAITLIN SMITH           1.90      893.00 Conduct legal research regarding bankruptcy
 8/10/2017            Invoice=10905408        1.90      893.00 jurisdiction for post-confirmation claims in
                                                               the Fifth Circuit

 7/26/2017   NICHS    SHANE NICHOLS           2.80    2,324.00   Review mediator's proposal;
 8/10/2017            Invoice=10905408        2.80    2,324.00   --egarding mediator's proposal;-
                                                                               h regarding whether the bankruptcy
                                                                 court's jurisdiction over the original
                                                                 adversary proceeding affects analysis of
                                                                 whether federal court has the jurisdiction to
                                                                 enforce state court injunction; prepare outline
                                                                 objectives and primary arguments for collateral
                                                                 estoppel motion

 7/27/2017   NICHS    SHANE NICHOLS           1.50    1,245.00   Review transcripts of hearings and conferences
 8/10/2017            Invoice=10905408        1.50    1,245.00   before Judge Hughes; prepare motion to dismiss

 7/28/2017   NI CHS   SHANE NICHOLS           1.40    1,162.00                               regarding
 8/10/2017            Invoice=10905408        1.40    1,162.00   mediator's proposal deadline; prepare motion to
                                                                 dismiss

 7/30/2017   NICHS    SHANE NICHOLS           2.00    1,660.00   Prepare motion to dismiss
 8/10/2017            Invoice=10905408        1.80    1,494.00

 7/31/2017   NI CHS   SHANE NICHOLS           2.90    2,407.00   Prepare motion to dismiss
 8/10/2017            Invoice=10905408        2.90    2,407.00

                      BILLED TOTALS: WORK:   63.50   48,372.50   22 records
                      BILLED TOTALS: BILL:   60.50   45,882.50

                      GRAND TOTALS: WORK:    63.50   48,372.50   22 records
                      GRAND TOTALS: BILL:    60.50   45,882.50




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Invoice Time Detail                                                                                                ~[)
 Matter Number       418939                                                 Invoice                10910667
 Matter Description PAC v. ATOM/Olstowski - 2011


 Date        Initials Name / Invoice Number    Hours       Amount     Description
 8/2/2017    NICHS    SHANE NICHOLS             2.50       2,075.00                                 r regarding
 9/7/2017             Invoice=10910667          1.50       1,245.00   mediation process and results; prepare
                                                                      statement to Judge Wooldridge declining
                                                                      mediator's proposal

 8/4/2017    NICHS   SHANE NICHOLS                 1.00     830.00    Prepare and                      a proposed
 9/7/2017            Invoice= 10910667             1.00     830.00    mediation response to Judge Wooldridge;
                                                                      finalize and forward mediation memorandum to
                                                                      Judge Wooldridge; review response from Judge
                                                                      Wooldridge

 8/21/2017   NICHS   SHANE NICHOLS                 1.10     913.00    Review court order requiring joint filing;
 9/7/2017            Invoice=10910667              1.10     913.00                               regarding same;
                                                                      correspond with opposing counsel regarding same

 8/23/2017   NICHS   SHANE NICHOLS                 0.50     415.00    Correspond with opposing counsel regarding
 9/7/2017            Invoice=10910667              0.50     415.00    joint status report for Judge Hughes

 8/30/2017   NICHS   SHANE NICHOLS                 4.80    3,984.00   Prepare motion for judgment on the pleadings;
 9/7/2017            Invoice=10910667              3.80    3,154.00   review hearing transcripts in connection with
                                                                      same

 8/31/2017   NICHS   SHANE NICHOLS                 4.50    3,735.00   Prepare motion for judgment on the pleadings;
 9/7/2017            Invoice=10910667              3.50    2,905.00   review arbitration award and state court orders

                     BILLED TOTALS: WORK:      14.40      11,952.00   6 records
                     BILLED TOTALS: BILL:      11.40       9,462.00

                     GRAND TOTALS: WORK:       14.40      11,952.00   6 records
                     GRAND TOTALS: BILL:       11.40       9,462.00




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Invoice Time Detail                                                                                             «i ml
 Matter Number           418939                                           Invoice                10955164
 Matter Description PAC v. ATOM/Olstowski - 2011



 Date         Initials    Name I Invoice Number    Hours   Amount Description
 9/5/2017     NICHS       SHANE NICHOLS             0.90    747.00 Correspond with opposing counsel about timing
 3/30/2018                Invoice=10955164          0.00      0.00 and content of joint filing due September 14;
                                                                   review Judge Hughes' standing orders in
                                                                   connection with same

 9/7/2017     NICHS       SHANE NICHOLS             2.50   2,075.00   Prepare collateral estoppel motion; review
 3/30/2018                Invoice=10955164          0.00       0.00   ATOM's motion for summary judgment      oJq
                                                                      connection with same; 'II'
                                                                      regarding research on availability of
                                                                      interlocutory appeal of denial of motion

 9/12/2017    NICHS       SHANE NICHOLS             1.00    830.00    Correspond with opposing counsel regarding
 3/30/2018                Invoice=10955164          0.00      0.00    review of ATOM's draft joint status report;
                                                                      prepare PAC's portion of joint status report
                                                                      for Thursday deadline

 9/13/2017    NICHS       SHANE NICHOLS             2.20   1,826.00   Review ATOM's draft joint status report; confer
 3/30/2018                Invoice=10955164          0.00       0.00   with opposing counsel regarding same; prepare
                                                                      PAC's portion of joint status report for
                                                                      Thursday deadline

 9/14/2017    NI CHS      SHANE NICHOLS             3.50   2,905.00 Confer with opposing counsel regarding ATOM's
 3/30/2018                Invoice=10955164          0.00       0.00 draft joint status report; prepare PAC's
                                                                    portion of joint status report for Thursday
                                                                    deadline;                       r regarding same;
                                                                    confer with local counsel regarding same

 9/18/2017    NICHS       SHANE NICHOLS             2.10   1,743.00   Prepare collateral estoppel motion
 3/30/2018                Invoice=10955164          0.00       0.00

 9/20/2017    NICHS       SHANE NICHOLS             2.50   2,075.00   Prepare collateral estoppel motion
 3/30/2018                Invoice=10955164          0.00       0.00

 9/29/2017    NI CHS      SHANE NICHOLS             3.50   2,905.00   Prepare motion for judgment on the pleadings on
 3/30/2018                Invoice=10955164          0.00       0.00   the basis of claim and issue preclusion

 10/2/2017    NICHS       SHANE NICHOLS             1.00    830.00    Correspond with opposing counsel regarding
 3/30/2018                Invoice=10955164          1.00    830.00    status report and possible schedule going
                                                                      forward

 10/6/2017    NICHS       SHANE NICHOLS             2.50   2,075.00   Revise draft preclusion motion; review Texas
 3/30/2018                Invoice=10955164          2.50   2,075.00   case law regarding application of res judicata
                                                                      versus collateral estoppel

 10/9/2017    NICHS       SHANE NICHOLS             5.00   4,150.00   Revise draft preclusion motion; review Texas
 3/30/2018                Invoice=10955164          5.00   4,150.00   case law regarding application of res judicata
                                                                      versus collateral estoppel

 10/12/2017   NICHS       SHANE NICHOLS             5.50   4,565.00   Revise draft preclusion motion; review Texas
 3/30/2018                Invoice=10955164          5.50   4,565.00   case law regarding application of res judicata
                                                                      versus collateral estoppel

 10/13/2017   NI CHS      SHANE NICHOLS             1.50   1,245.00   Confer with opposing counsel regarding recently
 3/30/2018                Invoice=10955164          1.50   1,245.00   filed status report and potential impact of
                                                                      prolonged absence for trip outside of country;
                                                                      review docket and recent orders in preparation
                                                                      for same

 11/6/2017    HEATC       CAITLIN SMITH             1.00    470.00    Plan for and attend strategic planning
 3/30/2018                Invoice=10955164          1.00    470.00    c                           regarding claim
                                                                      preclusion and res judicata motion




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 11/6/2017    NI CHS   SHANE NICHOLS      1.00    830.00    Correspond with counsel for ATOM regarding
 3/30/2018             Invoice=10955164   1.00    830.00    obtaining state trial court record

 11/7/2017    HEATC    CAITLIN SMITH      0.90    423.00    Conduct legal research regarding res judicata
 3/30/2018             Invoice=10955164   0.90    423.00    in preparation of drafting motion

 11/7/2017    NICHS    SHANE NICHOLS      3.20   2,656.00 Review order setting trial date; 11;;£      I.
 3/30/2018             Invoice=10955164   3.20   2,656.00 -regarding trial date and logistics or
                                                          preparing for trial; correspond with ATOM's
                                                          counsel regarding order setting trial date and
                                                          regarding December 19, 2011 hearing transcript;
                                                          prepare joint motion to obtain hearing
                                                          transcript;                            regarding
                                                          scheduling of bench trial

 11/8/2017    HEATC    CAITLIN SMITH      0.40     188.00   Prepare PAC's motion for judgment on the
 3/30/2018             Invoice=10955164   0.40     188.00   pleadings that ATOM's Complaint are barred by
                                                            res judicata and collateral estoppel

 11/8/2017    NICHS    SHANE NICHOLS      2.20   1,826.00   File Order in State Court to obtain access to
 3/30/2018             Invoice=10955164   2.20   1,826.00   trial court record; co
                                                            regarding same; co                        er
                                                            regarding upcoming trial

 11/9/2017    HEATC    CAITLIN SMITH      5.90   2,773.00   Prepare PAC's motion for judgment on the
 3/30/2018             Invoice=10955164   0.00       0.00   pleadings that ATOM's Complaint is barred by
                                                            res judicata and collateral estoppel

 11/9/2017    HEATC    CAITLIN SMITH      2.40   1,128.00   Conduct legal research regarding Texas law on
 3/30/2018             Invoice=10955164   0.00       0.00   res judicata and collateral estoppel to support
                                                            PAC's motion for judgment on the pleadings

 11/9/2017    HEATC    CAITLIN SMITH      0.00       0.00   Prepare PAC's motion for judgment on the
 3/30/2018             Invoice=10955164   8.30   3,901.00   pleadings that ATOM's Complaint is barred by
                                                            res judicata and collateral estoppel; conduct
                                                            legal research regarding Texas law on res
                                                            judicata and collateral estoppel to support
                                                            PAC's motion for judgment on the pleadings

 11/10/2017   HEATC    CAITLIN SMITH      0.30    141.00    Prepare PAC's motion for judgment on the
 3/30/2018             Invoice=10955164   0.30    141.00    pleadings that ATOM's Complaint is barred by
                                                            res judicata and collateral estoppel

 11/10/2017   NI CHS   SHANE NICHOLS      1.30   1,079.00
 3/30/2018             Invoice=10955164   1.30   1,079.00   preparation of trial·
                                                            regarding same; c                               r
                                                            regarding conflict with trial date

 11/12/2017   HEATC    CAITLIN SMITH      3.50   1,645.00   Prepare PAC's motion for judgment on the
 3/30/2018             Invoice=10955164   3.50   1,645.00   pleadings on the issues of res judicata and
                                                            collateral estoppel

 11/13/2017   HEATC    CAITLIN SMITH      3.10   1,457.00   Review and revise motion for judgment on the
 3/30/2018             Invoice=10955164   0.00       0.00   pleadings on the issues of res judicata and
                                                            collateral estoppel for S. Nichols' review

 11/13/2017   HEATC    CAITLIN SMITH      2.30   1,081.00   Conduct legal research regarding collateral




                                                            -;
 3/30/2018             Invoice=10955164   0.00       0.00   estoppel and res judicata under Texas law

 11/13/2017   NICHS    SHANE NICHOLS      3.20   2,656.00   Coordinate the identification of alternate
 3/30/2018             Invoice=10955164   3.20   2,656.00   t                                        g
                                                                                                   ner
                                                            regarding trial scheduling and respective roles
                                                            at trial;                            and
                                                            opposing counsel of record regarding scheduling
                                                            teleconference to discuss trial dates and other
                                                            logistics; review ATOM's motion for summary




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                                                           judgment; confer with            egarding
                                                           response to same

 11/13/2017   HEATC   CAITLIN SMITH      0.00       0.00   Review and revise motion for judgment on the
 3/30/2018            Invoice=10955164   5.40   2,538.00   pleadings on the issues of res judicata and
                                                           collateral estoppel for                  ,
                                                           conduct legal research regarding collateral
                                                           estoppel and res judicata under Texas law

 11/14/2017   NICHS   SHANE NICHOLS      1.40   1,162.00 Coordinate the scheduling of alternate trial
 3/30/2018            Invoice=10955164   1.40   1,162.00 dates with opposing counsel; correspond w -
                                                           B     egarding his availability for trial;
                                                         review ATOM's motion for summary judgment;
                                                         confer w·              garding response to same

 11/15/2017   HEATC   CAITLIN SMITH      0.80    376.00    Telephone conference With opposing counsel
 3/30/2018            Invoice=10955164   0.00      0.00    regarding trial rescheduling

 11/15/2017   HEATC   CAITLIN SMITH      0.60    282.00    Review ATOM's summary judgment motion in
 3/30/2018            Invoice=10955164   0.00      0.00    preparation of creating a game plan

 11/15/2017   NICHS   SHANE NICHOLS      2.00   1,660.00 Teleconference with Plaintiffs regarding
 3/30/2018            Invoice=10955164   2.00   1,660.00 postponing the wal to anoth_er date suitable
                                                         to the parties; c                        r
                                                         regarding proposed new trial dates; prepare
                                                         correspondence to Judge Hughes' clerk regarding
                                                         proposed new trial dates; correspond with all
                                                         counsel of record regarding same

 11/15/2017   HEATC   CAITLIN SMITH      0.00      0.00    Telephone conference with opposing counsel
 3/30/2018            Invoice=10955164   1.40    658.00    regarding trial rescheduling; review ATOM's
                                                           summary judgment motion in preparation of
                                                           creating a game plan

 11/16/2017   NICHS   SHANE NICHOLS      2.70   2,241.00   Correspond with opposing counsel regarding
 3/30/2018            Invoice=10955164   2.70   2,241.00   trial dates and logistics; prepare outline of
                                                           responsive points to ATOM's motion for summary
                                                           judgment; c                       regarding same

 11/17/2017   NICHS   SHANE NICHOLS      2.10   1,743.00 Correspond w                F garding alternate
 3/30/2018            Invoice=10955164   2.10   1,743.00 trial dates and               eclaration;
                                                         correspond with opposing counsel regarding
                                                         proposed trial dates; correspond with opposing
                                                         counsel a                  egarding notifying the
                                                         court of the parties joint proposal regarding
                                                         postponing trial; correspond with opposing
                                                         counsel regarding service of sealed exhibit to
                                                         motion for summary judgment

 11/20/2017   NICHS   SHANE NICHOLS      3.20   2,656.00                                          I.
 3/30/2018            Invoice=10955164   3.20   2,656.00




 11/21/2017   HEATC   CAITLIN SMITH      0.20      94.00   Review and analyze Plaintiffs' recent motion
 3/30/2018            Invoice=10955164   0.20      94.00   for summary judgment for strategy purposes

 11/21/2017   NICHS   SHANE NICHOLS      5.10   4,233.00   Prepare trial strategy; prepare for upcoming
 3/30/2018            Invoice=10955164   5.10   4,233.00   trial strategy meeting with client

 11/22/2017   HEATC   CAITLIN SMITH      0.50    235.00    Review Local Rules of Southern District of
 3/30/2018            Invoice=10955164   0.00      0.00    Texas for deadlines related to responses to
                                                           motions

 11/22/2017   HEATC   CAITLIN SMITH      1.60    752.00    Prepare outline of PAC's response to
 3/30/2018            Invoice=10955164   0.00      0.00    plaintiffs' motion for summary judgment

 11/22/2017   NICHS   SHANE NICHOLS      4.00   3,320.00   Review ATOM's motion for summary judgment and




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 3/30/2018             Invoice=10955164   4.00   3,320.00   prepare outline of responses; prepare for
                                                            upcoming trial strategy meeting with client;
                                                            review hearing transcripts in connection with
                                                            same; prepare binders for client meeting

 11/22/2017 HEATC      CAITLIN SMITH      0.00      0.00    Review Local Rules of Southern District of
 3/30/2018             Invoice=10955164   2.10    987.00    Texas for deadlines related to responses to
                                                            motions; prepare outline of PAC's response to
                                                            plaintiffs' motion for summary judgment

 11/27/2017 NICHS      SHANE NICHOLS      3.50   2,905.00                       ---
 3/30/2018             Invoice=10955164   3.50   2,905.00   regarding logistics for trial strategy meeting;
                                                            review transcripts and pleadings in preparation
                                                            for meeting; identify documents for meeting
                                                            binders

 11/28/2017 GRANJ      JAMES GRANT        0.60    588.00 • • • • • • I s regarding background
 3/30/2018             Invoice=10955164   0.60    588.00

 11/28/2017 NICHS      SHANE NICHOLS      3.60   2,988.00   Meet with              egarding upcoming client
 3/30/2018             Invoice=10955164   3.60   2,988.00   meeting; co                              regarding
                                                            trial preparation and motion to extend trial
                                                            date; prepare for trial strategy meeting with
                                                            client; correspond with client regarding
                                                            logistics for trial strategy meeting; review
                                                            transcripts and pleadings in preparation for
                                                            meeting; identify documents for meeting binders

 11/29/2017 GRANJ      JAMES GRANT        5.20   5,096.00   Review background materials and strategy
 3/30/2018             Invoice=10955164   5.20   5,096.00   session with client

 11/29/2017   NICHS    SHANE NICHOLS      4.00   3,320.00   Hold trial strategy meeting wit•111••••
 3/30/2018             Invoice=10955164   4.00   3,320.00                             prepare for same;
                                                            finalize meeting binders

 11/30/2017   HEATC    CAITLIN SMITH      0.40    188.00    Strategic planning conference regarding updates
 3/30/2018             Invoice=10955164   0.40    188.00    on trial and next steps for preparing PAC's
                                                            response to plaintiffs' summary judgment motion

 11/30/2017   NICHS    SHANE NICHOLS      2.70   2,241.00   i:--------------
                                                                                    regarding trial
 3/30/2018             Invoice=10955164   2.70   2,241.00   preparation schedule and damages research
                                                            needed regarding gross versus net profits;
                                                            review Judge Hughes' pretrial conference
                                                            transcripts to determine his likely position on
                                                            to Plaintiffs' motion for summary judgment;
                                                            prepare outline of responsive points;
                                                            correspond with counsel for ATOM regarding
                                                            extension of time for responding; prepare
                                                            motion for extension

 12/1/2017    KELCR    CRYSTAL BATSON     0.50    155.00 Review, finalize, and file Motion for an
 3/30/2018             Invoice=10955164   0.50    155.00 Extension of Time; correspond w
                                                         regarding same

 12/1/2017    NI CHS   SHANE NICHOLS      1.90   1,577.00 Follow-up on action items from trial strategy
 3/30/2018             Invoice=10955164   1.90   1,577.00 meeting with client; review preliminary
                                                          research on trade secrets and unfair
                                                          competition remedies in Texas; correspond with
                                                                         garding trial preparation and
                                                          pretrial conference requirements; review Judge
                                                          Hughes recent bench trial record

 12/1/2017    HEATC    CAITLIN SMITH      2.00    940.00    Prepare defendant's extension of time to
 3/30/2018             Invoice=10955164   2.00    940.00    respond to plaintiffs' motion for summary
                                                            judgment in preparation of filing with court

 12/7/2017    HEATC    CAITLIN SMITH      0.30    141.00 Strategic planning conferenc
 3/30/2018             Invoice=10955164   0.00      0.00 to discuss upcoming tasks




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 12/7/2017    HEATC   CAITLIN SMITH       1.10    517.00    Conduct legal research regarding the disclosure
 3/30/2018            Invoice=10955164    0.00      0.00    of a trade secret in a patent application in
                                                            preparation of drafting PAC's responsive brief

 12/7/2017    HEATC   CAITLIN SMITH       0.00      0.00    Strategic planning confer
 3/30/2018            Invoice=10955164    1.40    658.00    to discuss upcoming tasks; conduct legal
                                                            research regarding the disclosure of a trade
                                                            secret in a patent application in preparation
                                                            of drafting PAC's responsive brief

 12/8/2017    HEATC   CAITLIN SMITH       3.40   1,598.00   Research trade secrets damages in Texas for
 3/30/2018            Invoice=10955164    3.40   1,598.00   trial memorandum; review disgorgement cases in
                                                            regards to recovery of gross profits

 12/8/2017    KIMAN   ANA KIM             1.00    480.00    Begin case law research regarding motion for
 3/30/2018            Invoice=10955164    1.00    480.00    claim preclusion and res judicata when not
                                                            pleaded in answer

 12/9/2017    HEATC   CAITLIN SMITH       4.70   2,209.00   Prepare PAC's response to Plaintiffs' motion
 3/30/2018            Invoice=10955164    4.70   2,209.00   for summary judgment

 12/10/2017   HEATC   CAITLIN SMITH       8.10   3,807.00   Prepare PAC's response to Plaintiffs' motion
 3/30/2018            Invoice=10955164    0.00       0.00   for summary judgment

 12/10/2017   HEATC   CAITLIN SMITH       2.00    940.00    Conduct legal research regarding trade secret
 3/30/2018            Invoice=10955164    0.00      0.00    misappropriation in support of PAC's response
                                                            to Plaintiffs' motion

 12/10/2017   HEATC   CAITLIN SMITH       5.10   2,397.00   Prepare PAC's response to Plaintiffs' motion
 3/30/2018            Invoice=10955164    5.10   2,397.00   for summary judgment; conduct legal research
                                                            regarding trade secret misappropriation in
                                                            support of PAC's response to Plaintiffs' motion

 12/11/2017   KIMAN   ANA KIM             5.20   2,496.00   Continue case law research regarding motion for
 3/30/2018            Invoice=10955164    0.20      96.00   claim preclusion and res judicata when not
                                                            pleaded in answer

 12/11/2017   HEATC   CAITLIN SMITH       2.10    987.00    Review and revise PAC's response to Plaintiffs'
 3/30/2018            Invoice=10955164    0.00      0.00    motion for summary judgment

 12/11/2017   HEATC   CAITLIN SMITH       2.00    940.00    Review and analyze earlier filings for
 3/30/2018            Invoice= 10955164   0.00      0.00    supporting evidence in support of PAC's
                                                            responsive motion in opposition to Plaintiffs'
                                                            motion

 12/11/2017   HEATC   CAITLIN SMITH       0.00       0.00 Review and revise PAC's response to Plaintiffs'
 3/30/2018            Invoice=10955164    4.10   1,927.00 motion for summary judgment; review and analyze
                                                          earlier filings for supporting evidence in
                                                          support of PAC's responsive motion in
                                                          opposition to Plaintiffs' motion

 12/12/2017   KIMAN   ANA KIM             5.40   2,592.00   Finish case law research regarding motion for
 3/30/2018            Invoice=10955164    3.00   1,440.00   claim preclusion and res judicata when not
                                                            pleaded in answer

 12/12/2017   HEATC   CAITLIN SMITH       4.80   2,256.00   Revise argument section of PAC's response in
 3/30/2018            Invoice=10955164    0.00       0.00   opposition to Plaintiffs' motion in response to
                                                            research

 12/12/2017   HEATC   CAITLIN SMITH       3.10   1,457.00   Conduct legal research regarding trade secrets
 3/30/2018            Invoice=10955164    0.00       0.00   misappropriation claims in Texas to support
                                                            PAC's response in opposition to Plaintiffs'
                                                            motion for summary judgment

 12/12/2017   NICHS   SHANE NICHOLS       2.50   2,075.00                                 egarding final draft
 3/30/2018            Invoice=10955164    2.50   2,075.00   response to the motion for summary judgment and
                                                            final draft of the motion for judgment on the




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                                                            pleadings; revise response to motion for
                                                            summary judgment

 12/12/2017   HEATC    CAITLIN SMITH      4.90   2,303.00 Revise argument section of PAC's response in
 3/30/2018             Invoice=10955164   4.90   2,303.00 opposition to Plaintiffs' motion in response to
                                                          research; conduct legal research regarding
                                                          trade secrets misappropriation claims in Texas
                                                          to support PAC's response in opposition to
                                                          Plaintiffs' motion for summary judgment

 12/13/2017   HEATC    CAITLIN SMITH      0.20      94.00   Strategic planning conference
 3/30/2018             Invoice=10955164   0.20      94.00   regarding PAC's response to Plaintiffs' motion
                                                            for summary judgment

 12/14/2017   HEATC    CAITLIN SMITH      1.60     752.00   Review legal research regarding Rule 8(c) and
 3/30/2018             Invoice=10955164   1.60     752.00   waiver of affirmative defenses

 12/14/2017   KIMAN    ANA KIM            1.70     816.00   Reformat and attach all cases for motion for
 3/30/2018             Invoice=10955164   0.00       0.00   claim preclusion and res judicata

 12/15/2017   NICHS    SHANE NICHOLS      2.40   1,992.00 Review boxes containing state court and
 3/30/2018             Invoice=10955164   2.40   1,992.00 arbitration record for potential use at trial;
                                                          review state court and federal court pleadings
                                                          in connection with same

 12/17/2017   HEATC    CAITLIN SMITH      0.60     282.00 Conduct legal research in support of PAC's
 3/30/2018             Invoice=10955164   0.60     282.00 opposition brief to PAC's motion for summary
                                                          judgment

 12/18/2017   HEATC    CAITLIN SMITH      0.50     235.00   Conduct legal citation check in support of
 3/30/2018             Invoice=10955164   0.00       0.00   PAC's opposition brief to PAC's motion for
                                                            summary judgment

 12/18/2017   HEATC    CAITLIN SMITH      1.60     752.00   Review and analyze previous filings to
 3/30/2018             Invoice=10955164   0.00       0.00   determine whether ATOM's exhibits supporting
                                                            its motion were ever corroborated

 12/18/2017   NI CHS   SHANE NICHOLS      6.00   4,980.00   c                        regarding PAC's
 3/30/2018             Invoice=10955164   4.00   3,320.00   response to motion for summary judgment;
                                                            correspond with  =        regarding draft of
                                                            PAC's response to motion for summary judgment;
                                                            review and edit brief

 12/18/2017   KIMAN    ANA KIM            3.00   1,440.00   Research case law on trade secret issues for
 3/30/2018             Invoice=10955164   3.00   1,440.00   trial memorandum

 12/18/2017   HEATC    CAITLIN SMITH      0.00      0.00 Conduct legal citation check in support of
 3/30/2018             Invoice=10955164   2.10    987.00 PAC's opposition brief to PAC's motion for
                                                         summary judgment; review and analyze previous
                                                         filings to determine whether ATOM's exhibits
                                                         supporting its motion were ever corroborated

 12/19/2017   KELCR    CRYSTAL BATSON     7.30   2,263.00   Review trial exhibits from state court cases;
 3/30/2018             Invoice=10955164   3.30   1,023.00   m                      regarding same; prepare
                                                            motion to seal and proposed order; correspond
                                                            wi

 12/19/2017   HEATC    CAITLIN SMITH      0.90    423.00    Conduct legal citation check in support of
 3/30/2018             Invoice=10955164   0.00      0.00    PAC's opposition brief to PAC's motion for
                                                            summary judgment

 12/19/2017   HEATC    CAITLIN SMITH      7.00   3,290.00   Review and revise PAC's opposition brief to
 3/30/2018             Invoice=10955164   0.00       0.00   PAC's motion for summary judgment in
                                                            preparation of filing

 12/19/2017 HEATC      CAITLIN SMITH      3.00   1,410.00 Review and revise exhibit list and citations in
 3/30/2018             Invoice=10955164   0.00       0.00 support of PAC's opposition brief to PAC's
                                                          motion for summary judgment




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 12/19/2017   HEATC    CAITLIN SMITH       1.90     893.00   Plan for and attend strategic planning
 3/30/2018             Invoice=109SS164    0.00       0.00   conference with               discuss PAC's
                                                             opposition brief

 12/19/2017   HEATC    CAITLIN SMITH       0.80     376.00   Review and revise PAC's motion to file under
 3/30/2018             Invoice=109SS164    0.00       0.00   seal its response in opposition to ATOM's
                                                             motion for summary judgment

 12/19/2017   NI CHS   SHANE NICHOLS       8.00   6,640.00   Review state trial court record for
 3/30/2018             Invoice=109SS164    4.00   3,320.00   completeness;                          regarding
                                                             trial logistics and preparation for trial;
                                                             correspond with ATOM's counsel regarding joint
                                                             request for state court hearing transcripts

 12/19/2017   KIMAN    ANA KIM             6.60   3,168.00   Proofread opposition to motion for summary
 3/30/2018             Invoice=l09SS164    2.60   1,248.00   judgment; prepare unopposed motion for leave to
                                                             file under seal

 12/19/2017   HEATC    CAITLIN SMITH       7.60   3,S72.00   Conduct legal citation check in support of
 3/30/2018             Invoice= 109SS164   7.60   3,S72.00   PAC's opposition brief to PAC's motion for
                                                             summary judgment; review and revise PAC's
                                                             opposition brief to PAC's motion for summary
                                                             judgment in preparation of filing; review and
                                                             revise exhibit list and citations in support of
                                                             PAC's opposition brief to PAC's motion for
                                                             summary judgment; plan for and attend strategic
                                                             planning conference wi                 to discuss
                                                             PAC's opposition brief; review and revise PAC's
                                                             motion to file under seal its response in
                                                             opposition to ATOM's motion for summary
                                                             judgment

 12/20/2017   NICHS    SHANE NICHOLS       s.so   4,S6S.00   Revise collateral estoppel motion; transmit to
 3/30/2018             Invoice=l09SS164    s.so   4,S6S.OO             for his review

 12/20/2017   HEATC    CAITLIN SMITH       0.30     141.00   Review legal research regarding Rule 8(c) and
 3/30/2018             Invoice=109SS164    0.30     141.00   the requirement of asserting estoppel as an
                                                             affirmative defense

 12/21/2017   NICHS    SHANE NICHOLS       6.00   4,980.00   Correspond with counsel regarding motion to
 3/30/2018             Invoice=109SS164    6.00   4,980.00   reset date of pretrial conference; review
                                                             pretrial conference date and correspond with
                                                             team and client regarding same; prepare list of
                                                             likely trial exhibits; review and revise motion
                                                             to dismiss

 12/21/2017   KELCR    CRYSTAL BATSON      a.so    lSS.00                           h regarding court's
 3/30/2018             Invoice=109SS164    a.so    lSS.00    preferences; correspond regarding calendar

 12/21/2017   HEATC    CAITLIN SMITH       0.70    329.00    Review Local Rules regarding confidentiality
 3/30/2018             Invoice=109SS164    0.70    329.00    submissions

 12/22/2017 GRIFN      NAADIA GRIFFIN      2.20    297.00    Cite-check motion for judgment on the pleadings
 3/30/2018             Invoice=109SS164    0.00      0.00

 12/22/2017   KIMAN    ANA KIM             1.70    816.00    Finalize 12(c) motion for filing; check cites
 3/30/2018             Invoice=109SS164    1.70    816.00    and proofread

 12/22/2017   NI CHS   SHANE NICHOLS       S.00   4,lS0.00   Prepare and file briefs; prepare trial strategy
 3/30/2018             Invoice=109SS164    4.00   3,320.00

 12/22/2017   KELCR    CRYSTAL BATSON      S.70   1,767.00   Review, revise, cite-check case law and facts,
 3/30/2018             Invoice=109SS164    s.so   1,70S.00   finalize, file, and serve motion for judgment
                                                             on the pleadings; correspond wit
                                                                              regarding same

 12/22/2017   HEATC    CAITLIN SMITH       2.70   1,269.00   Review and revise PAC's motion for judgment on




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 3/30/2018            Invoice=10955164         0.00         0.00   the pleadings in preparation of filing

 12/22/2017   HEATC   CAITLIN SMITH            2.00      940.00 Conduct legal research regarding res judicata
 3/30/2018            Invoice=10955164         0.00        0.00 to support PAC's motion for judgment on the
                                                                pleadings

 12/22/2017   HEATC   CAITLIN SMITH            3.80     1,786.00 Conduct legal and factual cite-check of PAC's
 3/30/2018            Invoice=10955164         0.00         0.00 motion for judgment of the pleadings in
                                                                 preparation of filing

 12/22/2017   HEATC   CAITLIN SMITH            0.80      376.00    Prepare motion for leave to file under seal
 3/30/2018            Invoice=10955164         0.00        0.00    PAC's motion for judgment of the pleadings

 12/22/2017   HEATC   CAITLIN SMITH            6.30     2,961.00   Review and revise PAC's motion for judgment on
 3/30/2018            Invoice=10955164         6.30     2,961.00   the pleadings in preparation of filing; conduct
                                                                   legal research regarding res judicata to
                                                                   support PAC's motion for judgment on the
                                                                   pleadings; conduct legal and factual cite-check
                                                                   of PAC's motion for judgment of the pleadings
                                                                   in preparation of filing; prepare motion for
                                                                   leave to file under seal PAC's motion for
                                                                   judgment of the pleadings

                      BILLED TOTALS: WORK:   272.60   170,181.00   104 records
                      BILLED TOTALS: BILL:   187.00   122,155.00

                      GRAND TOTALS: WORK:    272.60 170,181.00     104 records
                      GRAND TOTALS: BILL:    187.00 122,155.00




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 Matter Number        418939                                                Invoice                10955200
 Matter Description PAC v. ATOM/Olstowski - 2011



 Date        Initials Name I Invoice Number Hours         Amount iicfption
 1/3/2018    HEATC    CAITLIN SMITH                0.40     188.00                                    regarding
 3/30/2018            Invoice=10955200             0.40     188.00   certain court procedures for Judge Hughes

 1/12/2018   NICHS    SHANE NICHOLS                1.00     830.00   Review ATOM's recent filings and report same to
 3/30/2018            Invoice=10955200             1.00     830.00   A. Barger

 1/16/2018   KELCR    CRYSTAL BATSON               0.10      31.00   c                     regarding trial
 3/30/2018            Invoice=10955200             0.10      31.00   preparation

 1/16/2018   HEATC    CAITLIN SMITH                1.20     564.00   Conduct legal research regarding damages for
 3/30/2018            Invoice=10955200             1.20     564.00   trade secrets and unfair competition cases in
                                                                     Texas

 1/17/2018   HEATC    CAITLIN SMITH                1.40     658.00   Conduct legal research regarding lost profit
 3/30/2018            Invoice=10955200             1.40     658.00   award in Texas for trade secrets and unfair
                                                                     competition claims

 1/18/2018   NICHS    SHANE NICHOLS                1.00     830.00   Review ATOM's reply brief; prepare
 3/30/2018            Invoice=10955200             1.00     830.00   correspondence to ATOM's outside counsel
                                                                     documenting its failure to timely serve its
                                                                     reply brief

 1/19/2018   HEATC    CAITLIN SMITH                0.40     188.00 Strategic planning meetin                       to
 3/30/2018            Invoice=10955200             0.40     188.00 discuss trial preparation tasks

 1/22/2018   KELCR    CRYSTAL BATSON               0.10      31.00   Correspond with attorneys regarding upcoming
 3/30/2018            Invoice=10955200             0.10      31.00   deadlines

 1/23/2018   NI CHS   SHANE NICHOLS                5.00   4,150.00                         garding research needed;
 3/30/2018            Invoice=10955200             4.50   3,735.00   prepare reply brief

 1/24/2018   KIMAN    ANA KIM                      4.80   2,304.00   Review documents and pleadings for upcoming
 3/30/2018            Invoice=10955200             4.80   2,304.00   trial

 1/24/2018   NICHS    SHANE NICHOLS                3.00   2,490.00   Review research memorandum                     , prepare
 3/30/2018            Invoice=10955200             2.80   2,324.00   reply brief

 1/25/2018   HEATC    CAITLIN SMITH                0.80    376.00    Conduct legal research regarding damages under
 3/30/2018            Invoice=10955200             0.80    376.00    Texas law for trial preparation

 1/25/2018   NICHS    SHANE NICHOLS                5.00   4,150.00   Edit and file PAC's reply to motion for
 3/30/2018            Invoice=10955200             3.50   2,905.00   judgment on the pleadings; forward same to
                                                                     client

 2/1/2018    KELCR    CRYSTAL BATSON               0.10      31.00   Correspond with attorneys in preparation for
 3/30/2018            Invoice=10955200             0.10      31.00   trial

 2/2/2018    KELCR    CRYSTAL BATSON               0.60    186.00 Review case files in anticipation of preparing
 3/30/2018            Invoice=10955200             0.60    186.00 trial exhibit list for trial; correspond with
                                                                  attorneys regarding same

 2/4/2018    HEATC    CAITLIN SMITH                1.00    470.00    Conduct legal research regarding damages under
 3/30/2018            Invoice=10955200             1.00    470.00    Texas law for trial preparation purposes

 2/5/2018    HEATC    CAITLIN SMITH                1.00    470.00    Conduct legal research regarding prejudgment
 3/30/2018            Invoice=10955200             1.00    470.00    interest for lost profit calculations in Texas
                                                                     for trial preparation

 2/6/2018    KELCR    CRYSTAL BATSON               1.00    310.00    Prepare documents for attorney review for
 3/30/2018            Invoice=10955200             1.00    310.00    possible inclusion on trial exhibit list in
                                                                     anticipation of trial




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 2/6/2018    HEATC   CAITLIN SMITH      1.30     611.00   Conduct legal research regarding preinterest
 3/30/2018           Invoice=10955200   0.00       0.00   damages in Texas for trial preparation

 2/6/2018    HEATC   CAITLIN SMITH      0.50     235.00   Strategic planning conference to discuss trial
 3/30/2018           Invoice=l0955200   0.00       0.00   preparation and exhibits

 2/6/2018    HEATC   CAITLIN SMITH      0.00       0.00   Conduct legal research regarding preinterest
 3/30/2018           Invoice=10955200   1.80     846.00   damages in Texas for trial preparation;
                                                          strategic planning conference to discuss trial
                                                          preparation and exhibits

 2/7/2018    HEATC   CAITLIN SMITH      0.50     235.00   Strategic planning conference wi
 3/30/2018           Invoice=10955200   0.00       0.00   to discuss trial preparation tasks and schedule

 2/7/2018    KELCR   CRYSTAL BATSON     1.90     589.00   Prepare documents for S. Nichols' review for
 3/30/2018           Invoice=10955200   1.90     589.00   possible inclusion on trial exhibit list in
                                                          anticipation of trial

 2/7/2018    NICHS   SHANE NICHOLS      2.40   1,992.00   Review pretrial orders and prepare trial
 3/30/2018           Invoice=10955200   2.40   1,992.00   preparation schedule; review documents that are
                                                          candidates as trial exhibits; review
                                                          dlspositive motion briefing to identify
                                                          potential trial exhibits

 2/7/2018    HEATC   CAITLIN SMITH      0.90    423.00    Conduct legal research regarding preinterest
 3/30/2018           Invoice=10955200   0.00      0.00    damages for lost profits in Texas for trial
                                                          preparation purposes

 2/7/2018    GRIFN   NAADIA GRIFFIN     1.00    135.00    Prepare trial exhibits
 3/30/2018           Invoice=10955200   1.00    135.00

 2/7/2018    HEATC   CAITLIN SMITH      0.00      0.00    Strategic planning conference with S. Nichols
 3/30/2018           Invoice=10955200   1.40    658.00    to discuss trial preparation tasks and
                                                          schedule; conduct legal research regarding
                                                          preinterest damages for lost profits in Texas
                                                          for trial preparation purposes

 2/8/2018    GRIFN   NAADIA GRIFFIN     1.10    148.50    Prepare trial exhibits
 3/30/2018           Invoice=10955200   1.10    148.50

 2/8/2018    KELCR   CRYSTAL BATSON     0.20     62.00    Cc.I                          regarding status of
 3/30/2018           Invoice=10955200   0.20     62.00    case in anticipation of trial

 2/11/2018   HEATC   CAITLIN SMITH      2.30   1,081.00   Prepare memorandum summarizing research on
 3/30/2018           Invoice=10955200   0.00       0.00   prejudgment interest and lost profits for trial
                                                          preparation

 2/11/2018   HEATC   CAITLIN SMITH      3.00   1,410.00 Conduct legal research regarding lost profit
 3/30/2018           Invoice=10955200   0.00       0.00 prejudgment damage awards in Texas for trial
                                                        preparation

 2/11/2018   HEATC   CAITLIN SMITH      0.00       0.00   Prepare memorandum summarizing research on
 3/30/2018           Invoice=10955200   5.30   2,491.00   prejudgment interest and lost profits for trial
                                                          preparation; conduct legal research regarding
                                                          lost profit prejudgment damage awards in Texas
                                                          for trial preparation

 2/13/2018   NICHS   SHANE NICHOLS      2.00   1,660.00   Prepare trial schedule; prepare motion for
 3/30/2018           Invoice=10955200   2.00   1,660.00   partial summary judgment that plaintiff's
                                                          available remedies exclude gross damages

 2/15/2018   KELCR   CRYSTAL BATSON     0.30     93.00    Prepare i                             eview in
 3/30/2018           Invoice=10955200   0.30     93.00    anticipation of trial

 2/15/2018
 3/30/2018
             NICHS   SHANE NICHOLS
                     Invoice=10955200
                                        2.10
                                        2.10
                                               1,743.00
                                               1,743.00
                                                          ~evijw ATOM's prior
                                                           a          2  I
                                                                                   filinYCli;review Texas
                                                          case law regarding availability of gross




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                                                                profits damages; prepare outline of summary
                                                                judgment motion on gross profits damages

 2/15/2018   HEATC   CAITLIN SMITH           3.70    1,739.00 Review and revise memorandum summarizing
 3/30/2018           Invoice=10955200        0.00        0.00 damages arguments for motion for summary
                                                              judgment for trial preparation

 2/15/2018
 3/30/2018

 2/15/2018
             HEATC


             GRIFN
                     CAITLIN SMITH
                     Invoice=10955200

                     NAADIA GRIFFIN
                                             0.20
                                             0.00

                                             1.10
                                                        94.00
                                                         0.00

                                                       148.50
                                                                Strategic planning conference I'
                                                                to discuss trial preparation tasks   •
                                                                Prepare trial exhibits; prepare spreadsheet to
 3/30/2018           Invoice=10955200        1.10      148.50   log trial exhibits

 2/15/2018   HEATC   CAITLIN SMITH           0.00        0.00 Review and revise memorandum summarizing
 3/30/2018           Invoice=10955200        3.90    1,833.00 damages arguments for motion for summary
                                                              judgment for trial preparation; strategic
                                                              planning conference w·                o discuss
                                                              trial preparation tasks

 2/16/2018   KELCR   CRYSTAL BATSON          0.20       62.00   Prepare information  t& - ·          r . w in
 3/30/2018           Invoice=10955200        0.20       62.00   anticipation of trial; correspond will:
                                                                regarding same

 2/16/2018   GRIFN   NAADIA GRIFFIN          1.80      243.00   Prepare trial exhibits; prepare spreadsheet to
 3/30/2018           Invoice=10955200        1.80      243.00   log trial exhibits

 2/16/2018   NICHS   SHANE NICHOLS           2.20    1,826.00 Trial strategy planning in preparation for
 3/30/2018           Invoice=10955200        2.20    1,826.00                                  J;
                                                                                                prepare
                                                              pretrial order materials

 2/25/2018   HEATC   CAITLIN SMITH           3.90    1,833.00   Prepare conclusions of law section in
 3/30/2018           Invoice=10955200        3.90    1,833.00   preparation of meeting wi                or trial
                                                                preparation

 2/26/2018   NICHS   SHANE NICHOLS           2.10    1,743.00 Teleconference wit               egarding
 3/30/2018           Invoice=10955200        2.10    1,743.00 upcoming trial; review case law on gross and
                                                              net profits as damages

 2/28/2018   NICHS   SHANE NICHOLS           2.00    1,660.00 Trial planning; compile pretrial order
 3/30/2018           Invoice=10955200        2.00    1,660.00 materials; review Judge Hughes' trial rules and
                                                              standing orders

                     BILLED TOTALS: WORK:   64.60   38,023.00   45 records
                     BILLED TOTALS: BILL:   62.40   36,197.00

                     GRAND TOTALS: WORK:    64.60   38,023.00   45 records .
                     GRAND TOTALS: BILL:    62.40   36,197.00




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Invoice Time Detail                                                                                               Bf~)
 Matter Number        418939                                              Invoice                 10962382
 Matter Description PAC v. ATOM/Olstowski - 2011



 Date        Initials Name/ Invoice Number     Hours      Amca.1nt ~essrietion
 3/1/2018    NICHS    SHANE NICHOLS             2.00      1,660.00                        II regarding upcoming trial;
 4/30/2018            Invoice=10962382          0.00          0.00   review documents to identify trial exhibits;
                                                                     review prior hearing testimony of potential
                                                                     witnesses

 3/2/2018    NICHS    SHANE NICHOLS                2.50   2,075.00   Confer with                            regarding
 4/30/2018            Invoice=10962382             2.50   2,075.00   upcoming trial; identify potential trial
                                                                     exhibits; review prior deposition testimony

 3/5/2018    GRANJ    JAMES GRANT                  5.50   5,390.00   Revijll background materials; meet w i t -
 4/30/2018            Invoice=10962382             5.50   5,390.00           regarding trial; begin trial
                                                                     preparation

 3/5/2018    KELCR    CRYSTAL BATSON               0.20      62.00   Correspond wit             in regards to
 4/30/2018            Invoice=10962382             0.20      62.00   preparations needed for trial

 3/5/2018    NICHS    SHANE NICHOLS                5.50   4,565.00   Meet willI            egarding trial strategy,
 4/30/2018            Invoice=10962382             5.50   4,565.00   possible witnesses, and possible exhibits;
                                                                                                           er regarding
                                                                     trial logistics; prepare to file pro hac vice
                                                                     motions for trial team members; meet with M.
                                                                     Howell regarding res judicata and collateral
                                                                     estoppel issues and whether and how to present
                                                                     at trial; compile trial related materials in
                                                                     central data "room"; review and analyze
                                                                     Oliveaux declaration in preparation of damages
                                                                     defenses; correspond with opposing counsel
                                                                     regarding pretrial order

 3/5/2018    HEATC    CAITLIN SMITH                1.00    470.00 Manage and analyze pleadings and exhibits for
 4/30/2018            Invoice=10962382             1.00    470.00 creation of exhibit list in trial preparation

 3/6/2018    GRANJ    JAMES GRANT                  4.50   4,410.00   Review hearing transcripts
 4/30/2018            Invoice=10962382             4.50   4,410.00

 3/6/2018    KELCR    CRYSTAL BATSON               0.80     248.00                              in regards to
 4/30/2018            Invoice=10962382             0.80     248.00   preparations needed for trial; revise motions
                                                                     for admission pro hac vice; review local rules
                                                                     in anticipation of trial

 3/6/2018    HOW MA   MATTHEW HOWELL               4.70   3,501.50   Analyze state court and federal court
 4/30/2018            Invoice=10962382             4.70   3,501.50   pleadings, orders, and related documents in
                                                                     preparation for trial; communications with S.
                                                                     Nichols regarding same

 3/6/2018    NICHS    SHANE NICHOLS                5.50   4,565.00
 4/30/2018            Invoice=10962382             5.50   4,565.00
                                                                                                           regarding
                                                                     trial preparation status report; correspond
                                                                     with opposing counsel regarding exchanging
                                                                                                                   a
                                                                                                                •
                                                                     information for pretrial order; r
                                                                     deposition transcript; confer witl
                                                                     regarding cross-examination (




 3/6/2018    HEATC    CAITLIN SMITH                2.50   1,175.00 Review and analyze pretrial order requirements
 4/30/2018            Invoice=10962382             0.00       0.00 under Judge Hughes' procedures for trial
                                                                   preparation

 3/6/2018    HEATC    CAITLIN SMITH                1.30    611.00    Review and analyze pleadings to support.




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 4/30/2018            Invoice=10962382    0.00       0.00 - i n trial preparation and strategy

 3/6/2018    HA PAM   PAMELA HARRIS       0.50      97.50   Research examples of pretrial order submissions
 4/30/2018            Invoice=10962382    0.00       0.00   before Judge Hughes in the Southern District of
                                                            Texas for C. Kelly

 3/6/2018    HAPAM    PAMELA HARRIS       0.20      39.00   Obtain Court of Appeals decision
 4/30/2018            Invoice=10962382    0.00       0.00

 3/6/2018    HA PAM   PAMELA HARRIS       0.00       0.00   Research examples of pretrial order submissions
 4/30/2018            Invoice=10962382    0.70     136.50   before Judge Hughes in the Southern District of
                                                            Texas for C. Kelly;


 3/6/2018    HEATC    CAITLIN SMITH       0.00       0.00   Review and analyze pretrial order requirements
 4/30/2018            Invoice=10962382    3.80   1,786.00   under Judge Hughes' procedures for trial
                                                            preparation; review and analyze pleadings to
                                                            s              tin trial preparation and
                                                            strategy

 3/7/2018    GRANJ    JAMES GRANT         5.20   5,096.00   Trial preparation, Including continue to review
 4/30/2018            Invoice=10962382    5.20   5,096.00   prior transcripts

 3/7/2018    KELCR    CRYSTAL BATSON      0.70     217.00   Review, finalize, and file motions for
 4/30/2018            Invoice=10962382    0.70     217.00   admission pro hac vice; correspond with
                                                            attorneys regarding same

 3/7/2018    HOW MA   MATTHEW HOWELL      4.20   3,129.00   Analyze depositions, state court and federal
 4/30/2018            Invoice=10962382    4.20   3,129.00   court pleadings, orders, and related documents
                                                            in preparation for trial; communicate wi. . .
                                                                         rding same; communicate with S.
                                                                                   regarding trial strategy

 3/7/2018    NICHS    SHANE NICHOLS       6.50   5,395.00   Meet wit                          ell to discuss
 4/30/2018            Invoice=10962382    6.50   5,395.00   trial strategy and tasks; meet wi
                                                            regarding cross examination of F. Olstowskl and
                                                            general trial strategy; confer wi              I
                                                            regarding exhibits for trial; correspond with
                                                            opposing counsel regarding pretrial order;
                                                            review hearing transcripts; review damages
                                                            documents to be introduced as evidence; review
                                                            state court orders and stipulation; review
                                                            Heraeus documents; review deposition
                                                            transcripts

 3/7/2018    HEATC    CAITLIN SMITH       0.50     235.00   Review and analyze pretrial order requirements
 4/30/2018            Invoice= 10962382   0.00       0.00   under J. Hughes' procedures for trial
                                                            preparation

 3/7/2018    HEATC    CAITLIN SMITH       0.50    235.00    Conduct legal research regarding disgorgement
 4/30/2018            Invoice=10962382    0.00      0.00    of lost profits for trial preparation

 3/7/2018    HEATC    CAITLIN SMITH       0.00      0.00    Review and analyze pretrial order requirements
 4/30/2018            Invoice=10962382    1.00    470.00    under J. Hughes' procedures for trial
                                                            preparation; conduct legal research regarding
                                                            disgorgement of lost profits for trial
                                                            preparation

 3/8/2018    GRANJ    JAMES GRANT         3.50   3,430.00 Review pretrial conference transcripts and
 4/30/2018            Invoice=10962382    3.50   3,430.00 continue trial preparation

 3/8/2018    KIMAN    ANA KIM             5.90   2,832.00 Research and compose brief overview of Texas
 4/30/2018            Invoice=10962382    5.90   2,832.00 Trade Secrets misappropriation damages, with
                                                          emphasis on damages apportionment

 3/8/2018    HEATC    CAITLIN SMITH       1.80    846.00    Conduct legal research regarding disgorgement
 4/30/2018            Invoice=10962382    0.00      0.00    of lost profits for trial preparation




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 3/8/2018    HEATC    CAITLIN SMITH       2.50   1,175.00 Review and analyze Judge Hughes' trial
 4/30/2018            Invoice= 10962382   0.00       0.00 procedures for pretrial order preparation

 3/8/2018    NICHS    SHANE NICHOLS       7.00   5,810.00                                      to discuss
 4/30/2018            Invoice=10962382    7.00   5,810.00   trial strategy and tasks; prepare direct
                                                            testimony witness list and outlines; confer
                                                            witlf I           J•arding witnesses for trial;
                                                            correspond with opposing counsel regarding
                                                            pretrial order; review hearing transcripts;
                                                            review Heraeus documents; review deposition
                                                            transcripts

 3/8/2018    HOW MA   MATTHEW HOWELL      0.40     298.00   Communications wi            d related analysis
 4/30/2018            Invoice=10962382    0.40     298.00   concerning damages issues and related case law

 3/8/2018    HEATC    CAITLIN SMITH       0.00       0.00   Conduct legal research regarding disgorgement
 4/30/2018            Invoice=10962382    4.30   2,021.00   of lost profits for trial preparation; review
                                                            and analyze Judge Hughes' trial procedures for
                                                            pretrial order preparation

 3/9/2018    HEATC    CAITLIN SMITH       1.40    658.00    Strategic planning conference with trial team
 4/30/2018            Invoice=10962382    1.40    658.00    and local counsel to discuss trial tasks

 3/9/2018    GRANJ    JAMES GRANT         2.50   2,450.00                                       continue
 4/30/2018            Invoice=10962382    2.50   2,450.00 trial preparation

 3/9/2018    KELCR    CRYSTAL BATSON      0.50    155.00                        regarding upcoming trial
 4/30/2018            Invoice=10962382    0.50    155.00

 3/9/2018    NICHS    SHANE NICHOLS       7.00   5,810.00
 4/30/2018            Invoice=10962382    6.70   5,561.00   Kia                  s   I to discuss trial
                                                            strategy and pretrial conference; prepare
                                                            direct testimo7 witness list and outlines;
                                                            confer witl             yarding witness
                                                            preparation for trial; correspond with opposing
                                                            counsel regarding pretrial order; review
                                                            hearing transcripts; review Heraeus documents;
                                                            review deposition transcripts; prepare for
                                                            direct examination of PAC witnesses

 3/10/2018   HEATC    CAITLIN SMITH       1.00    470.00    Review and analyze hearing transcripts from
 4/30/2018            Invoice=10962382    1.00    470.00    previous pretrial conferences in anticipation
                                                            of trial

 3/10/2018   HOW MA   MATTHEW HOWELL      2.50   1,862.50 Analyze prior court hearings and testimony
 4/30/2018            Invoice=10962382    2.50   1,862.50

 3/11/2018   HEATC    CAITLIN SMITH       1.40    658.00    Conduct legal research regarding net profits in
 4/30/2018            Invoice=10962382    1.40    658.00    disgorgement context for trial preparation to
                                                            sup po

 3/11/2018   HOW MA   MATTHEW HOWELL      1.50   1,117.50 Analyze prior court hearings and testimony;
 4/30/2018            Invoice=10962382    1.50   1,117.50 communications wit            T
                                                                                        regarding same

 3/12/2018   GRANJ    JAMES GRANT         2.90   2,842.00   Review F. Olstowski deposition; trial
 4/30/2018            Invoice=10962382    2.90   2,842.00   preparation

 3/12/2018   KIMAN    ANA KIM             3.00   1,440.00 Conduct additional research on trade secrets
 4/30/2018            Invoice=10962382    3.00   1,440.00 misappropriation damages

 3/12/2018   HEATC    CAITLIN SMITH       4.20   1,974.00 Prepare legal research memorandum summarizing
 4/30/2018            Invoice=10962382    0.00       0.00 lost profits research in context of
                                                          disgorgement damages theory under Texas law

 3/12/2018   HEATC    CAITLIN SMITH       1.00    470.00    Communicate w             t regarding lost
 4/30/2018            Invoice=10962382    0.00      0.00    profits damages research for trial preparation

 3/12/2018   HEATC    CAITLIN SMITH       0.00       0.00   Prepare legal research memorandum summarizing




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 4/30/2018            Invoice=10962382   5.20   2,444.00   lost profits research in context of
                                                           disgorgement damages theory under Texas law;
                                                           communicate                  regarding lost
                                                           profits damages research for trial preparation

 3/13/2018   KELCR    CRYSTAL BATSON     1.20     372.00   Prepare information for attorney review in
 4/30/2018            Invoice=10962382   1.20     372.00   anticipation of trial; co                  th
                                                                           regarding same

 3/13/2018   HEATC    CAITLIN SMITH      1.50     705.00   Review and analyze recent pretrial orders
 4/30/2018            Invoice=10962382   1.50     705.00   submitted before Judge Hughes in anticipation
                                                           of preparing pretrial order

 3/13/2018   HOW MA   MATTHEW HOWELL     4.40   3,278.00   Analyze case law concerning damages and
 4/30/2018            Invoice=10962382   4.40   3,278.00   misappropriation of public information;
                                                           communications with team regarding same;
                                                           pre pa re and revise pretrial order

 3/14/2018   GRANJ    JAMES GRANT               1,372.00                   unsel regarding jurisdiction;
 4/30/2018            Invoice=10962382          1,372.00 trial preparation

 3/14/2018   KELCR    CRYSTAL BATSON     0.70     217.00   Prepare information for attorney review in
 4/30/2018            Invoice=10962382   0.70     217.00   anticipation of trial;                      h
                                                           regarding same; prepare registrations for cm
                                                           and

 3/14/2018   NICHS    SHANE NICHOLS      3.50   2,905.00
 4/30/2018            Invoice=10962382   3.50   2,905.00   regarding possibility of appearance at trial;
                                                           prepare pretrial order

 3/14/2018   HOW MA   MATTHEW HOWELL     1.80   1,341.00 Further revise pretrial order; analyze related
 4/30/2018            Invoice=10962382   1.80   1,341.00 documents regarding same

 3/15/2018   GRANJ    JAMES GRANT        1.50   1,470.00 Trial preparation
 4/30/2018            Invoice=10962382   1.50   1,470.00

 3/15/2018   KELCR    CRYSTAL BATSON     1.10    341.00 . -                                        in
 4/30/2018            Invoice=10962382   1.10    341.00       regarding upcoming trial logistics;
                                                         prepare information for attorney review in
                                                        anticipation of trial

 3/15/2018   NICHS    SHANE NICHOLS      7.10   5,893.00   cS!!! El ii i2ii 3Iit regarding trial strategy
 4/30/2018            Invoice=10962382   7.10   5,893.00   and Judge Hughes' Rules; prepare opening
                                                           argument; prepare exhibits for opening
                                                           argument; review Tanaka and other prior art
                                                           documents as possible tr'        · its; prepare
                                                           pretrial order; r




 3/15/2018   HEATC    CAITLIN SMITH      3.30   1,551.00 Conduct legal research regarding apportionment
 4/30/2018            Invoice=10962382   0.00       0.00 within the context of disgorgement to support
                                                         Conclusions of Law

 3/15/2018   HEATC    CAITLIN SMITH      0.70    329.00    Strategic planning session with M. Howell to
 4/30/2018            Invoice=10962382   0.00      0.00    discuss research assignments for trial
                                                           preparation

 3/15/2018   HEATC    CAITLIN SMITH      1.90    893.00    Plan and prepare for pretrial conference with
 4/30/2018            Invoice=10962382   0.00      0.00

 3/15/2018   HOW MA   MATTHEW HOWELL     3.40   2,533.00   Prepare and revise pretrial order; analyze case
 4/30/2018            Invoice=10962382   3.40   2,533.00   law regarding same; analyze prior PAC briefing
                                                           and hearings regarding same

 3/15/2018   HA PAM   PAMELA HARRIS      0.60    117.00 Research resources that detail damages under
 4/30/2018            Invoice=10962382   0.60    117.00 Texas Trade Secret misapRfopriation and unfair
                                                        competition I




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 3/15/2018   HEATC    CAITLIN SMITH      0.00       0.00   Conduct legal research regarding apportionment
 4/30/2018            Invoice=10962382   5.90   2,773.00   within the context of disgorgement to support
                                                           Conclusions of Law; strategic planning session
                                                                           to discuss research assignments
                                                           for trial preparation; plan and prepare for
                                                           pretrial conference wit

 3/16/2018   HEATC    CAITLIN SMITH      0.70     329.00   Strategic planning conference wit                    to
 4/30/2018            Invoice=l0962382   0.00       0.00   discuss trial preparation tasks

 3/16/2018   DOS HT   TORAL DOSHI        0.80     156.00                                      regarding F.
 4/30/2018            Invoice=10962382   0.80     156.00 Olstowski,                            , and
                                                         scientific articles fo

 3/16/2018   KELCR    CRYSTAL BATSON     1.20     372.00   Correspond with local counsel and litigation
 4/30/2018            Invoice=10962382   1.20     372.00   team regarding upcoming trial logistics;
                                                           prepare information for attorney review in
                                                           anticipation of trial

 3/16/2018   NICHS    SHANE NICHOLS      6.50   5,395.00   Prepare pretrial order; confer with
 4/30/2018            Invoice=10962382   6.50   5,395.00   regarding same; prepare opening argument;
                                                           prepare exhibits for opening argument; review
                                                           Heraeus documents for possible trial exhibits;
                                                           review technical papers and textbooks for trial
                                                           exhibits to




 3/16/2018   HEATC    CAITLIN SMITH      1.60     752.00   Conduct factual research regarding F.
 4/30/2018            Invoice=10962382   0.00       0.00   Olstowski's presence at conferences in 2008 to


 3/16/2018   HOW MA   MATTHEW HOWELL     5.80   4,321.00   Finalize pretrial order; communications with
 4/30/2018            Invoice=l0962382   5.80   4,321.00   team regarding same; analyze deposition
                                                           transcripts and court hearings regarding same;
                                                           analyze case law concerning damages and related
                                                           communications




                                                           ...
 3/16/2018   HEATC    CAITLIN SMITH      0.00       0.00 Strategic planning conference                         I to
 4/30/2018            Invoice=l0962382   2.30   1,081.00 discuss trial preparation tasks; conduct
                                                         factual research regarding F. Olstowski's
                                                         presence at conferences in 2008 t


 3/17/2018   NICHS    SHANE NICHOLS      4.50   3,735.00   Review pretrial order; prepare opening
 4/30/2018            Invoice=10962382   4.50   3,735.00   argument; prepare exhibits for opening
                                                           argument; review technical papers and textbooks
                                                           for trial exhibits regarding excimer
                                                           technology, Krypton-Chloride light sources, and
                                                           222 nm UV fluorescence patterns

 3/18/2018   HEATC    CAITLIN SMITH      0.70    329.00    Strategic planning conference with Q            p    to
 4/30/2018            Invoice=10962382   0.70    329.00    discuss exhibit list in preparation for trial

 3/19/2018   GRANJ    JAMES GRANT        5.00   4,900.00 Trial preparation meeting and continue trial
 4/30/2018            Invoice=l0962382   5.00   4,900.00 preparation

 3/19/2018   CON NO   DENNIS CONNOLLY    1.80   1,881.00   Review pleadings relative to the status of the
 4/30/2018            Invoice=l0962382   0.00       0.00   Bankruptcy case and the adversary proceedings
                                                           and civil action in the district court

 3/19/2018   CON NO   DENNIS CONNOLLY    0.30    313.50    Follow on telephonic conference with
 4/30/2018            Invoice=10962382   0.00      0.00    regarding strategies

 3/19/2018   HOW MA   MATTHEW HOWELL     9.30   6,928.50   Prepare for trial; attend team meeting
 4/30/2018            Invoice=l0962382   9.30   6,928.50   concerning trial strategy; analyze depositions
                                                                                ; communications wit




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                                                                           regarding same; prepare and
                                                           revise findings of fact; analyze record
                                                           evidence regarding same

 3/19/2018   KELCR    CRYSTAL BATSON     0.20      62.00 Correspond with           egarding upcoming
 4/30/2018            Invoice=10962382   0.20      62.00 deadlines; prepare information for attorney
                                                         review

 3/19/2018   HEATC    CAITLIN SMITH      2.00     940.00   Prepare and revise conclusions of law for
 4/30/2018            Invoice=10962382   0.00       0.00   pretrial order

 3/19/2018   NICHS    SHANE NICHOLS      5.20   4,316.00   Meet with J.                                  to
 4/30/2018            Invoice=10962382   5.20   4,316.00   discuss trial strategy and pretrial order;
                                                           confer with opposing counsel regarding pretrial
                                                           order and live witness testimony; review
                                                           transcript of F. Olstowski's testimony before
                                                           arbitration panel; present current version of
                                                           opening argument to team for critique;
                                                           teleconference with D. Oliveaux regarding trial
                                                           testimony; revise opening argument
                                                           presentation; review documents for additional
                                                           trial exhibits

 3/19/2018   HEATC    CAITLIN SMITH      4.30   2,021.00   Review and revise exhibit list for trial
 4/30/2018            Invoice=10962382   0.00       0.00   preparation purposes

 3/19/2018   HEATC    CAITLIN SMITH      1.80     846.00   Prepare and revise witness list for pretrial
 4/30/2018            Invoice=10962382   0.00       0.00   order

 3/19/2018   CON NO   DENNIS CONNOLLY    0.00       0.00   Review pleadings relative to the status of the
 4/30/2018            Invoice=10962382   2.10   2,194.50   Bankruptcy case and the adversary proceedings
                                                           and civil action in the district court; follow
                                                           on telephonic conference with J. Grant
                                                           regarding strategies

 3/19/2018   HEATC    CAITLIN SMITH      0.00       0.00   Prepare and revise conclusions of law for
 4/30/2018            Invoice=10962382   8.10   3,807.00   pretrial order; review and revise exhibit list
                                                           for trial preparation purposes; prepare and
                                                           revise witness list for pretrial order

 3/20/2018   GRANJ    JAMES GRANT        4.50   4,410.00 Trial preparation, including F. Olstowski cross
 4/30/2018            Invoice=10962382   4.50   4,410.00 exam outline; work on jurisdictional issues;
                                                         work on PTO

 3/20/2018   KI MAN   ANA KIM            1.30     624.00   Case law research on whether licensees have
 4/30/2018            Invoice=10962382   1.30     624.00   standing to bring trade secret misappropriation
                                                           claim under Texas Trade Secrets law

 3/20/2018   HOW MA   MATTHEW HOWELL     9.80   7,301.00   Prepare for trial; prepare and revise pretrial
 4/30/2018            Invoice=10962382   9.80   7,301.00   order; analyze case law on trade secrets and
                                                           damages regarding same; prepare and revise
                                                           proposed findings of fact; analyze deposition
                                                           and hearing transcripts regarding same

 3/20/2018   KELCR    CRYSTAL BATSON     4.80   1,488.00 Prepare and revise trial exhibit list; prepare
 4/30/2018            Invoice=10962382   4.80   1,488.00 trial exhibits for attorney review; meet and
                                                         correspond wil               regarding same

 3/20/2018   NI CHS   SHANE NICHOLS      5.40   4,482.00   Prepare and edit statement of jurisdiction for
 4/30/2018            Invoice=10962382   5.40   4,482.00   the Pretrial Order; correspond with opposing
                                                           counsel regarding same; review research
                                                           regarding Texas Trade Secret law - standing to
                                                           assert misappropriation claim; research on
                                                           subject matter jurisdiction

 3/21/2018   GRANJ    JAMES GRANT        5.00   4,900.00   Work on PTO; work on F. Olstowski cross; work
 4/30/2018            Invoice=10962382   5.00   4,900.00   on F. Olstowski deposition designations; work
                                                           on jurisdiction objection; other trial




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                                                                   preparation

 3/21/2018   HOW MA   MATTHEW HOWELL           7.20     5,364.00   Prepare for trial; analyze depositions,
 4/30/2018            Invoice=10962382         7.20     5,364.00   hearings, and related documents regarding same;
                                                                   prepare and revise findings of fact; prepare
                                                                   and revise deposition designations

 3/21/2018   KELCR    CRYSTAL BATSON           4.50     1,395.00 Prepare and revise trial exhibit list; prepare
 4/30/2018            Invoice=10962382         4.50     1,395.00 trial exhibits for attorney review; prepare
                                                                 deposition designationsj correspond with
                                                                 attorneys,                           6 I regarding
                                                                 same

 3/21/2018   NICHS    SHANE NICHOLS            3.80     3,154.00   Correspond with opposing counsel regarding
 4/30/2018            Invoice=10962382         3.80     3,154.00   pretrial order; review correspondence from
                                                                   Judge Hughes' case manager regarding
                                                                   rescheduling of trial and available dates;
                                                                   correspond with opposing counsel regarding
                                                                   unavailable dates for reschedule of trial;
                                                                   correspond with D. Oliveaux regarding
                                                                   cancellation of teleconference due to
                                                                   reschedule of trial

 3/21/2018   GRIFN    NAADIA GRIFFIN           2.40       324.00   Assist with designations of deposition
 4/30/2018            Invoice=10962382         2.40       324.00   testimony to be used at trial; create
                                                                   highlighted portions of the depositions; create
                                                                   a list of the portions highlighted; check other
                                                                   Case Assistant and Paralegal's markings

 3/22/2018   KELCR    CRYSTAL BATSON           0.50       155.00   Prepare information for attorney review
 4/30/2018            Invoice=10962382         0.50       155.00   regarding dePOsition designations and exhibits;
                                                                   meet with             garding same

 3/22/2018   GRIFN    NAADIA GRIFFIN           0.50        67.50   Create deposition designations for Schmits and
 4/30/2018            Invoice=10962382         0.00         0.00   S. Rick

 3/22/2018   HOW MA   MATTHEW HOWELL           2.30     1,713.50   Continue to revise and analyze related findings
 4/30/2018            Invoice= 10962382        2.30     1,713.50   of fact and conclusions of law

 3/22/2018   NICHS    SHANE NICHOLS            2.20     1,826.00 Correspond                 regarding
 4/30/2018            Invoice=10962382         2.20     1,826.00 postponement of trial and new proposed trial
                                                                 dates; correspond with opposing counsel
                                                                 regarding new proposed trial date;


 3/23/2018   NICHS    SHANE NICHOLS            3.00     2,490.00   Correspond with opposing counsel regarding
 4/30/2018            Invoice= 10962382        3.00     2,490.00   whether or not July 24-27 will work for a new
                                                                   trial date; correspond with G. Hassan in Judge
                                                                   Hughes' office regarding available date for
                                                                   hearing and pretrial conference; review
                                                                   pretrial report

 3/27/2018   KELCR    CRYSTAL BATSON           0.20        62.00   Prepare information for attorney review
 4/30/2018            Invoice=10962382         0.20        62.00   regarding upcoming trial dates

 3/29/2018   HEATC    CAITLIN SMITH            1.60      752.00    Strategic planning meeting wit               to
 4/30/2018            Invoice= 10962382        1.60      752.00    discuss steps for preserving trial preparation
                                                                   until July 2018

                      BILLED TOTALS: WORK:   249.10   178,896.00   96 records
                      BILLED TOTALS: BILL:   246.30   176,919.50

                      GRAND TOTALS: WORK:    249.10   178,896.00 96 records
                      GRAND TOTALS: BILL:    246.30   176,919.50




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Invoice Time Detail                                                                                                    (§ '[il
 Matter Number          418939                                               Invoice                 10981616
 Matter Description PAC v. ATOM/Olstowski - 2011



 Date        Initials   Name I Invoice Number Hours        Amount Description
 4/3/2018    HOW MA     MATTHEW HOWELL         3.20        2,384.00 Prepare pretrial order for upcoming trial;
 7/27/2018              Invoice=10981616       3.20        2,384.00 review multiple Olstowski transcripts to find
                                                                    support of findings of fact and conclusions of
                                                                    law for same

 4/4/2018    HOW MA     MATTHEW HOWELL             1.80    1,341.00 Review multiple Olstowski deposition and
 7/27/2018              Invoice=10981616           1.80    1,341.00 hearing transcripts to find support of findings
                                                                    of fact and conclusions of law for pretrial
                                                                    order

 4/5/2018    NICHS      SHANE NICHOLS              2.20    1,826.00                          garding damages trial
 7/27/2018              Invoice=10981616           2.20    1,826.00   presentation; review state court record for
                                                                      evidence to support attack on ATOM's
                                                                      gross-profits damages theory; review state
                                                                      court record for evidence that might be used as
                                                                      exhibits or demonstratives in upcoming trial

 4/9/2018    KELCR      CRYSTAL BATSON             0.10       31.00   Correspond with attorneys regarding possible
 7/27/2018              Invoice=10981616           0.00        0.00   exhibits regarding damages

 4/9/2018    HEATC      CAITLIN SMITH              0.40      188.00   Review and analyze exhibit list to determine
 7/27/2018              Invoice=10981616           0.00        0.00   missing exhibits for trial preparation

 4/9/2018    HOW MA     MATTHEW HOWELL             5.20    3,874.00   Review and analyze Olstowski deposition and
 7/27/2018              Invoice=10981616           5.20    3,874.00   trial testimony to find support for pretrial
                                                                      order; prepare and revise summary of same for
                                                                      inclusion In pretrial order; evaluate for S.
                                                                      Nichois ATOM's various damages theories,
                                                                      including disgorgement, lost profits, and
                                                                      reasonable royalty,

 4/10/2018   KELCR      CRYSTAL BATSON             1.00      310.00   Prepare documents for attorney review for
 7/27/2018              Invoice=10981616           1.00      310.00   possible use at trial as exhibits; confer with
                                                                                 regarding same

 4/11/2018   KELCR      CRYSTAL BATSON             2.40      744.00   Prepare docume·nts for attorney review for
 7/27/2018              Invoice=10981616           2.40      744.00   possible use at trial as exhibits; confer with
                                                                      attorneys regarding same; review and organize
                                                                      older state court and arbitration materials
                                                                      received from archives

 4/11/2018   GRIFN      NAADIA GRIFFIN             0.90      121.50 Scan deposition documents
 7/27/2018              Invoice=10981616           0.00        0.00

 4/12/2018   GRIFN      NAADIA GRIFFIN             1.00      135.00 Download and gather materials regarding F
 7/27/2018              Invoice=10981616           0.00        0.00 Olstowski

 4/12/2018   KELCR      CRYSTAL BATSON             0.80      248.00   Prepare documents for attorney review for
 7/27/2018              Invoice=10981616           0.80      248.00   possible use at trial as exhibits; correspond
                                                                      with attorneys regarding same

 4/30/2018   NICHS      SHANE NICHOLS              3.00    2,490.00   Review materials retrieved from long-term
 7/27/2018              Invoice=10981616           3.00    2,490.00   archive storage for possible use as trial
                                                                      exhibits; search for physical trial exhibits,
                                                                      including any Heraeus excimer lamps; I           F
                                                                                     for all possible trial witnesses,
                                                                      transcripts of depositions and hearing
                                                                      testimony from arbitration proceedings in 2007

                        BILLED TOTALS: WORK:   22.00      13,692.50   12 records




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              BILLED TOTALS: BILL:   19.60   13,217.00

              GRAND TOTALS: WORK:    22.00   13,692.50   12 records
              GRAND TOTALS: BILL:    19.60   13,217.00




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Invoice Time Detail
 Matter Number       418939                                                 Invoice                 10981617
 Matter Description PAC v. ATOM/Olstowski - 2011


 Date        Initials Name / Invoice Number Hours         Amount     Description
 5/14/2018   NICHS    SHANE NICHOLS          2.00         1,660.00   Prepare trail preparation calendar; confer with
 7/27/2018            Invoice=10981617       2.00         1,660.00            regarding team member conflicts

 5/22/2018   NICHS   SHANE NICHOLS                 0.70    581.00    Review ATOM's notice regarding a trial subpoena
 7/27/2018           Invoice=10981617              0.00      0.00    to be served


 5/30/2018   NICHS   SHANE NICHOLS                 1.20    996.00    Review ATOM's notice re ardin a trial sub oena
 7/27/2018           Invoice=10981617              1.20    996.00    to be serv                                 z
                                                                                       ; review archived de
                                                                     transcripts for references
                                                                     coordinate telephone interview

 5/31/2018   NICHS   SHANE NICHOLS                 3.20   2,656.00   Prepare trial preparation calendar for strategy
 7/27/2018           Invoice=l0981617              3.20   2,656.00   meeting on June 5; prepare slides for use as
                                                                     trial opening argument; confer with team
                                                                     members regarding status of various components
                                                                     of the proposed consolidated pretrial order;
                                                                     review case law on damages issues in connection
                                                                     with potential pretrial motion to exclude
                                                                     evidence of gross damages in the context of a
                                                                     bench trial

                     BILLED TOTALS: WORK:          7.10   5,893.00   4 records
                     BILLED TOTALS: BILL:          6.40   5,312.00

                     GRAND TOTALS: WORK:           7.10   5,893.00   4 records
                     GRAND TOTALS: BILL:           6.40   5,312.00




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Invoice Time Detail

 Matter Number          418939                                             Invoice                 10982466
 Matter Description PAC v. ATOM/Olstowski - 2011



 Date        Initials   Name I Invoice Number   Hours     Amount     Description
 6/1/2018
 7/31/2018
             NICHS      SHANE NICHOLS
                        Invoice=10982466
                                                 2.50
                                                 2.50
                                                          2,075.00
                                                          2,075.00   subpoena ATOM served     oiil••• ••••
                                                                                                 regarding trial

                                                                     • • • •egarding additional deposition
                                                                     designations for pretrial order; review and
                                                                     revise consolidated pretrial order

 6/2/2018    NICHS      SHANE NICHOLS              3.00   2,490.00 Prepare for pretrial conference and opening
 7/31/2018              Invoice=10982466           1.90   1,577.00 argument

 6/4/2018    NICHS      SHANE NICHOLS              2.50   2,075.00   Review all pretrial conferences before Judge
 7/31/2018              Invoice=10982466           2.50   2,075.00   Hughes in connection with preparation for
                                                                     pretrial conference

 6/5/2018    NICHS      SHANE NICHOLS              2.30   1,909.00   C                         egarding possible
 7/31/2018              Invoice=l0982466           1.90   1,577.00   appearance of A. Mendez as live witness at

                                                                     ~:~~r,:ec~~~sap~~~e~:r   portions 2
                                                                                                    I  owtrial
                                                                                                         _           •



 6/6/2018    NICHS      SHANE NICHOLS                     2,158.00
 7/31/2018              Invoice=10982466                  2,158.00   prepare outline of motion to dismiss on grounds
                                                                     of lack of subject matter jurisdiction

 6/7/2018    NICHS      SHANE NICHOLS              2.30   1,909.00                              regarding information
 7/31/2018              Invoice=l0982466           1.80   1,494.00 collected on A. Mendez; prepare pretrial order;
                                                                   coordinate pretrial and trial schedules

 6/8/2018    GRANJ      JAMES GRANT                0.70    686.00    Participate in team call regarding preparation
 7/31/2018              Invoice=10982466           0.70    686.00    for trial

 6/8/2018    NICHS      SHANE NICHOLS              2.50   2,075.00   Meet with I         land            regarding
 7/31/2018              Invoice=l0982466           2.50   2,075.00   trial strategy; prepare pretrial and trial
                                                                     schedules; prepare pretrial order

 6/8/2018    HOW MA     MATTHEW HOWELL             1.30    968.50    Prepare for and attend trial preparation
 7/31/2018              Invoice=10982466           1.30    968.50    meeting with          and    a -
 6/8/2018    KELCR      CRYSTAL BATSON             0.20      62.00   Correspond with Esquire court reporting company
 7/31/2018              Invoice=10982466           0.20      62.00   regarding transcript from arbitration;
                                                                     correspond with attorneys regarding same

 6/11/2018   GRANJ      JAMES GRANT                1.40   1,372.00 Attend trial team meeting; review pretrial
 7/31/2018              Invoice=10982466           1.40   1,372.00 order

 6/11/2018
 7/31/2018
             KIMAN      ANA KIM
                        Invoice=10982466
                                                   1.20
                                                   1.20
                                                           576.00
                                                           576.00
                                                                     Meet wll!llMM•••••••••I
                                                                     to discu~s next steps for PAC trial preparation

 6/11/2018   CON NO     DENNIS CONNOLLY                   1,776.50 •••••••regarding jurisdictional
 7/31/2018              Invoice=10982466                  1,776.50 issues to be raised at pretrial conference;
                                                                    review docket and pleadings and e-mail•
                                                                   -       regarding research

 6/11/2018   CON NO     DENNIS CONNOLLY                    836.00    Follow-up review of docket on bankruptcy case
 7/31/2018              Invoice=10982466                   836.00

 6/11/2018   KELCR      CRYSTAL BATSON             0.20     62.00    Correspond with N. Stallings regarding
 7/31/2018              Invoice=l0982466           0.20     62.00    logistics for upcoming trial; prepare
                                                                     information for attorney review regarding same

 6/11/2018
 7/31/2018
             NI CHS     SHANE NICHOLS
                        Invoice=10982466
                                                   3.30
                                                   3.30
                                                          2,739.00
                                                          2,739.00
                                                                     '::~:=~~==~r~eig~ar~d:in:g
                                                                     dates; correspond
                                                                                                 trial
                                                                                                egarding




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                                                              new trial dates and his availability for trial
                                                              preparation meetings; c
                                                              regarding her research on district court
                                                              subject matter jurisdiction for "related to"
                                                              adversary actions, following confirmation of
                                                              bankc.i.ptcy plan; c                              and
                                                             lilim}lill{-~.egarding scheduling teleconference
                                                              regarding potential trial witness, A. Mendez


                                                             ~==ap:::::::::::r·
 6/12/2018   KIMAN   ANA KIM
 7/31/2018           Invoice=10982466             1,824.00
                                                  1,344.00   t
 6/12/2018   CONNO   DENNIS CONNOLLY              2,090.00 Review docket and case law regarding
 7/31/2018           Invoice=10982466             2,090.00 jurisdictional issues

 6/12/2018   CONNO   DENNIS CONNOLLY      J:l0-~1,254.00     Follow-up conversation                sand
 7/31/2018           Invoice=10982466    ~1,254.00           review district court documents relative to
                                                             jurisdictional issues

 6/12/2018   NICHS   SHANE NICHOLS        3.30    2,739.00   Coordinate calls wit•~~~~:1:1~
 7/31/2018           Invoice= 10982466    3.30    2,739.00    1 F      nd his likely testimony;
                                                                                     in connection with
                                                             ATOM's identification of him as a trial
                                                             witness; co                   regarding research
                                                             on subject matter jurisdiction following ATOM's
                                                             bankruptcy; confer with D. Connolly regarding
                                                             the federal court's possible lack of subject
                                                             matter jurisdiction following ATOM's bankruptcy

 6/13/2018   KIMAN   ANA KIM                      2,544.00   Review bankruptcy case law regarding subject
 7/31/2018           Invoice= 10982466            2,544.00   matter jurisdiction received from D. Connolly
                                                             to assess our argument that the court lacks
                                                             subject matter jurisdiction

 6/13/2018   CONNO   DENNIS CONNOLLY              2,403.50 Follow-up review of case law regarding
 7/31/2018           Invoice=10982466             2,403.50 jurisdictional issues and e-mail to S. Nichols

 6/13/2018   KELCR   CRYSTAL BATSON       1.20     372.00    Prepare information for attorney review in
 7/31/2018           Invoice=10982466     1.20     372.00    anticipation of upcoming trial

 6/13/2018
 7/31/2018
             NICHS   SHANE NICHOLS
                     Invoice=10982466
                                          2. 70
                                          2.70
                                                  2,241.00
                                                  2,241.00
                                                             Telecon~Feeirelnlcielwli~=:~~~~!~~
                                                              §    I       "'9repare correspondence to
                                                                           regarding planning and availability
                                                             for trial; prepare opening argument

 6/14/2018   GRANJ   JAMES GRANT          0.90     882.00    Edit pretrial order; work on trial preparation
 7/31/2018           Invoice= 10982466    0.90     882.00

 6/14/2018   KIMAN   ANA KIM                      2,208.00 Review bankruptcy cases fro11i 3.                     J.
 7/31/2018           Invoice=10982466             2,208.00 ._regarding related-to jurisdiction;
                                         '--~-              prepare case summaries and analysis based on
                                                            review

 6/14/2018   KELCR   CRYSTAL BATSON       1.90     589.00            ill! £. IiiJ! !Jjj [ j It. Id !£it
                                                                                           j      regarding
 7/31/2018           Invoice=10982466     1.90     589.00    trial preparation; prepare information for
                                                             attorney review in anticipation of upcoming
                                                             trial

 6/14/2018   CONNO   DENNIS CONNOLLY              1,776.50   Review district court pleadings
 7/31/2018           Invoice=10982466             1,776.50

 6/14/2018   NICHS   SHANE NICHOLS        4.10    3,403.00   Prepare strategy for pretrial conference to
 7/31/2018           Invoice=10982466     3.90    3,237.00   move to dismiss for lack of subject matter
                                                             jurisdiction, following termination of
                                                             bankruptcy proceedings; review case law
                                                             regarding same; negotiate with •        ;•
                                                             regarding logistics of preparing and exchanging




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                                                            information for consolidated pretrial order;
                                                            meet with trial paralegal regarding finalizing
                                                            trial logistics; prepare arguments for pretrial
                                                            conference

 6/15/2018   KIMAN    ANA KIM                    2,112.00 Prepare case summaries and analyses pertaining
 7/31/2018            Invoice=10982466           2,112.00 to issue of related-to jurisdiction for
                                                          bankruptcy case law sen

 6/15/2018   KELCR    CRYSTAL BATSON      0.10      31.00   Prepare information for attorney review in
 7/31/2018            Invoice=10982466    0.10      31.00   anticipation of upcoming trial

 6/15/2018   CON NO   DENNIS CONNOLLY     1.60   1,672.00 Review district court pleadings; confer w i -
 7/31/2018            Invoice=10982466    1.60   1,672.00. .

 6/15/2018   NICHS    SHANE NICHOLS       2.30   1,909.00 Correspond wit
 7/31/2018            Invoice=10982466    2.30   1,909.00 search state court record for depositions and
                                                            0


 6/18/2018   GRANJ    JAMES GRANT         0.90     882.00   Review prior trial preparation materials
 7/31/2018            Invoice=10982466    0.90     882.00

 6/18/2018   NICHS    SHANE NICHOLS       3.10   2,573.00
 7/31/2018            Invoice=10982466    3.10   2,573.00   teleconference in preparation for trial; confer
                                                            with              regarding district court
                                                            subject matter jurisdiction for "related to"
                                                            adversary actions after termination of
                                                            bankruptcy proceeding; correspond with•
                                                            .-ia regarding dates for exchanging pretrial
                                                            order components, including trial exhibits,
                                                            trial witnesses, and deposition designations;
                                                            revise pretrial order

 6/19/2018   GRANJ    JAMES GRANT         1.80   1,764.00 Trial preparation, including review of state
 7/31/2018            Invoice=10982466    1.80   1,764.00 court transcripts

 6/19/2018   CON NO   DENNIS CONNOLLY            2,299.00   Review materials and telephonic conference
 7/31/2018            Invoice=l0982466           2,299.00   regarding briefing of jurisdictional issues

 6/19/2018   KELCR    CRYSTAL BATSON      2.00    620.00    Prepare information for attorney review in
 7/31/2018            Invoice= 10982466   2.00    620.00    anticipation of upcoming trial

 6/19/2018   NICHS    SHANE NICHOLS              1,411.00 Teleconference with               regarding
 7/31/2018            Invoice=10982466           1,411.00 possible difficulty created by Enron case in
                                                          connection with our theory of post-bankruptcy
                                                          lack of subject matter jurisdiction; review
                                                          Enron and related cases

 6/20/2018   GRANJ    JAMES GRANT         2.70   2,646.00 Trial preparation, i
 7/31/2018            Invoice=10982466    2.70   2,646.00 deposition and i

 6/20/2018   KELCR    CRYSTAL BATSON      0.60    186.00    Prepare materials for attorney review in
 7/31/2018            Invoice=10982466    0.60    186.00    anticipation of trial

 6/20/2018   HOW MA   MATTHEW HOWELL      1.00    745.00    Revise draft pretrial order
 7/31/2018            Invoice=10982466    1.00    745.00

 6/20/2018   NICHS    SHANE NICHOLS              2,075.00 Teleconference witl              I     -
 7/31/2018            Invoice=10982466           2,075.00            prepare for same; correspond~
                                                                       garding spreadsheet;
                                                                                             regarding
                                                          bankruptcy's impact on subject matter
                                                          jurisdiction

 6/21/2018 GREAL      ANTHONY GREENE      3.20   1,872.00   Bankruptcy law research regarding subject
 7/31/2018            Invoice=10982466           1,872.00   matter jurisdiction

 6/21/2018   KELCR    CRYSTAL BATSON      0.10      31.00   Prepare information for attorney review in




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 7/31/2018            Invoice=10982466    0.10      31.00   anticipation of trial

 6/22/2018   GREAL    ANTHONY GREENE               994.50   Bankruptcy research fo                    egarding
 7/31/2018            Invoice= 10982466            994.50   subject matter jurisdiction

 6/22/2018   KELCR    CRYSTAL BATSON      0.60     186.00 Prepare information for attorney review in
 7/31/2018            Invoice=10982466    0.60     186.00 anticipation of upcoming trial

 6/22/2018   HOW MA   MATTHEW HOWELL      1.40   1,043.00   Revise draft pretrial order
 7/31/2018            Invoice=10982466    1.40   1,043.00

 6/24/2018   GREAL    ANTHONY GREENE             1,111.50   Bankruptcy research regarding lack of subject
 7/31/2018            Invoice=10982466           1,111.50   matter jurisdiction

 6/24/2018   NICHS    SHANE NICHOLS       3.00   2,490.00
 7/31/2018            Invoice=10982466    2.80   2,324.00




 6/25/2018   GREAL    ANTHONY GREENE               351.00 Confer wit            flgarding "related to"
 7/31/2018            Invoice=10982466             351.00 jurisdiction

 6/25/2018   GREAL    ANTHONY GREENE               643.50 Review relevant documents from ATOM bankruptcy
 7/31/2018            Invoice=10982466             643.50 case; confer witl    a      garding potential
                                                          jurisdictional arguments; review ATOM's
                                                          confirmed plan for potential issues related to
                                                          same

 6/25/2018   KELCR    CRYSTAL BATSON      3.30   1,023.00   Prepare information and materials for attorney
 7/31/2018            Invoice=10982466    3.30   1,023.00   review in anticipation of trial; correspond
                                                            with                arding same

 6/25/2018   HOW MA   MATTHEW HOWELL      0.40     298.00   c                      concerning trial
 7/31/2018            Invoice=10982466    0.40     298.00   strategy; related analysis

 6/25/2018   KIMAN    ANA KIM             0.70    336.00    Confer wit              egarding the application
 7/31/2018            Invoice=10982466            336.00    of select bankruptcy cases on potential
                                                            12(b)(1) motion to dismiss

 6/25/2018   KIMAN    ANA KIM             0.80    384.00    Correspond with
 7/31/2018            Invoice=10982466            384.00    regarding 12(b)(1) motion to dismiss

 6/25/2018   NICHS    SHANE NICHOLS       2.10   1,743.00 Correspond with               regarding possible
 7/31/2018            Invoice=10982466    2.10   1,743.00 testimony of A. Mendez; review and revise
                                                          pretrial order; correspond with opposing
                                                          counsel regarding timing of exchanging
                                                          information for pretrial order

 6/27/2018   KIMAN    ANA KIM                     192.00 Confer with A. Greene regarding bankruptcy case
 7/31/2018            Invoice=10982466            192.00 research and analysis for 12(b)(1) motion to
                                                         dismiss

 6/27/2018   NICHS    SHANE NICHOLS       2.90   2,407.00 Correspond wi                egarding possible trial
 7/31/2018            Invoice=10982466    2.90   2,407.00 testimony o                  correspond with . .
                                                                                      regarding bankruptcy
                                                            research on Enron case in connection with lack
                                                            of subject matter jurisdiction; prepare opening
                                                            argument and direct testimony outlines; confer
                                                            with local counsel regarding pretrial
                                                            logistics; confer with opposing counsel
                                                            regarding same

 6/29/2018   KIMAN    ANA KIM                      96.00                                        regarding
 7/31/2018            Invoice=10982466             96.00    motion to dismiss bankruptcy research

 6/29/2018   HOW MA   MATTHEW HOWELL      0.80    596.00    Revise pretrial order
 7/31/2018            Invoice=10982466    0.80    596.00




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 6/29/2018   GREAL   ANTHONY GREENE           2.90 1,696.50 Review of bankruptcy filings and pertinent
 7/31/2018           Invoice=l0982466       ~:::>1,696.50 additional cases per conversation w       MUS


 6/30/2018 GREAL     ANTHONY GREENE                    702.00    Bankruptcy research regarding lack of subject
 7/31/2018           Invoice= 10982466                 702.00    matter jurisdiction

                     BILLED TOTALS: WORK:   119.70   87,216.00   63 records
                     BILLED TOTALS: BILL:   116.30   84,744.00

                     GRAND TOTALS: WORK:    119.70 87,216.00 63 records
                     GRAND TOTALS: BILL:    116.30 84,744.00




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 Invoice Time Detail                                                                                             ~IHD
 Matter Number         418939                                             Invoice                10989374
 Matter Description PAC v. ATOM/Olstowski - 2011



  Date      Initials Name I Invoice Number     Hours      Amount Description
  7/2/2018  KIMAN    ANA KIM                               720.00 Conversation                 regarding
  8/31/2018          Involce=10989374                      720.00 bankruptcy jurisdiction and Motion to Dismiss;
                                                                  prepare memorandum                  summarizing
                                                                  conclusions

  7/5/2018  GREAL      ANTHONY GREENE              1.50     877.50 Bankruptcy research; r                   legal
  8/31/2018            Involce=10989374                     877.50 summary and discuss same

  7/5/2018    CON NO   DENNIS CONNOLLY             1.30   1,358.50 Review of docket and materials relative to
  8/31/2018            Invoice=10989374                   1,358.50 District Court litigation regarding legal
                                                                   arguments on lack of subject matter
                                                                   jurisdiction

  7/5/2018    KIMAN    ANA KIM                     5.30   2,544.00   Write-up legal standard of Motion to Dismiss
  8/31/2018            Involce=10989374       c~~         2,544.00   after speaking wi
                                               ~-                               nd online for sample Motions to
                                                                     Dismiss in Southern District of Texas

 7/6/2018  CON NO      DENNIS CONNOLLY             3.50   3,657.50 Review arguments relative to subject matter
 8/31/2018             Invoice=10989374            3.50   3,657.50 .risdiction; telephonic conference w i t -
                                                                              c;iarding same; prepare e-mail relative
                                                                    to additional arguments and thoughts about
                                                                    jurisdictional positioning

 7/6/2018     NICHS    SHANE NICHOLS                      3,569.00   Prepare motion to dismiss for lack of subject
 8/31/2018             Involce=10989374                   3,071.00   matter jurisdiction; confer wit
                                                                                !IRtgarding same; prepare motion in
                                                                     limine; prepare pretrial order

 7/9/2018  GRANJ       JAMES GRANT                 1.80   1,764.00 Trial preparation;
 8/31/2018             Invoice=10989374            1.80   1,764.00 excerpt pretrial conference excerpts; review
                                                                   pertinent case law on trade secrets

 7/9/2018     KELCR    CRYSTAL BATSON              2.80    868.00    Prepare trial exhibits, deposition
 8/31/2018             Invoice=10989374            2.80    868.00    designations, and witness list for attorney
                                                                     review; correspond with attorneys regarding
                                                                     preparation for trial

 7/9/2018     NICHS    SHANE NICHOLS               7.20   5,976.00                       t regarding trial; correspond
 8/31/2018             Invoice=10989374            6.10   5,063.00   v           tI    Lgarding negotiations with ATOM
                                                                     regarding the trial testimony it intends to
                                                                     elicit from
                                                                     teleconference                      garding same;
                                                                     confer                     egarding preparation of
                                                                     exhibit list, witness list, and deposition
                                                                     designations with ATOM;

                                                                     forward documents
                                                                     same; correspond with
                                                                     regarding deposition designations and exhibits
                                                                     ~ ' ti '      ·             • correspond with
                                                                       • Joseph requesting a detailed description of
                                                                     ~he testimony ATOM llans to elicit at trial
                                                                     a                            I
 7/10/2018 GRANJ       JAMES GRANT                 1.50   1,470.00 Trial preparation
 8/31/2018             Invoice=10989374            1.50   1,470.00

 7/10/2018    NICHS    SHANE NICHOLS               7.60   6,308.00 Correspond with             regarding the live
 8/31/2018             Invoice=10989374            6.50   5,395.00 testimony at trial of A. Mendez, J. Goudy, and
                                                                   C. Wells; c                            regarding




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                                                           same; prepare for pretrial conference
                                                           arguments; prepare PAC's motion to dismiss for
                                                           lack of post-confirmation subject matter
                                                           jurisdiction; confer with team regarding same;
                                                           prepare motions to exclude

 7/11/2018 CON NO     DENNIS CONNOLLY           1,567.50 Review and comment on motion to dismiss for
 8/31/2018            Invoice=10989374          1,567.50 lack of subject matter jurisdiction

 7/11/2018   KIMAN    ANA KIM                   2,304.00 Review motion to dismiss and provide comments;
 8/31/2018            Involce=10989374          2,304.00 research case law on whether a plaintiff may be
                                                         able to amend complaint to properly plead
                                                         jurisdiction after being put on notice of the
                                                         jurisdictional deficiency, 5 years later

 7/11/2018   NI CHS   SHANE NICHOLS      8.30   6,889.00 Teleconference                        regarding trial
 8/31/2018            Invoice=10989374   7.10   5,893.00 logistics and pretrial order; correspond with
                                                                    regarding whether PAC's limited or
                                                         general partners are residents of Texas; review
                                                         pretrial order from ATOM; c
                                                         regarding document from the Texas Secretary of
                                                         State and diversity of citizenship jurisdiction
                                                         analysis; correspond wl                 nd team
                                                         regarding motion to dismiss; meet w i t -
                                                        -regarding witness and exhibit lists;
                                                         correspond wit               l  regarding ATOM's
                                                         pretrial order and the exchanging of witness
                                                         lists, exhibit lists, and deli.Qsition
                                                         designations; correspond
                                                         regarding opening argument and likely pretrial
                                                         conference format

 7/11/2018 GRANJ      JAMES GRANT        3.00   2,940.00 Trial preparation
 8/31/2018            Invoice=10989374   3.00   2,940.00

 7/11/2018   HOWMA MATTHEW HOWELL        0.30     223.50 Communications wi              regarding trial
 8/31/2018         Invoice=10989374      0.00       0.00 schedule and a motion to exclude damages
                                                         theories

 7/12/2018   NI CHS   SHANE NICHOLS      8.50   7,055.00
 8/31/2018            Invoice=10989374   7.20   5,976.00

                                                                                            correspond with
                                                                        egarding subject matter
                                                           jurisdiction; correspond with . . . .
                                                           regarding parties exchange of exhibit list,
                                                           witness lists, deposition designations,
                                                           uncontested facts, contested facts, and
                                                           contested conclusions of law; correspond with
                                                                        regarding opening argument; review
                                                           ATOM's Exhibit List and Witness Listi meet with
                                                           PAC team'                                   §
                                                           ATOM's attorney to attest to fees of the firm;
                                                           correspond with PAC team regarding exhibit list
                                                           and witness list; correspond wi
                                                           regarding research for orders of Judge Hughes'
                                                           granting motions to exclude evidence and
                                                           testimony or exhibits at trial; prepare for
                                                           pretrial conference

 7/12/2018 . KIMAN    ANA KIM            1.80     864.00 Search for orders by Judge Hughes that grant
 8/31/2018            Invoice=10989374   0.00       o.oo motions to exclude testimony and exhibits
 7/12/2018   KIMAN    ANA KIM            1.00     480.00   Planning conference \  8           to discuss
 8/31/2018            Invoice=10989374   o.oo       o.oo   items that must be completed for pretrial
                                                           conference on July 17

 7/12/2018   KELCR    CRYSTAL BATSON     1.90     589.00   Prepare materials and exhibits for attorney




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 8/31/2018            Invoice=10989374   1.90    589.00    review in anticipation of upcoming trial;
                                                           correspond with attorneys regarding same

 7/12/2018 GREAL      ANTHONY GREENE     3.30   1,930.50 Bankruptcy research
 8/31/2018            Invoice=10989374   0.00       0.00

 7/12/2018   HOWMA MATTHEW HOWELL        2.20   1,639.00 Finalize witness and exhibit lists; prepare and
 8/31/2018         Involce=10989374      2.20   1,639.00 revise proposed pretrial order contentions and
                                                         statement of the case; analyze deposition
                                                         transcripts warding same; meet wit
                                                                         concerning pretrial strategy and
                                                         action Items

 7/12/2018   KIMAN    ANA KIM            o.oo       0.00 Search for orders by Judge Hughes that grant
 8/31/2018            Invoice=10989374   2.80   1,344.00 motions to exclude testimony and exhibits;
                                                         planning conference with           to discuss
                                                         items that must be completed for pretrial
                                                         conference on July 17

 7/13/2018   MINNI    AVERY MINNICK      5.40    729.00 Attempt to locate, organize, and prepare
 8/31/2018            Invoice=10989374   0.00      0.00 documents for attorney use

 7/13/2018   BE CSA   SAM BECK           4.20    567.00 Organize documents for attorney use
 8/31/2018            Invoice=10989374   0.00      0.00

 7/13/2018   KIMAN    ANA KIM            1.00    480.00 Prepare proposed orders for pre-trial motions
 8/31/2018            Invoice=10989374   0.00      0.00 to exclude

 7/13/2018   KIMAN    ANA KIM            1.70    816.00    Finish outline to potential rebuttal to
 8/31/2018            Invoice=10989374   0.00       o.oo   diversity jurisdiction argument in response to
                                                           motion to dismiss

 7/13/2018   NICHS    SHANE NICHOLS      7.90   6,557.00 Prepare for pretrial conference; prepare motion
 8/31/2018            Involce=10989374   6.70   5,561.00 to dismiss for lack of subject matter
                                                         jurisdiction; confer with               garding
                                                         bankruptcy-related subject matter jurisdiction;
                                                         correspond w i t h - regarding parties
                                                         exchange of pretrial order materials; review
                                                         and edit PAC's exhibit list, witness list, and
                                                         deposition designations; prepare list of
                                                         uncontested facts; prepare body of pretrial
                                                         order;                                regarding
                                                         Judge Hughes' preferences regarding pretrial
                                                         order; review ATOM's Exhibit List and Witness
                                                         List; meet with PAC team regarding trial
                                                         preparation and logistics; confer with PAC team
                                                         regarding additions to PAC's exhibit list and
                                                         witness list;                       garding
                                                         research on Judge Hughes' prior orders granting
                                                         motions to exclude evidence at trial; prepare
                                                         for pretrial conference

 7/13/2018   KELCR    CRYSTAL BATSON     0.90    279.00    Prepare materials and exhibits for attorney
 8/31/2018            Invoice=10989374   0.90    279.00    review in anticipation of upcoming trial;
                                                           correspond with attorneys regarding same

 7/13/2018 GREAL      ANTHONY GREENE     1.40    819.00    Pendant jurisdiction research per e-mail from
 8/31/2018            Invoice=10989374   1.40    819.00

 7/13/2018   HOW MA MATTHEW HOWELL       4.30   3,203.50 Prepare and revise motion to exclude; analyze
 8/31/2018          Invoice=10989374     4.30   3,203.50 case law and court hearing transcripts
                                                         regarding same; communications
                                                         regarding same; prepare and revise contentions
                                                         and statement of the case in pretrial order

 7/13/2018   KIMAN    ANA KIM            o.oo       0.00 Prepare proposed orders for pre-trial motions
 8/31/2018            Invoice=10989374   2.70   1,296.00 to exclude; finish outline to potential
                                                         rebuttal to diversity jurisdiction argument In




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                                                            response to motion to dismiss

  7/14/2018   KIMAN    ANA KIM            6.20   2,976.00 Cite-check Findings of Fact and identify
  8/31/2018            Invoice=10989374   6.20   2,976.00 citations that are not listed In the exhibit
                                                          list

 7/14/2018    KELCR    CRYSTAL BATSON     4.40   1,364.00 Prepare materials and exhibits for attorney
 8/31/2018             Invoice=10989374   4.40   1,364.00 review in anticipation of upcoming trial;
                                                          correspond with attorneys regarding same

 7/14/2018    HOW MA   MATTHEW HOWELL     4.20   3,129.00 Prepare and revise proposed pretrial order and
 8/31/2018             Invoice=10989374   4.20   3,129.00 supporting documents, including witness list,
                                                          exhibit list, deposition designations, findings
                                                          of fact and conclusions of law, and proposed
                                                          stipulated facts; communications with team
                                                          regarding same; analyze related documents;
                                                          analyze Olstowski proposed exhibits concerning
                                                          objections

 7/14/2018    NICHS    SHANE NICHOLS      8.00   6,640.00 Correspond with PAC team regarding pretrial
 8/31/2018             Involce=10989374   6.80   5,644.00 order; review and revise pretrial order;
                                                          correspond with ATOM and forward PAC's
                                                          ad isslons of fact and witness list; correspond


                                                                   regarding PAC's trial exhibits; prepare
                                                            motions to exclude and to dismiss

 7/15/2018    KELCR    CRYSTAL BATSON     3.50   1,085.00 Prepare materials and exhibits for attorney
 8/31/2018             Involce=10989374   3.50   1,085.00 review in anticipation of upcoming trial;
                                                          correspond with attorneys regarding same

 7/15/2018    NICHS    SHANE NICHOLS      8.00   6,640.00 Prepare motion to dismiss; review the bases of
 8/31/2018             Invoice=10989374   6.80   5,644.00 ATOM's attempts to introduce of evidence to
                                                          prove gross profits damages; correspond with•
                                                          ~ regarding deposition designations and to
                                                          confirm that the parties have -- in compliance
                                                          with Judge Hughes' Procedures -- agreed to
                                                          submit deposition testimony at trial, Instead
                                                          of live testimony; prepare and revise motion to
                                                          exclude witnesses;
                                                          regarding preparation for pretrial conference

 7/16/2018    MINNI    AVERY MINNICK      2.20    297.00    File management, organize, and maintain client
 8/31/2018             Invoice=10989374   0.00      0.00    materials for attorney use

 7/16/2018    KELCR    CRYSTAL BATSON     6.80   2,108.00   Prepare materials and exhibits for attorney
 8/31/2018             Invoice=10989374   6.80   2,108.00   review in anticipation of upcoming trial;
                                                            correspond with attorneys regarding same

 7/16/2018    BE CSA   SAM BECK           1.00     135.00 Review documents for attorney use
 8/31/2018             Invoice=10989374   0.00       0.00

 7/16/2018 GRANJ       JAMES GRANT        8.00   7,840.00   Prepare for pretrial conference
 8/31/2018             Invoice=10989374   8.00   7,840.00

 7/16/2018    KIMAN    ANA KIM            9.70   4,656.00 Cite-check motions to exclude, Admissions of
 8/31/2018             Invoice=10989374   9.70   4,656.00 Fact, and Contested Facts for PAC's pretrial
                                                          order; compare joint pretrial order to PAC's
                                                          Admissions of Fact in order to form Contested
                                                          Facts; edit Motion to Dismiss for pendent
                                                          jurisdiction and Enron

 7/16/2018    KIMAN    ANA KIM            0.20      96.00                    to discuss damages packet
 8/31/2018             Invoice=10989374   o.oo       0.00 lor damages expert

 7/16/2018 CON NO      DENNIS CONNOLLY    0.20    209.00 Brief review of status of brief in connection
 8/31/2018             Invoice=10989374   0.00      0.00 with the summary of the subject matter




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                                                                    jurisdiction issues

 7/16/2018 CON NO      DENNIS CONNOLLY       2.20        2,299.00   Follow-up work on review of subject matter
 8/31/2018             Involce==10989374     o.oo            o.oo   jurisdiction issues

  7/16/2018   CON NO   DENNIS CONNOLLY       1.50        1,567.50 Additional review of cases relative to
  8/31/2018            Invoice==10989374     0.00            0.00 jurisdictional issues, including pending
                                                                  jurisdiction

  7/16/2018   NICHS    SHANE NICHOLS        14.50       12,035.00 Finalize and file joint proposed pretrial
  8/31/2018            Invoice== 10989374   12.30       10,209.00 order; finalize and file all pretrial motions;
                                                                  correspond wit                    garding testimony
                                                                  at trial; teleconference wit~
                                                                  review deposition excerpts for
                                                                             rom ATOM; review and revise deposition
                                                                  designations and review ATOM's; review and
                                                                  revise PAC's motion to dismiss for lack of
                                                                  subject matter jurisdiction, motion to exclude
                                                                  testimony of new witnesses, motions to exclude,
                                                                  and the current docket report;


 7/16/2018    HOW MA MATTHEW HOWELL          8.50        6,332.50 Finalize pretrial order and supporting
 8/31/2018           Invoice==10989374       8.50        6,332.50 documents, including deposition designations
                                                                  and findings of fact and conclusions of law;
                                                                  communications with team regarding same;
                                                                  analyze case law concerning damages and
                                                                  disclosure issues; communications
                                                                                 s regarding same

 7/16/2018 GREAL       ANTHONY GREENE        2.50        1,462.50 Review research notes; discuss same witt9
 8/31/2018             Invoice==10989374     2.50        1,462.50                    ; prepare e-mail to~
                                                                  summarizing additional arguments for brief

 7/16/2018 GREAL       ANTHONY GREENE        0.90          526.50   Bankruptcy research
 8/31/2018             Invoice==10989374     0.00            0.00

 7/16/2018
 8/31/2018
              CON NO   DENNIS CONNOLLY
                       Invoice==10989374
                                             o.~
                                            ""~,,
                                            (3.9v
                                                    '        0.00 Brief review of status of brief In connection
                                                         4,075.50 with the summary of the subject matter
                                            '--                   jurisdiction issues; follow-up work on review
                                                                  of subject matter jurisdiction issues;
                                                                  additional review of cases relative to
                                                                  jurisdictional Issues, including pending
                                                                  jurisdiction

 7/17/2018 GRANJ       JAMES GRANT           8.00        7,840.00 Attend pretrial conference
 8/31/2018             Involce==10989374     8.00        7,840.00

 7/17/2018    MINNI    AVERY MINNICK         4.70          634.50 Create binders for attorney use; maintain and
 8/31/2018             Invoice==10989374     0.00            0.00 organize file

 7/17/2018    KELCR    CRYSTAL BATSON        1.00          310.00 Prepare materials and information for attorney
 8/31/2018             Involce==10989374     1.00          310.00 review in anticipation of trial

 7/17/2018    KI MAN   ANA KIM               0.50          240.00 Speak                   about pretrial conference
 8/31/2018             Involce==10989374     0.50          240.00 and next steps

 7/17/2018    CON NO   DENNIS CONNOLLY       0.80          836.00 Review of brief as filed with the District
 8/31/2018             Invoice==10989374     0.00            0.00 Court and e-mail to the team relative to same

 7/17/2018    NICHS    SHANE NICHOLS        11.50        9,545.00   Prepare for and appear before Judge Hughes for
 8/31/2018             Invoice==10989374     9.80        8,134.00   pretrial conference; pre- and post-conference

                                                                             t teleconference with
                                                                    . . . .egarding pretrial conference and
                                                                    results; correspond wit              regarding
                                                                    pretrial conference; correspond
                                                                              regarding pretrial conference and




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                                                           upcoming trial; prepare detailed summaries of
                                                           ATOM's trial exhibits for preparation of PAC's
                                                           trial witnesses

 7/18/2018 GRANJ      JAMES GRANT        8.00   7,840.00 Trial preparation
 8/31/2018            Involce=10989374   8.00   7,840.00

 7/18/2018   KELCR    CRYSTAL BATSON     1.70    527.00    Prepare materials and information for attorney
 8/31/2018            Involce=10989374   1.70    527.00    review in anticipation of trial; correspond
                                                                                    , and case assistants
                                                           regarding same

 7/18/2018   NICHS    SHANE NICHOLS      9.70   8,051.00 Prepare for trial; confer with PAC witnesses
 8/31/2018            Invoice=10989374   8.20   6,806.00 about trial testimony and Judge Hughes for
                                                         pretrial conference~ence
                                                         strategy meetings
                                                         I        Q, teleconference
                                                         ~egardlng pretrial conference and
                                                         results; correspon                    regarding
                                                         &trial conference; correspond wi~.
                                                                     egarding pretrial conference and
                                                         upcoming trial; prepare detailed summaries of
                                                         ATOM's trial exhibits for preparation of PAC's
                                                         trial witnesses

 7/18/2018   HOWMA MATIHEW HOWELL        2.50   1,862.50 Analyze Olstowski proposed trial exhibits;
 8/31/2018         Invoice=10989374      2.50   1,862.50 communications wit
                                                         regarding same; prepare summary of same

 7/18/2018   HAPAM    PAMELA HARRIS      0.30      58.50   Locate ASTM-05453-00 from January 2000 ~
 8/31/2018            Invoice=10989374   0.00       o.oo-.
 7/19/2018   MINNI    AVERY MINNICK      2.90    391.50 Prepare boxes and files for trial; organize and
 8/31/2018            Involce=10989374   0.00      0.00 ship boxes for attorney use

 7/19/2018   BE CSA   SAM BECK           2.40    324.00    Review and organize documents for attorney use
 8/31/2018            Invoice=10989374   0.00      0.00

 7/19/2018   KELCR    CRYSTAL BATSON     1.90    589.00    Prepare information and materials for attorney
 8/31/2018            Invoice=10989374   1.90    589.00    review in anticipation of trial

 7/19/2018 GRANJ      JAMES GRANT        7.50   7,350.00 Trial preparation
 8/31/2018            Invoice=10989374   7.50   7,350.00

 7/19/2018   NICHS    SHANE NICHOLS      8.40   6,972.00   Prepare for trial; confer with PAC witnesses
 8/31/2018            Involce=10989374   8.40   6,972.00   regarding likely trial testimony;
                                                           teleconference with
                                                                                  regarding making ATOM
                                                           stick to agreements made in advance of pretrial
                                                           conference; c
                                                           ~~~~r~:~g ~~~~r~a:e~~~:~~~~~iand regarding        a
                                                                   Rtgardlng preparation session and
                                                           expected trial testimony; review ATOM's trial
                                                           exhibits in preparation for cross examination
                                                           of ATOM's witnesses

 7/19/2018   KIMAN    ANA KIM            1.40    672.00    Go through PAC's exhibit list, identify patents
 8/31/2018            Invoice=10989374   1.40    672.00    and patent applications, and group related
                                                           patent applications and patents together

 7/20/2018   KELCR    CRYSTAL BATSON     0.20      62.00   Prepare materials and Information for attorney
 8/31/2018            Involce=10989374   0.20      62.00   review in anticipation of trial; correspond
                                                           with attorneys regarding same

 7/20/2018 GRANJ      JAMES GRANT        7.00   6,860.00 Trial preparation
 8/31/2018            Involce=10989374   7.00   6,860.00




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 7/20/2018   NICHS   SHANE NICHOLS      10.20
 8/31/2018           Invoice=10989374    8.70



                                                                                                        ard Ing
                                                            trial preparation and filinl of chronology;
                                                            teleconference  a                            J;
                                                            review deposition excerpts to be submitted at
                                                            trial

 7/21/2018 GRANJ     JAMES GRANT         6.00    5,880.00 Trial preparation
 8/31/2018           Invoice=10989374    6.00    5,880.00

 7/21/2018   NICHS   SHANE NICHOLS       8.60    7,138.00 Prepare for trial;
 8/31/2018           Involce=10989374    7.30    6,059.00 ~z;
                                                          prepare cross-examinatio                     ; prepare
                                                            cross-examination~ prepare
                                                            direct examination                   correspond
                                                                            er regarding trial pre;aration
                                                            logistics; teleconference witl        I

 7/21/2018   KELCR   CRYSTAL BATSON      0.30       93.00 Prepare information regarding deposition
 8/31/2018           Invoice=10989374    0.30       93.00 designations for attorney review in
                                                          anticipation of trial

 7/22/2018 GRANJ     JAMES GRANT         9.00    8,820.00 Trial preparation
 8/31/2018           Involce=10989374    9.00    8,820.00

 7/22/2018   NICHS   SHANE NICHOLS      10.00    8,300.00 Prepare for trial; prepare demonstrative boards
 8/31/2018           Invoice=10989374    8.50    7,055.00 for use at trial; prepare direct examination of
                                                                         confer with local counsel regarding
                                                          trial logistics and Judge Hughes' likely
                                                          preferences as to trial presentation; prepare
                                                          summaries of interviews wit
                                                         . . . .; prepare oral argument outlines for
                                                          pending motions and objections to ATOM's likely
                                                          direct testimony

 7/22/2018   HEATC   CAITLIN SMITH       0.40     188.00 Conduct legal research regarding recent
 8/31/2018           Involce=10989374    0.00       0.00 decision by the 10th circuit regarding lost
                                                         profit damages

 7/23/2018 GRANJ     JAMES GRANT        10.00    9,800.00 Trial preparation
 8/31/2018           Invoice=10989374   10.00    9,800.00

 7/23/2018   NICHS   SHANE NICHOLS      13.50   11,205.00
 8/31/2018           Invoice=10989374   11.50    9,545.00




 7/23/2018   KIMAN   ANA KIM             a.so     240.00 Look through ATOM's exhibit list for any
 8/31/2018           Involce=10989374    0.00       0.00 exhibit that may provide a basis for comparing
                                                         the Multitek to Olstowski's excimer lamp

 7/23/2018   KIMAN   ANA KIM             2.50    1,200.00 Research issue of whether standard of proof for
 8/31/2018           Invoice=10989374    o.oo        o.oo punitive damages and attorneys fees is
                                                          preponderance or clear and convincing evidence




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  7/23/2018   KIMAN    ANA KIM             8.00   3,840.00 Research whether a sworn affidavit or
  8/31/2018            Invoice=10989374    0.00       0.00 declaration can be submitted as testimony at
                                                           trial and whether the affidavit is admissible
                                                           over a hearsay objection, under the hearsay
                                                           exception for party admissions against interest

 7/23/2018    KELCR    CRYSTAL BATSON      0.70     217.00 Prepare information for attorney review in
 8/31/2018             Invoice=10989374    0.70     217.00 anticipation of trial

 7/23/2018    HOW MA   MATTHEW HOWELL      2.50   1,862.50 Further preparations for trial; analyze
 8/31/2018             Invoice=10989374    o.oo       0.00 exhibits and motions regarding same;
                                                           communications wlti&ft .          gardlng same

 7/23/2018    KIMAN    ANA KIM             o.oo       0.00 Look through ATOM's exhibit list for any
 8/31/2018             Invoice=10989374    8.50   4,080.00 exhibit that may provide a basis for comparing
                                                           the Multitek to Olstowski's exclmer lamp;
                                                           esearch whether a sworn affidavit or
                                                           declaration can be submitted as testimony at
                                                           trial and whether the affidavit Is admissible
                                                           over a hearsay objection, under the hearsay
                                                           exception for party admissions against in~erest u

                                                                                     (                          «V!   r/
 7/24/2018    GRANJ    JAMES GRANT         8.00   7,840.00 Trial
 8/31/2018             Involce=10989374    8.00   7,840.00

 7/24/2018    NICHS    SHANE NICHOLS      10.50   8,715.00 Take cross-examination•       I   . eyende
                                                                                                   z In trial
 8/31/2018             Involce=10989374    8.90   7,387.00 against ATOM Instruments Corp.; take direct
                                                           examination of L. Houston in trial; take cross-
                                                           examination of J. Goudy In trial; correspond
                                                           with ATOM's outside counsel to negotiate
                                                           objections to exhibits; confer with
                                                           and A. Kim regarding case law research
                                                           regarding ATOM's stated intention to treat D.
                                                           Oliveaux's unsworn statement as sworn trial
                                                           testimony; meet with local counsel and A.
                                                           Barger regarding post-trial tasks; confer with
                                                           local counsel regarding trial logistics

 7/24/2018    HOLST    TERRI HOLSTEN       0.30      58.50   Research on the admissibility at trial of a
 8/31/2018             Involce=10989374    o.oo       o.oo   sworn affidavit or declaration

 7/24/2018    HOW MA MATTHEW HOWELL        8.90   6,630.50 Prepare for and attend trial; communications
 8/31/2018           Invoice=10989374      0.00       0.00 with team regarding same; research responses to
                                                           evidentlary objections and motion to exclude
                                                           damages theories

 7/25/2018    GRANJ    JAMES GRANT        4.00    3,920.00   Return from Houston
 8/31/2018             Invoice=10989374   o.oo        0.00

 7/25/2018    NICHS    SHANE NICHOLS      3.50    2,905.00   Prepare reply brief in support of still pending
 8/31/2018             Invoice=10989374   3.00    2,490.00   motion to dismiss for lack of subject matter
                                                             jurisdiction; review the court's proposed lists
                                                             of admitted exhibits and confer with local
                                                             counsel regarding completeness; coordinate
                                                             post-trial logistics for removing equipment and
                                                             trial team from Houston and from war room

 7/25/2018    KELCR    CRYSTAL BATSON     0.20       62.00 Prepare recently filed materials at trial for
 8/31/2018             Invoice=10989374   0.20       62.00 attorney review

 7/26/2018 CON NO      DENNIS CONNOLLY    1.50    1,567.50 Review pleadings relative to the Motion to
 8/31/2018             Invoice=10989374   0.00        0.00 Dismiss on subject matter jurisdiction grounds

 7/26/2018 CON NO      DENNIS CONNOLLY    1.20    1,254.00 Conference with S. Nichols relative to briefing
 8/31/2018             Involce=10989374   0.00        0.00 on Motion to Dismiss on subject matter
                                                           jurisdiction grounds

 7/26/2018    NICHS    SHANE NICHOLS      5.00    4,150.00   Prepare reply In support of pretrial motion to




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 8/31/2018            Invoice=10989374                  3,569.00 dismiss for lack of subject matter jurisdiction

 7/26/2018   CON NO   DENNIS CONNOLLY                       0.00   Review pleadings relative to the Motion to
 8/31/2018            Involce=10989374                  2,821.50   Dismiss on subject matter jurisdiction grounds;
                                                                   conference wit              elative to briefing
                                                                   on Motion to Dismiss on subject matter
                                                                   jurisdiction grounds

 7/27/2018   KELCR    CRYSTAL BATSON                       93.00 Prepare information for attorney review In
 8/31/2018            Invoice=10989374                     93.00 anticipation of filing a reply In support of
                                                                 motion to dismiss

 7/27/2018   NICHS    SHANE NICHOLS           1.50      1,245.00 Meet with D. Connolly to discuss best strategy
 8/31/2018            Invoice=10989374       ,f~so)     1,245.00 for addressing ATOM's response to PAC's motion
                                              '--                to dismiss for lack of subject matter
                                                                 jurisdiction; prepare reply brief

 7/30/2018   NICHS    SHANE NICHOLS                     1,743.00 Prepare reply brief in support of PAC's motion
 8/31/2018            Invoice=10989374                  1,743.00 to dismiss for lack of subject matter
                                                                 jurisdiction

 7/30/2018   KIMAN    ANA KIM                  0.30       144.00 Send bankruptcy case summary · i              1 •in
 8/31/2018            Involce=10989374         0.30       144.00 relation to 12(b)(1) Motion to Dismiss

 7/31/2018 GREAL      ANTHONY GREENE           1.10      643.50    Review reply brief circulated   b i "' '   's
 8/31/2018            Invoice=10989374         0.00        0.00

 7/31/2018   NICHS    SHANE NICHOLS                     2,905.00   Revise and finalize reply brief In support of
 8/31/2018            Invoice=10989374                  2,905.00   PAC's motion to dismiss for lack of subject
                                                                   matter jurisdiction

                      BILLED TOTALS: WORK:   408.70   302,533.00   103 records
                      BILLED TOTALS: BILL:   337.00   261,859.00

                      GRAND TOTALS: WORK:    408.70   302,533.00   103 records
                      GRAND TOTALS: BILL:    337.00   261,859.00




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